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                  EXHIBIT 8
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     1                   UNITED STATES DISTRICT COURT
     2                      DISTRICT OF NEW JERSEY
     3   ---------------------------
     4   IN RE:     JOHNSON & JOHNSON          MDL NO.:
     5   TALCUM POWDER PRODUCTS                16-2738 (FLW)(LGH)
     6   MARKETING, SALES PRACTICES,
     7   AND PRODUCTS LIABILITY
     8   LITIGATION
     9   ---------------------------
    10

    11                        EXPERT DEPOSITION OF
    12                     WILLIAM M. SAGE, MD, JD
    13

    14                 Thursday, September 23, 2021
    15                              8:13 a.m.
    16

    17                        Washington, DC 20006
    18

    19

    20

    21   Reported by:
    22   Denise Dobner Vickery, NCRA Registered Merit
    23   Reporter, NCRA Certified Realtime Reporter,
    24   Notary Public



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    1                                                              1 APPEARANCES: (Continued)
    2                                                              2
    3                                                              3 For Plaintiffs:
    4                                                              4       LEVIN PAPATONIO RAFFERTY PROCTOR
    5                                                              5       BUCHANAN O'BRIEN BARR & MOUGEY, PA
    6                                                              6       BY: CHRISTOPHER V. TISI, ESQ.
    7                                                              7       316 South Baylen Street, Suite 600
    8               Thursday, September 23, 2021                   8       Pensacola, FL 32502-5996
    9               8:13 a.m.                                      9       850.435.7176
   10                                                             10       ctisi@levinlaw.com
   11   Expert Deposition of WILLIAM M. SAGE, MD, JD,             11
   12 held at the offices of:                                     12
   13                                                             13 For Defendants Johnson & Johnson and Johnson &
   14         ASHCRAFT & GEREL LLP                                14 Johnson Consumer, Inc.:
   15         1825 K Street NW                                    15       SHOOK HARDY & BACON LLP
   16         Suite 700                                           16       BY: MARK C. HEGARTY, ESQ.
   17         Washington, DC 20006                                17       2555 Grand Blvd.
   18                                                             18       Kansas City, MO 64108
   19                                                             19       816.474.6550
   20      Pursuant to notice, before Denise Dobner               20       mhegarty@shb.com
   21 Vickery, Certified Realtime Reporter, Registered            21
   22 Merit Reporter, and Notary Public in and for the            22 Also Present Remotely:
   23 District of Columbia.                                       23       KATE STONE, ESQ., Faegre Drinker
   24                                                             24       Biddle & Reath LLP
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    1 APPEARANCES:                                                 1               INDEX
    2                                                              2 EXAMINATION OF WILLIAM M. SAGE, MD, JD                  PAGE
    3 For MDL Plaintiffs:                                          3 BY MR. HEGARTY                            8
    4      BEASLEY ALLEN LAW FIRM                                  4 AFTERNOON SESSION                             213
    5      BY: DR. MARGARET M. THOMPSON, ESQ.                      5 DR. THOMPSON                          426
    6      218 Commerce Street                                     6
    7      Montgomery, AL 36104                                    7          SAGE DEPOSITION EXHIBITS
    8      1.800.898.2034                                          8 NUMBER        DESCRIPTION                     PAGE
    9      margaret.thompson@beasleyallen.com                      9 Exhibit 1 Sage Invoice dated 8/10/2021        11
   10                                                             10 Exhibit 2 Canada Screening Assessment            52
   11                                                             11        Talc, April 2021, Pages 1-65
   12                                                             12 Exhibit 3 Sage Curriculum Vitae           58
   13 For MDL Plaintiffs:                                         13 Exhibit 4 7/2/2021 Expert Report of         75
   14      ASHCRAFT & GEREL LLP                                   14        William M. Sage, MD, JD
   15      BY: MICHELLE A. PARFITT, ESQ.                          15 Exhibit 5 Literature from Expert Report       82
   16      JAMES F. GREEN, ESQ.                                   16        Pages 1-18
   17      1825 K Street NW, Suite 700                            17 Exhibit 6 Second Amended Notice of Oral            96
   18      Washington, DC 20006                                   18        Deposition of William M. Sage, MD, JD
   19      202.759.7648                                           19        and Duces Tecum,
   20      mparfitt@ashcraftlaw.com                               20 Exhibit 7 HHS/Musser Letter dated 4/1/2014 151
   21      jgreen@ashcraftlaw.com                                 21        Re two Citizen Petitions
   22                                                             22 Exhibit 8 NCI: Ovarian, Fallopian Tube, and 174
   23                                                             23        Primary Peritoneal Cancer
   24                                                             24        Prevention (PDQ), Pages 1-20




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    1         SAGE DEPOSITION EXHIBITS                      1           PROCEEDINGS
    2 NUMBER        DESCRIPTION                  PAGE       2                 ---
    3 Exhibit 9 NCI: PDQ Screening and Prevention 188       3          WILLIAM M. SAGE, MD, JD
    4        Editorial Board, Pages 1-2                     4 called for examination, and, after having been
    5 Exhibit 10 Sage Curriculum Vitae - Current 213        5 duly sworn, was examined and testified as
    6 Exhibit 11 Notebook: "William Sage, MD       220      6 follows:
    7        Deposition Exhibits"                           7                 ---
    8 Exhibit 12 Regulatory Toxicology and       224        8              EXAMINATION
    9        Pharmacology, Talc: Consumer                   9                 ---
   10        Uses and Health Perspectives, Carr            10 BY MR. HEGARTY:
   11 Exhibit 13 Statement of Susan T. Mayne, PHD 248      11     Q.    Good morning, Dr. Sage.
   12        12/4/2019 "Building Consumer                  12     A.    Good morning.
   13        Confidence by Empowering FDA to               13     Q.    Would you please tell us your full
   14        Improve Cosmetic Safety"                      14 name?
   15 Exhibit 14 IARC Monographs on the Evaluation 271     15     A.    William Sage.
   16        of Carcinogenic Risks to Humans               16     Q.    Who is your current employer?
   17        Arsenic, Metals, Fibres, and Dusts            17     A.    The University of Texas at Austin.
   18 Exhibit 15 Hopkins 28 List of Documents     277      18     Q.    Do you also have a separate personal
   19 Exhibit 16 J&J Press Release: Company                19 consulting business for litigation?
   20        Investigation Confirms No Asbestos            20     A.    Not for litigation. I have a
   21        in Johnson's Baby Powder 12/3/2019            21 Schedule C for any additional income I may make in
   22 Exhibit 17 Pier 47 List of Documents      291        22 the course of the year doing academic-related
   23 Exhibit 18 Talc Timeline              308            23 things.
   24        PCPC_MDL00062175 - 00062196                   24     Q.    Are the -- is the income you earn as
                                                  Page 7                                                      Page 9
    1         SAGE DEPOSITION EXHIBITS                      1 an expert witness ran through this Schedule C
    2 NUMBER        DESCRIPTION                 PAGE        2 business?
    3 Exhibit 19 Plaintiffs' MDL Expert Witnesses 372       3     A.    It will.
    4 Exhibit 20 IARC Monographs on the Evaluation 384      4     Q.    When did you set up your Schedule C
    5        of Carcinogenic Risk to Humans                 5 business?
    6        Volume 93, Carbon Black, Titanium              6     A.    Many years ago.
    7        Dioxide, and Talc, Lyon, France 2010           7     Q.    As far as the fees that you do earn
    8 Exhibit 21 Lessons From Breast Implant     390        8 as an expert witness, do they go directly to you?
    9        Litigation by William M. Sage                  9     A.    Yes.
   10 Exhibit 22 JAMA: Association of Powder Use 394       10     Q.    Do you have any other sources of
   11        in the Genital Area With Risk of              11 income besides salary from the University of Texas
   12        Ovarian Cancer, O'Brien et al.                12 and any fees you earn as speaker or as an expert?
   13 Exhibit 23 Materials Considered_William      410     13     A.    No, beyond the usual investments
   14        Sage, MD, JD Supplemental Materials           14 that people might have.
   15 Exhibit 24 Safety Assessment of Talc as   415        15     Q.    What are you charging plaintiffs'
   16        Used in Cosmetics, Fiume et al.               16 counsel in this case for your -- your time and
   17 Exhibit 25 Witness Stack of Documents       418      17 your consultation?
   18 Exhibit 26 Literature, Depositions and   423         18     A.    I'm charging $800 an hour.
   19        Transcripts, Pages 1-3                        19     Q.    On what do you base that $800 an
   20 Exhibit 27 2/10/98 FDA's Cosmetic Program: 426       20 hour figure?
   21        Current Projects and Resources                21     A.    I do this very, very seldom. So I
   22        and A Discussion of the "Model"               22 made some inquiries among friends for benchmarks,
   23        Program, PCPC0058604 - 0058654                23 and that seemed to be an appropriate one.
   24                                                      24     Q.    That was going to be my next



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    1 question.                                              1 BY MR. HEGARTY:
    2           Have you ever been paid in any other         2      Q.      Would you -- this is yours.
    3 situation at the rate of $800 an hour?                 3      A.      Okay.
    4     A.     Specifically 800? No. Perhaps 750,           4     Q.      Would you please look at Exhibit
    5 perhaps 6.   The last time I did any expert witness     5 No. 1 and tell me whether that is an invoice that
    6 work for a private party was many years -- was          6 you prepared in connection with your work on this
    7 probably 10 years ago or so.                            7 MDL case.
    8     Q.     What was that expert witness                 8     A.      Yes, it is.
    9 activity for a private party?                           9           May I just ask you. While we're
   10     A.     I was assisting two merging                 10 doing this, when you hand me things, what am I --
   11 hospitals in antitrust litigation.                     11 am I supposed to keep them in a pile, return them
   12     Q.     Was that a matter in which you were         12 to you? I don't know.
   13 designated as an expert witness?                       13     Q.      I would recommend you keep them in a
   14     A.     Yes. Again, I'm not a litigator.            14 pile as I may refer back to them.
   15 So I don't always get the procedural posture           15     A.      Okay. Thank you.
   16 right. It was in anticipation of an                    16     Q.      So with regard to Exhibit No. 1,
   17 administrative trial before the FTC that didn't        17 this is an invoice that you prepared; is that
   18 ever happen.                                           18 correct?
   19     Q.     Okay. You don't make $800 an hour           19     A.      Yes.
   20 as a professor at the University of Texas, right?      20     Q.      It's dated August 10, 2021 and lists
   21     A.     No.                                         21 a total amount of $64,000; is that correct?
   22     Q.     Did anyone outside of perhaps the           22     A.      Yes.
   23 lawyers for the plaintiffs in this case assist you     23     Q.      Have you been paid for this invoice?
   24 in any way with preparing your expert witness          24     A.      Yes.
                                                   Page 11                                                Page 13
    1 report?                                                1     Q.    Have you prepared any other invoices
    2    A.       I'm sorry. Would you repeat that?          2 besides the one we marked as Exhibit No. 1?
    3    Q.       Sure.                                      3      A.      No.
    4            Did anyone assist you in preparing          4      Q.      Have you generated additional time
    5 your expert witness report?                             5 in which you will invoice since preparing this
    6      A.     I had assistance with formatting,           6 invoice on August 10, 2021?
    7 footnoting, and finding appropriate references          7     A.      Yes.
    8 from the plaintiffs' lawyers.                           8     Q.      How much additional time do you plan
    9      Q.     Who in particular helped you with           9 to invoice through today? If you can estimate it.
   10 those types of activities?                             10     A.      I haven't added it up. I would say
   11      A.     Various people on the team and so, I       11 ballpark, if this was 80 hours, 40 hours.
   12 mean, Dr. Thompson and then I know people more by      12     Q.      Okay. With regard to this
   13 first name. Patrick, Brianne. I don't remember         13 particular invoice, in the "For" section you say
   14 everybody's last name.                                 14 "Review of materials in preparation of expert
   15      Q.     Did anyone outside of the lawyers          15 report from June 5 to June 2, 2021."
   16 for the plaintiffs in any way assist you in            16           Does June 5 represent the first date
   17 preparing your report?                                 17 that you started working on this case?
   18      A.     No.                                        18     A.      So you said June 2. I think you
   19               MR. HEGARTY: I'm going to                19 meant July 2 so...
   20       mark as Exhibit No. 1 the invoice that we        20     Q.      July 2. I'm sorry.
   21       have been provided from you by counsel           21     A.      June 5th represents the first date
   22       for the plaintiffs.                              22 that I billed any time. All of my preliminary
   23               (Document marked for                     23 discussions, investigations, deciding what the
   24       identification as Sage Exhibit 1.)               24 case was about, and what my preliminary opinions




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    1 might be I regarded as not billable.                         1    Q.     Were the -- when you say -- what was
    2     Q.        With regard to the reference below             2 the preliminary outline of issues?
    3 the "For" line to "Initial Meetings and Case                 3    A.     That was perhaps my inartful way of
    4 Review," who did you meet with initially that's              4 saying thinking about the issues and how I would
    5 referenced in that entry?                                    5 express my opinions.
    6     A.        To the best of my recollection,                6     Q.     Was it a draft of your report?
    7 these were Zoom meetings with people I hadn't                7     A.     Almost -- I don't know exactly how
    8 necessarily met before, but Dr. Thompson,                    8 to answer that. I mean, it was my initial
    9 Ms. O'Dell, Ms. Parfitt I think were the first               9 thinking. So whether it constitutes a draft in my
   10 significant call.    And then Patrick and Brianne at        10 notes or not, I really can't say. That's, I
   11 some -- at some point early on, but I don't                 11 think, a matter of your practice and requirements.
   12 remember the details.                                       12     Q.     Well, the entry below that does
   13     Q.        That same line refers to an entry or          13 refer to "Preparing Expert Report."
   14 refers to "Case Review."                                    14           Do you see that?
   15           What did you mean when you put in                 15     A.     Yes.
   16 "Case Review"?                                              16     Q.     So I see that as was it not two
   17     A.        Cutting me a little slack on the              17 different activities, one preparing an outline and
   18 terminology because I don't do this very often, I           18 one drafting your report?
   19 just meant this litigation.   So, you know,                 19             DR. THOMPSON: Object to form.
   20 whatever materials were -- were offered to me or            20             THE WITNESS: I itemized them
   21 whatever news reports I might have found just on            21      differently, I believe, to reflect the
   22 the posture of this litigation.   I hadn't been             22      stages of my thinking. I'm sure we'll
   23 following any of the individual cases, and I                23      discuss much of this today.
   24 hadn't specifically been following multidistrict            24             The stages of my thinking in
                                                        Page 15                                                  Page 17
    1 litigation.                                                  1      terms of an outline of issues just
    2     Q.     The next line below the line                      2      thinking about: What are the
    3 "Initial Meetings and Case Review" says                      3      self-regulatory obligations? What are
    4 "Preliminary Outline of Issues."                             4      the disclosure obligations? You know,
    5           Did you actually prepare a document                5      what are the differences between
    6 where you outlined the issues?                               6      cosmetics regulations and drug
    7     A.     Not a -- not a structured document.               7      regulations that are relevant?
    8 My -- my own notes and my kind of musings about              8              Various things of that sort
    9 how -- how this would develop as a report.                   9      that are more general and almost
   10     Q.     Do you still have those notes?                   10      certainly wouldn't have involved
   11     A.     I don't know, actually.                          11      reviewing any corporate documents or --
   12     Q.     Were they handwritten or something               12      or deposition testimony from the
   13 you typed on the computer?                                  13      litigation. Whereas, the deep dive is
   14     A.     Handwritten.                                     14      what followed that, and that's why I made
   15              MR. HEGARTY: We would ask                      15      the distinction.
   16      that the doctor -- if you ask the doctor               16              MR. HEGARTY: Well, we'll make
   17      to look for those notes.                               17      a request for those notes. I understand
   18              DR. THOMPSON: And we'll                        18      your objection. I just wanted to state
   19      object as draft of report.                             19      it on the record and we'll do necessary
   20              MR. HEGARTY: Sure.                             20      follow-up, okay?
   21      Understood, but we would ask that --                   21              DR. THOMPSON: (Nods head).
   22      that -- well, let me back up before I                  22 BY MR. HEGARTY:
   23      make the further request.                              23     Q.      The University of Texas has
   24 BY MR. HEGARTY:                                             24 disclosure policies for all work outside of your




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    1 job; is that right?                                          1 this, including when I'm teaching professional
    2     A.    Yes.                                      2 responsibility classes.
    3     Q.    Have you disclosed the work you're        3           The way that the University of Texas
    4 doing in this litigation pursuant to that policy?   4 system currently works, they have centralized the
    5     A.    I've disclosed everything that's          5 approval of outside activities that would
    6 required to be disclosed and received any approval 6 constitute conflict of commitment; in other words,
    7 that was required to be received.                   7 that might take time away from one's teaching
    8     Q.    As it relates to this case, correct?      8 obligations to the university. They centralized
    9     A.    Yes.                                      9 those at the University of Texas system level.
   10     Q.    Did you have to prepare a written        10 The University of Texas is comprised of several
   11 report disclosing your work on this case?          11 campuses.
   12     A.    Only in the most general terms.          12           That particular form asked me a
   13     Q.    But you actually prepared a report       13 number of questions which I filled in on the form
   14 and submitted it to someone?                       14 and asked me to identify the person who would
   15     A.    I filled out an online form.             15 grant approval. I designated the vice dean at the
   16     Q.    Do you have a copy of that online        16 law school because he's the person I would expect
   17 form?                                              17 to grant approval.
   18     A.    No.                                      18           Nothing happened for a while. I
   19     Q.    Did you have to get approval to do       19 reached out to him. He investigated, found that
   20 this work?                                         20 he could grant approval, granted approval, told me
   21     A.    I did have to get approval to do         21 he had granted approval, and the next time I
   22 this work.                                         22 checked the website approval had been granted.
   23     Q.    Who did you have to get approval         23     Q.     Okay. What is his name?
   24 from?                                              24     A.     Robert Chesney.
                                                        Page 19                                                     Page 21
    1     A.    I had to get approval from whoever                 1    Q.    Have you otherwise advised anyone at
    2 was the designated individual to grant approval.             2 the University of Texas of your work on this case?
    3 I identified the vice dean at the University of              3      A.     No.
    4 Texas Law School, who granted approval.                      4      Q.     What courses are you teaching, if
    5     Q.    What -- in what form was the                       5 any, this summer -- this semester?
    6 approval granted?                                            6      A.     So this semester I'm a visiting
    7     A.      A click on a website.                            7 professor here in Washington, DC at the George
    8     Q.      Click on a website to see if it says             8 Washington University Law School, and I'm teaching
    9 granted?                                                     9 -- that is a standard turnkey operation where the
   10           In other words, how was it done?                  10 University of Texas remains my employer. I am
   11 Was it done by an e-mail or was it done by a phone          11 only paid by them, and they have a separate
   12 call? Was it done by an in-person sign-off?                 12 agreement in a standard fashion for visiting
   13     A.      Would you like me to outline the                13 professorships with the institution that is
   14 process as best as I can recall it?                         14 hosting the semester.
   15     Q.      All I'm really looking for is: In               15            And at GW, I'm teaching a
   16 what form did you get the approval?                         16 three-credit legislation and regulation course,
   17     A.      I submitted the form. There are --              17 which is my standard regulatory theory and
   18 there are independent requirements at the                   18 regulatory design class, and I'm teaching a
   19 University of Texas and, as you probably know,              19 for-credit health law and policy survey class.
   20 this is an area that's in flux at many                      20      Q.     Have you taught classes either as a
   21 universities.                                               21 visiting professor or at the University of Texas
   22           I also have a significant academic                22 ever since you started at Texas? In other words,
   23 expertise in conflict of interest and conflict of           23 have you taught classes every semester either at
   24 commitment policy. So I pay attention to all of             24 Texas or somewhere else since you started?




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    1     A.    No. I have occasionally had a                  1 courses.   I may be teaching them about advocacy.
    2 research semester, or I've had additional teaching       2 I'm often teaching them about professional
    3 credit, or I've had an eminent scholar fellowship        3 responsibility.   I teach my professional ethics
    4 that would relieve me of teaching.   But I really        4 classes from a comparative professions perspective
    5 like to teach, so I usually teach the equivalent         5 and do a lot of law/medicine comparisons and
    6 of a full load every year.                               6 occasionally other professions also.
    7     Q.     Did you teach classes every semester          7       Q.   But you're not teaching the practice
    8 while at Columbia?                                       8 of medicine, correct?
    9     A.     Columbia, unlike the University of            9       A.   I'm not teaching clinical medicine,
   10 Texas, has a structured sabbatical program. So          10 no.
   11 not when I had a formal sabbatical, and I believe       11       Q.   And you've never taught clinical
   12 also not when I had large research grants that the      12 medicine to gynecologic oncologists, correct?
   13 law school based relief of teaching on. But, in         13     A.    No.
   14 general, I teach every semester and, in general, I      14     Q.    You have not taught clinical
   15 teach a full or an overload. I'm teaching an            15 medicine to oncologists, correct?
   16 overload this semester.                                 16     A.    I have not taught clinical medicine.
   17     Q.     Since 2001, have you been a                  17 You can ask -- you can subdivide that all you
   18 full-time law school professor?                         18 want. I have not taught clinical medicine.
   19     A.     Since 1995, I've been a full-time            19     Q.    You don't teach epidemiology,
   20 law school professor.                                   20 correct?
   21     Q.     1995.                                        21     A.    I teach -- I use epidemiological
   22          And the courses you have taught                22 materials in a fair amount of my regulatory
   23 since 1995 have all been in a law school, correct?      23 teaching. I mean, we consider all sorts of
   24     A.     I am interdisciplinary by training.          24 preventive screens and tests. We do a lot of

                                                    Page 23                                                         Page 25
    1 I am dually tenured in both the law school and           1 basic epidemiological calculations.     I do have
    2 medical school at University of Texas.    My last --     2 public health students in my classes from time to
    3 before GW, my last visiting professorship at NYU,        3 time, but, no, I've never taught a course in
    4 I had a visiting professor appointment both in law       4 epidemiology.
    5 school and at NYU School of Medicine.                    5       Q.   You don't teach courses in
    6          And virtually all of the classes I              6 toxicology, correct?
    7 teach at my home institution are cross-listed in         7A.     No, I don't.
    8 business and public affairs and in the medical           8Q.     Have you ever taught any courses on
    9 schools, and I typically design my courses to       9 FDA's cosmetic regulations?
   10 attract enrollment from many different schools.    10     A.     I teach FDA-related issues
   11     Q.     So in your career as a professor,       11 constantly, including within the last week. I've
   12 you have taught medical students?                  12 never used a cosmetic regulatory example in my
   13     A.     Indeed, many times.                     13 teaching.
   14     Q.     When is the last time you had a         14     Q.     Have you ever taught courses on the
   15 course in which you taught medical students?       15 manufacturing of cosmetics?
   16     A.     Last spring I taught my health, law,    16     A.     Have I ever taught courses on the
   17 and policy class at Texas and had over a dozen     17 manufacturing of cosmetics? No.
   18 third-year medical students enrolled, which an     18     Q.     Have you ever taught courses on the
   19 entering class of 50 is a significant number of    19 marketing of cosmetics?
   20 the medical school class. So I'm actually very     20     A.     I have taught -- I've -- when you
   21 proud of how many medical students I teach.        21 say "course," do you mean an entire semester
   22     Q.     When you teach medical students,        22 course or do you mean a class session or part of a
   23 you're teaching them law-related courses, correct? 23 class session?
   24     A.     I'm teaching them policy-related        24     Q.     Well, have you ever -- let me ask it


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    1 a different way.                                           1     In terms of my statement in
    2           Have you ever taught about the                   2
                                                               paragraph 7 of my report, I was trying to
    3 marketing of cosmetics specifically as to        3       lay out the general expertise that would
    4 cosmetics?                                       4       relate to the specific topics in the
    5      A.    Again, I've taught about the          5       report.
    6 marketing of drugs. I've taught about the        6 BY MR. HEGARTY:
    7 marketing of many things. I don't believe I've   7      Q.     Tell me when you first read the FDA
    8 ever taught specifically about the marketing of  8 cosmetic statutes and regulations that you cite in
    9 cosmetics.                                       9 your report.
   10      Q.    Have you ever taught specifically    10      A.     The cosmetic-specific regulations I
   11 about the labeling of cosmetics?                11 first read as I was deciding whether I would
   12      A.    No. Again, with the caveat that I    12 accept the invitation to serve as an expert
   13 teach about labeling and information disclosure 13 witness. The underlying pillars of FDA
   14 all the time.                                   14 regulations regarding, say, adulteration and
   15      Q.    Have you ever taught any courses     15 misbranding, which are applicable to cosmetics,
   16 about the testing of cosmetics?                 16 the general history of the Pure Food and Drug Act,
   17      A.    No.                                  17 of the Food, Drug, and Cosmetic Act of 1938, I
   18      Q.    Have you ever taught a course on     18 have been teaching this my entire career and have
   19 Canadian cosmetic regulatory law?               19 read them many times.
   20      A.    No.                                  20      Q.     But prior to being contacted as
   21      Q.    Have you ever taught courses on FDA  21 potentially serving as expert witness in this
   22 regulations as they relate to drugs, medical    22 case, you had never read the cosmetic statutes and
   23 devices, or over-the-counter medications?       23 regulations that you cite in your report, correct?
   24      A.    I've taught many class sessions that 24               DR. THOMPSON: Object to form.
                                                      Page 27                                                 Page 29
    1 involve those issues.   I've never taught a                1             THE WITNESS: Again, I had
    2 semester-long FDA law class.                               2     read the general statutes because the
    3    Q.     There is a course at University of               3     general statutes are applicable beyond
    4 Texas called "Food Safety Law" that gets into FDA          4     cosmetics. I had not read the CFR
    5 regulations.                                               5     entries for cosmetics.
    6          You've never taught that class, have              6 BY MR. HEGARTY:
    7 you?                                                       7    Q.     So in particular, prior to being
    8     A.     I have not taught that.                         8 contacted by plaintiffs' lawyers in this case, you
    9     Q.     In paragraph 7 of your report, you              9 had never read 21 CFR 740.1, correct?
   10 say that your expertise is in the science of              10             DR. THOMPSON: Object to form.
   11 policy-making, including the science of regulatory        11             THE WITNESS: So, again, I'm
   12 design.                                                   12     just going to take the liberty of -- of
   13          You go on to say that you are an                 13     when we're doing code sections, even
   14 expert in government-supervised health and                14     though I'm pretty sure I know which ones
   15 financial self-regulations, corporate compliance          15     you're referring to or CFR sections, I'm
   16 and corporate governance, and the regulations of          16     just going to have them around so that I
   17 self-governing professions.                               17     can -- I can --
   18          Nowhere in your report do you list               18 BY MR. HEGARTY:
   19 any expertise in FDA cosmetic regulations,                19    Q.     Sure.
   20 correct?                                                  20    A.     -- make sure I answer you
   21              DR. THOMPSON: Object to form.                21 accurately.
   22              THE WITNESS: I think a lot                   22          So you were regarding --
   23      of my report is certain proceedings and              23    Q.     Yes.
   24      FDA cosmetic regulations.                            24    A.     -- the warning statements on


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     1 cosmetics specifically?   No, I had not read that       1 being hired to work on this case?
     2 section prior to considering these issues.              2               DR. THOMPSON: Object to form.
     3    Q.      You're not an expert in FDA cosmetic         3               THE WITNESS: I have not done
     4 regulations. True?                                       4      specific work on cosmetic regulations
     5    A.      I --                                          5      prior to my involvement with these
     6              DR. THOMPSON: Object to form.               6      issues.
     7              THE WITNESS: I consider                     7 BY MR. HEGARTY:
     8     myself an expert in cosmetic regulations.            8     Q.     Had you ever heard the term
     9     It's a short number of regulations that              9 "asbestiform" before being hired in this case?
    10     fit in a larger scheme that I have great            10              DR. THOMPSON: Object to form.
    11     familiarity with.                                   11              THE WITNESS: I have an
    12 BY MR. HEGARTY:                                         12      undergraduate degree in biochemistry that
    13    Q.      Would you have called yourself an            13      included a couple of geology classes. So
    14 expert in FDA cosmetic regulations prior to being       14      chances are, yes, but I don't recall.
    15 contacted by the plaintiffs' counsel in this case?      15 BY MR. HEGARTY:
    16              DR. THOMPSON: Object to form.              16     Q.     Had you ever heard the term
    17              THE WITNESS: I'm not sure I                17 non-asbestiform before being hired?
    18     know the answer to that. It would have              18     A.     Same answer.
    19     depend on the context I was being asked             19              DR. THOMPSON: Object to form.
    20     the question.                                       20 BY MR. HEGARTY:
    21              I wouldn't have asserted that              21     Q.     Had you ever heard the term
    22     as a focused expertise, but I would have            22 "elongated mineral particles" before being hired
    23     understood that a small amount of -- of             23 in this case?
    24     intense research would be sufficient to             24              DR. THOMPSON: Object to form.
                                                     Page 31                                               Page 33
     1      connect what was specific to cosmetic              1         THE WITNESS: Elongated
     2      regulation to my general food, drug, and      2      mineral  particles was an interesting
     3      cosmetic expertise. So probably I would       3      acronym. My impression is it's
     4      have.                                         4      relatively new. So I don't believe I had
     5 BY MR. HEGARTY:                                    5      ever heard that before.
     6     Q.     Even though you had never read the      6 BY MR. HEGARTY:
     7 cosmetic regulations, correct?                     7     Q.     Had you ever heard the phrase
     8              DR. THOMPSON: Object to form.         8 "fibrous talc" before being hired in this case?
     9              THE WITNESS: (Laugh). Yes.            9              DR. THOMPSON: Object to form.
    10 BY MR. HEGARTY:                                   10              THE WITNESS: Again, I don't
    11     Q.     Okay. Fair enough.                     11      know.
    12           Tell me -- well, strike. Let me         12 BY MR. HEGARTY:
    13 back up.                                          13     Q.     Have you ever been designated as an
    14           Have you had any formal training,       14 expert witness in any lawsuit before this one?
    15 formal courses on FDA cosmetic regulations and    15     A.     As we were discussing earlier, I
    16 practices?                                        16 served as a named expert, but did not ultimately
    17     A.     I have not taken any formal courses    17 testify in a hospital antitrust suit involving two
    18 on cosmetic regulation. I have taken -- I have    18 private hospitals in Illinois and the Federal
    19 attended many talks and read many papers and      19 Trade Commission, roughly, 10 years ago, maybe 12.
    20 attended conferences involving FDA issues overall 20     Q.     Any time other than that instance
    21 several times.                                    21 that you are aware of you've been actually
    22     Q.     Focusing specifically on cosmetic      22 designated or identified as an expert witness in a
    23 regulations, can you cite for me all the work you 23 lawsuit?
    24 have done concerning cosmetic regulations before 24      A.     No.



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     1     Q.    You received both a law and medical          1 related to public finance, securities, mergers and
     2 degrees -- or let me rephrase that.                    2 acquisitions?
     3           You received both law and medical            3     A.    Yes.
     4 degrees at Stanford, correct?                          4     Q.    You were an associate at O'Melveny
     5     A.      Correct.                                   5 for four years before leaving to become a law
     6     Q.      Which one did you complete first?          6 professor?
     7     A.      (Laugh). There are many ways to            7     A.    I was an associate for -- an
     8 answer that question.                                  8 associate from October of 1990 until January of
     9           I entered medical school first. I            9 1993, when I resigned in order to work in the
    10 entered law school near the end of my third year      10 White House on that era of Clinton Administration
    11 of medical school. I integrated the two programs,     11 health reform. And then the following September,
    12 and I received both degrees the same day.             12 perhaps October, I rejoined O'Melveny on a half
    13     Q.      After one year of residency in            13 time basis and I worked there until I became a law
    14 anesthesiology, you went to work at a law firm in     14 professor in 1995.
    15 Los Angeles; is that correct?                         15     Q.    Are you aware that O'Melveny
    16     A.      Not -- not exactly. I did -- I            16 represents Johnson & Johnson?
    17 completed an internship year in what's called the     17     A.    I am. John Beisner was someone I
    18 transitional year Internship in San Diego, which      18 knew slightly when I worked in the DC office on
    19 would have been the first year of a four-year         19 Supreme Court litigation during my otherwise
    20 anesthesia residency. I then completed the second     20 corporate practice years.
    21 year of that residency at Johns Hopkins, you know,    21     Q.    So you did work with lawyers
    22 in the normal course, and having completed that       22 representing Johnson & Johnson?
    23 year, I then moved back to California and became      23             DR. THOMPSON: Object to form.
    24 an associate at a law firm.                           24             THE WITNESS: No. I knew
                                                   Page 35                                                   Page 37
     1     Q.     Why did you stop practicing                 1  that John Beisner was in the office and
     2 medicine?                                              2  said hi to him a few times.
     3     A.     My -- my intent was to acquire          3 BY MR. HEGARTY:
     4 practice experience in each profession and to go   4     Q.     Did you ever work on any matters
     5 back and forth between the two until I had a good  5 involving Johnson & Johnson?
     6 grounding in both.                                 6     A.     No.
     7     Q.     When is the last time you treated a     7     Q.     What percentage of your working time
     8 patient?                                           8 this year has been spent on litigation matters?
     9     A.     I have an active Texas medical          9     A.     Would you rephrase that?
    10 license. I do not maintain a clinical practice.   10     Q.     Sure.
    11 I do my best to keep my clinical skills up, but I 11     A.     Sorry.
    12 don't treat patients. So the last time I treated  12     Q.     Are you working on any litigation
    13 a patient in a formal sense was during my second  13 matters as an expert witness besides the one we're
    14 year of postgraduate training so as an anesthesia 14 here to talk about today?
    15 resident at Johns Hopkins.                        15     A.     No.
    16     Q.     What year was that?                    16     Q.     How much time have you spent -- I
    17     A.     That would have been 1990.             17 guess, let me back up.
    18     Q.     You went to work at O'Melveny in Los 18             The time you've spent working on
    19 Angeles, correct?                                 19 this case has been in 2021, correct?
    20     A.     Correct.                               20     A.     Correct.
    21     Q.     And you were an associate in the       21     Q.     And it's been the time we talked
    22 corporate group; is that right?                   22 about in the invoice, plus the other time you
    23     A.     Yes.                                   23 billed since that time; is that right?
    24     Q.     And your CV says you worked on cases 24       A.     Correct.


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     1     Q.    Did you earn any fees as an expert           1    Q.     Have you ever been hired by a
     2 witness in 2020?                                       2 company to consult with regard to a prescription
     3     A.     No.                                     3 drug?
     4     Q.     How about 2019?                         4     A.     No.
     5     A.     No.                                     5          May I just ask. When you say "hired
     6     Q.     Before this case, have you ever been    6 by a company," I haven't, to my knowledge, been
     7 designated as an expert to testify about           7 hired by anybody for these purposes. But when you
     8 cosmetics?                                         8 say "a company," do you mean by, I mean, as
     9     A.     No.                                     9 opposed to a law firm or do you mean just all
    10     Q.     Before this case, have you ever been   10 others?
    11 designated as an expert to testify about cosmetic 11     Q.     Yes, it would be a company.
    12 regulations?                                      12          My question would be: Have you ever
    13     A.     No.                                    13 been hired   by a company who would -- who makes the
    14     Q.     Have you ever been designated as an    14 product --
    15 expert to talk about pharmaceutical, medical      15     A.     Okay.
    16 device, or over-the-counter regulations?          16     Q.     -- the product I'm talking about, to
    17     A.     No, but I don't do much expert         17 consult with   regard to that particular product,
    18 witness work.                                     18 and my last question was a prescription drug?
    19     Q.     Is this the only legal case you're     19     A.     I understand now.
    20 currently consulting on?                          20     Q.     Have you ever been hired by a
    21     A.     Yes.                                   21 company   to  consult with regard to a medical device
    22     Q.     How many times have you given a        22 they are manufacturing?
    23 deposition?                                       23     A.     No.
    24     A.     Only -- only once.                     24     Q.     Have you ever been hired by a
                                                   Page 39                                                     Page 41
     1      Q.    When was that?                              1 company to consult with regard to an
     2      A.    That was, roughly, 10 years ago in          2 over-the-counter product that they are
     3 the antitrust litigation I mentioned. An               3 manufacturing?
     4 excellent assistant section chief from the FTC         4    A.      No.
     5 took my deposition in Austin, Texas on that case.      5           Qualification, though I would not be
     6      Q.    Who were the hospitals involved?            6 able to remember the details, is I provide
     7      A.    It was two hospitals in Rockford,           7 informal advice many times to people unpaid with
     8 and they have changed their names enough so that       8 no documentation, often my own students, sometimes
     9 I, frankly, can't remember. I would have to look       9 students elsewhere in the university who are doing
    10 at something to refresh my recollection.              10 collaborative startup work. And they have
    11      Q.    Okay. Have you ever taken a                11 something that they are interested in and has a
    12 deposition as a lawyer?                               12 health policy, health reimbursement, health law
    13      A.    No.                                        13 type connection, and they reach out, and I am very
    14      Q.    Have you ever testified in court?          14 generous with my -- my unpaid time.
    15      A.    I've -- I've never testified as a          15           So it's quite possible that
    16 witness in court. I've served on juries and have      16 something meeting these descriptions happened
    17 voir dire.                                            17 during those contacts over the years.
    18      Q.    Have you ever been hired by a              18     Q.     Have you ever consulted with a
    19 company to consult with regard to a cosmetic          19 consumer product company on any issue?
    20 ingredient?                                           20             DR. THOMPSON: Object to form.
    21      A.    No.                                        21             THE WITNESS: Have I ever
    22      Q.    Have you ever been hired by a              22      consulted. Again, for hire? No.
    23 company to consult regarding a cosmetic product?      23 BY MR. HEGARTY:
    24      A.    No.                                        24     Q.     Has any cosmetic, pharmaceutical,



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     1 company or over-the-counter company ever hired you            1       practice that would be relevant to
     2 as a consultant for any issue?                                2       cosmetic companies.
     3     A.     Would you repeat that question?                     3 BY MR. HEGARTY:
     4     Q.     Sure.                                               4     Q.     You have no personal experience on
     5           Has any cosmetic, pharmaceutical, or                 5 working within a cosmetic company?
     6 over-the-counter product company ever hired you to             6     A.     Correct.
     7 assist them with anything?                                     7     Q.     Have you ever assisted a company in
     8     A.     Again, not for hire. Not for hire.                  8 developing a cosmetic?
     9 I have a wide circle of acquaintance. I do                     9     A.     No.
    10 speaking for many organizations, including                    10     Q.     Have you ever assisted a company in
    11 conferences that may have been funded by                      11 testing a cosmetic?
    12 pharmaceutical companies over the years, but                  12     A.     No.
    13 nobody has hired me individually for consulting               13     Q.     Have you ever assisted a company in
    14 advice.                                                       14 manufacturing a cosmetic product?
    15     Q.     Have you ever been -- strike that.                 15     A.     No.
    16           So you have never been employed by a                16     Q.     Have you ever assisted a company in
    17 pharmaceutical, medical device, or consumer                   17 marketing a cosmetic?
    18 product company, correct?                                     18     A.     Personally, no. My mom was involved
    19     A.     Correct.                                           19 in some cosmetic advertising decades ago.
    20     Q.     You've never worked for Johnson &                  20     Q.     Have you ever been involved in a
    21 Johnson, correct?                                             21 company's analysis of safety data regarding a
    22     A.     No.                                                22 cosmetic?
    23     Q.     You've never worked for any Johnson                23     A.     No.
    24 & Johnson company, right?                                     24     Q.     Have you ever advised a company
                                                           Page 43                                                 Page 45
     1     A.     I have had a lot of contact over the               1 about the testing needed to show the safety of a
     2 years with the Robert Wood Johnson Foundation, and            2 cosmetic?
     3 I've been a recipient of at least one of their                3      A.     No.
     4 grants, but I have not -- I haven't been hired by             4      Q.     Have you ever assisted a company in
     5 a corporate entity having anything to do with                  5 communicating with the FDA about a cosmetic?
     6 Johnson & Johnson.                                             6     A.     No.
     7     Q.     Does Johnson & Johnson still --                     7     Q.     Have you ever drafted a warning for
     8 strike that.                                                   8 a cosmetic?
     9           Does Johnson & Johnson still sell                    9     A.     No.
    10 Shower to Shower?                                             10     Q.     Have you ever -- have you ever
    11    A.     I don't know.                                       11 advised a cosmetic company about the need for a
    12    Q.     You are not an expert in how a                      12 warning on a cosmetic?
    13 cosmetic company operates, correct?                           13     A.     No.
    14             DR. THOMPSON: Object to form.                     14     Q.     Have you ever worked with a company
    15             THE WITNESS: I am an expert                       15 on developing a warning for a cosmetic?
    16     in how a lot of companies operate. What                   16     A.     No.
    17     is particular to a cosmetic company I                     17     Q.     Have you ever drafted -- strike
    18     couldn't say, but I have corporate law                    18 that. I asked you that.
    19     practice experience. I have corporate                     19           Have you ever communicated with a
    20     law teaching experience. I have                           20 company about the cosmetic regulations?
    21     securities law teaching experience.                       21     A.     No.
    22             And my mother spent her career                    22     Q.     Have you ever been employed by a
    23     doing fashion advertising. So I suspect                   23 company in any capacity?
    24     I know a fair amount about corporate                      24             DR. THOMPSON: Object to form.


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     1             THE WITNESS: I'm not exactly          1 administrative agency, correct.
     2     sure what you're asking, I mean.            2     Q.     You've never communicated with
     3 BY MR. HEGARTY:                                 3 anyone at FDA regarding a cosmetic, correct?
     4     Q.    It's as broad as it can be.           4     A.     Correct.
     5          Have you ever worked for a company? 5        Q.     You've never served on any FDA
     6     A.    I mean, a law firm is a -- is a       6 committees, correct?
     7 company. So yes. (Laugh).                       7     A.     Ever served on an FDA committee.
     8     Q.    Have you ever worked for a company    8 Correct.
     9 outside of O'Melveny?                           9     Q.     FDA has never contacted you about a
    10     A.    I worked -- I was a summer associate 10 cosmetic, correct?
    11 at Davis Polk and Wardwell. (Laugh).           11     A.     Correct.
    12     Q.    Fair enough.                         12     Q.     You've never worked with Health
    13          You've never worked for FDA,          13 Canada, correct?
    14 correct?                                       14     A.     Correct.
    15     A.    Correct. Oh, and, again, not a       15     Q.     You've never worked with any foreign
    16 company, but I -- I was a full-time federal    16 regulatory agency, correct?
    17 employee briefly in 1993 with the White House. 17     A.     It's a good question.
    18     Q.    But you never worked for FDA,        18          I have been an invited speaker and
    19 correct?                                       19 conference participant in, you know, several
    20     A.    Correct.                             20 countries that involved health policy agencies,
    21     Q.    Have you ever worked for a           21 health insurance agencies. I have had many
    22 governmental agency?                           22 discussions over the years. I haven't worked on
    23     A.    Again I worked --                    23 discrete projects with them in a sustained way.
    24             DR. THOMPSON: Object to form. 24          Q.     You're not an expert in Canadian
                                               Page 47                                             Page 49
     1              THE WITNESS: I worked in the         1 cosmetic regulations, correct?
     2      White House in 1993 as a full-time           2              DR. THOMPSON: Object to form.
     3      employee and, you know, with a clearance     3              THE WITNESS: Correct.
     4      and with a lot of connections with the        4 BY MR. HEGARTY:
     5      federal government.                           5     Q.    You've never communicated directly
     6              I work extensively with state         6 with Health Canada, correct?
     7      governments on various issues from time       7     A.    Correct.
     8      to time. I provide informal advice to         8     Q.    You cannot cite to me a single
     9      people in federal health agencies, in         9 cosmetic -- you cannot cite to me a single
    10      self-regulatory organizations. It's what     10 Canadian cosmetic regulation, can you?
    11      I do. I mean, this is a career of this.      11             DR. THOMPSON: Object to form.
    12 BY MR. HEGARTY:                                   12             THE WITNESS: Can I cite?
    13     Q.     Understood. Let me ask it a            13     No. But my habit is always to look
    14 different way.                                    14     things up. So I don't cite very much.
    15           You've never been employed by a         15     Have I now read a little about Canadian
    16 governmental agency, correct?                     16     cosmetic regulation? Yes, but I don't --
    17              DR. THOMPSON: Object to form.        17     I don't know chapter and verse.
    18              THE WITNESS: Other than the          18 BY MR. HEGARTY:
    19      White House, no.                             19     Q.    Have you ever read the Canadian
    20 BY MR. HEGARTY:                                   20 cosmetic regulations?
    21     Q.     But you know government being the      21     A.    No.
    22 job you had at the White House was not with an    22     Q.    Have you ever referenced in any
    23 agency, right?                                    23 publication of yours a Canadian regulation
    24     A.     It was not with a federal              24 regarding cosmetics?




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     1     A.     Regarding cosmetics? No.                 1 FSAR for talc, correct?
     2     Q.     Have you ever referenced in any         2     A.     Again, I am not great with acronyms.
     3 publication of yours a finding by Health Canada?   3 If you want to show me?
     4             DR. THOMPSON: Object to form.          4     Q.     Sure.
     5             THE WITNESS: I don't believe           5     A.     It may be in my binder, but I just
     6      so.                                           6 want to make sure I'm looking at the right thing.
     7 BY MR. HEGARTY:                                    7              MR. HEGARTY: I'll show you a
     8     Q.     Do you claim to be an expert in         8      copy of it, and I'll mark as an exhibit.
     9 Health Canada's risk assessment process?           9              (Document marked for
    10             DR. THOMPSON: Object to form.         10      identification as Sage Exhibit 2.)
    11             THE WITNESS: I have read              11 BY MR. HEGARTY:
    12      their weight of evidence documents, which    12     Q.     I'm marking as Exhibit No. 2 the
    13      are compatible with documents elsewhere,     13 screening assessment by --
    14      and I've worked on harmonization efforts     14     A.     Yeah.
    15      involving drug approval regulations          15     Q.     -- Health Canada for talc that's
    16      involving many countries, including the      16 dated April 21 -- April 2021.
    17      Canadian system, but I don't know what       17          And you have read this document,
    18      more than that I could -- I could offer.     18 correct?
    19 BY MR. HEGARTY:                                   19     A.     Yes, I have -- I have reviewed this
    20     Q.     Well, with regard to the Canadian      20 document, which means reading much of it. Did I
    21 risk assessment process, the only document you've 21 read every word? Probably not.
    22 read about that is the 2001 Canadian FSAR,        22     Q.     And you mentioned before that you
    23 correct?                                          23 had not read it prior to being contacted by
    24             DR. THOMPSON: Object to form.         24 counsel for plaintiffs in this case?

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     1              THE WITNESS: I would have to           1      A.    That's correct.
     2      look at what exactly the document you --       2      Q.    Do you know who wrote this document?
     3      I've read -- I thought it was a                 3     A.    No.
     4      considerably more recent document on            4     Q.    Do you know who was involved in
     5      weight of evidence explaining how they do       5 analyzing the data in putting this document
     6      their risk assessment, what evidence, you       6 together?
     7      know, is -- is incorporated, what might         7     A.    As individuals, no. I would assume
     8      not be.                                         8 that Health Canada is at governmental level
     9              I'm familiar with risk                  9 responsible for the assessments they issue.
    10      assessment documents for many contexts,        10     Q.    Do you know the expertise of anyone
    11      whether European precautionary principle       11 involved in putting Exhibit No. 2 together?
    12      documents or, you know, U.S.                   12     A.    I can make inferences, but, no.
    13      cost-effectiveness, cost-benefit               13     Q.    Did you submit any material as part
    14      executive order type economic analysis         14 of this Health Canada process that led to Exhibit
    15      regulation documents. I don't know the         15 No. 2?
    16      ins and outs of them. I have a good            16     A.    No.
    17      familiarity with how the system works.         17     Q.    Did you or have you communicated
    18 BY MR. HEGARTY:                                     18 with Health Canada regarding this assessment?
    19     Q.     Have you read anything about Health      19     A.    No.
    20 Canada's risk assessment as it relates to talc      20     Q.    Did you know Health Canada was even
    21 before being contacted by plaintiffs' counsel in    21 doing an assessment about talc prior to being
    22 this case?                                          22 contacted by plaintiffs' counsel in this case?
    23     A.     No.                                      23     A.    No.
    24     Q.     And you have read the Health Canada      24     Q.    Do you recall from reading Exhibit


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     1 No. 2 that it references as part of its reliance         1 plaintiff experts?
     2 materials expert reports from U.S. litigation?           2 A.     I didn't know that but --
     3     A.     I don't recall anything about the        3      Q.     Okay.
     4 references in this report.                          4      A.     -- I'll take your word for it.
     5     Q.     Well, if you turn to, for example,       5      Q.     Can you cite for me any time FDA has
     6 page 55 of this report that we marked as Exhibit    6 cited to litigation expert reports in publishing a
     7 No. 2 --                                            7 safety finding?
     8     A.     Uh-huh.                                  8               DR. THOMPSON: Object to form.
     9     Q.     -- and four lines up from the bottom     9               THE WITNESS: That is exactly
    10 of that page, there's a reference -- let me --     10      the sort of question I would research
    11 that's not the right one. I'll find the one I      11      before offering a view on.
    12 want to reference you to.                          12 BY MR. HEGARTY:
    13           Okay. If you go to page 62. I'm          13      Q.     Do you know if Health Canada has
    14 sorry. Two lines up from the bottom, there's a     14 ever in any safety assessment cited expert reports
    15 reference to a Rule 26 expert report of Judith     15 from U.S. litigation?
    16 Wolf from 2018.                                    16               DR. THOMPSON: Object to form.
    17           Do you see that?                         17               THE WITNESS: I'm not aware
    18     A.     I do.                                   18      of that, but this is the research
    19     Q.     Had you noted that before I pointed     19      process. I don't give casual reads on
    20 that out to you right now?                         20      complicated facts. I look things up.
    21     A.     No.                                     21 BY MR. HEGARTY:
    22           The one you referenced earlier on        22      Q.     In any published article of yours,
    23 page 55, the McTiernan, reminded me that I did     23 have you ever cited an expert report from a
    24 review Congressional testimony as part of learning 24 litigation?

                                                      Page 55                                                 Page 57
     1 about these issues --                                    1     A.      Not to my -- not to my knowledge,
     2     Q.     Okay.                                         2 but it's possible.
     3     A.     -- and formulating my opinions.               3     Q.      Do you -- don't you find it unusual
     4     Q.     And if you go over to page 59, do             4 that a governmental agency would cite to a
     5 you see about five lines down from the top and           5 litigation report as part of its reliance
     6 about another five lines down, there's a reference       6 material?
     7 to an expert report by Jack Siemiatycki and a            7     A.     I don't find --
     8 reference to an expert report by Rebecca                 8              DR. THOMPSON: Object to form.
     9 Smith-Bindman?                                            9             THE WITNESS: I don't find it
    10           Do you see that?                               10     in the least unusual. One takes
    11     A.     Yes.                                          11     information where one gets it. One
    12     Q.     Do you see that those reports are in          12     weighs its importance, its reliability.
    13 the same case in which your expert report was            13             If I were -- if I were
    14 filed, the United States District Court for the          14     advising a risk assessment body, I would
    15 District of New Jersey MDL?                              15     not put blanket exclusions on what it
    16     A.     Yes. I also see one in between the            16     considers.
    17 two. Actually, I see a couple including those            17 BY MR. HEGARTY:
    18 there.                                                   18    Q.     You're familiar with IARC?
    19     Q.     Yes.                                          19    A.     Briefly, yes.
    20           Dr. Singh. You see that?                       20    Q.     Okay. Did you have any awareness of
    21     A.     Yes.                                          21 IARC prior to being contacted by plaintiffs'
    22     Q.     And a Dr. Ellen Blair Smith?                  22 counsel in this case?
    23     A.     Yes.                                          23    A.     I'd seen --
    24     Q.     You understand that those are all             24             DR. THOMPSON: Object to form.


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     1                THE WITNESS: I had seen the           1     articles that are now either published or
     2       acronym. I knew there was such a body.       2       in the works that weren't listed before.
     3       I hadn't read any of their specific          3               MR. HEGARTY: If you could at
     4       assessments.                                 4       a break get us a copy -- get me a copy of
     5                MR. HEGARTY: Mark as Exhibit        5       that, I would appreciate that. And I'll
     6       No. 3 a copy of the curriculum vitae of      6       come back and just mark that as an
     7       yours that we were provided in this          7       exhibit.
     8       litigation.                                  8 BY MR. HEGARTY:
     9                (Document marked for                9      Q.      Dr. Sage, do you understand that
    10       identification as Sage Exhibit 3.)          10 we're here today to take your deposition in the
    11 BY MR. HEGARTY:                                   11 case of In re: Johnson & Johnson Talc Litigation
    12       Q.     Would you look at that document and 12 MDL, correct?
    13 tell me whether this is your current curriculum   13      A.      Yes.
    14 vitae.                                            14      Q.      Who are the Johnson & Johnson
    15       A.     (Reviews document.)                  15 companies in this case?
    16            This is not the most recent version.   16      A.      Again, I have not reviewed the case
    17 I think I was asked to provide an update that     17 file in a litigation posture.
    18 included the GW visit, which is how I'm judging 18              My understanding is that Johnson &
    19 it --                                             19 Johnson's consumer subsidiary is the focal
    20       Q.     Okay.                                20 defendant. I don't recall whether the Johnson &
    21       A.     -- and this doesn't include that.    21 Johnson parent is also named. What little I know
    22       Q.     Did you bring a copy of your updated 22 of litigation would suggest that many parties are
    23 curriculum vitae?                                 23 named.
    24       A.     Yes.                                 24      Q.      You did mention the consumer
                                                 Page 59                                                   Page 61
     1    Q.     Do you have it with you?                   1 company. There's Johnson & Johnson Consumer, Inc.
     2    A.     Yes, I think -- well, I think -- let       2         Do you know when that company came
     3 me see. I definitely do. Let me see what...          3 into existence?
     4             MR. HEGARTY: Well, we can                4    A.     No.
     5     come back. Can I get a copy of that when         5    Q.     Did you break down for purposes of
     6     we have a break if you don't have it?            6 your report any analysis looking at the activities
     7             DR. THOMPSON: I believe                  7 between Johnson & Johnson and Johnson & Johnson
     8     that --                                          8 Consumer, Inc.?
     9             MS. PARFITT: I thought that              9             DR. THOMPSON: Object to form.
    10     was given to you.                               10             THE WITNESS: I did in -- in
    11             DR. THOMPSON: -- was given to           11     my report. I was very interested in how
    12     you in the production but...                    12     the Johnson & Johnson companies were
    13             MR. HEGARTY: Okay. The one I            13     organized in terms of what regulated
    14     had brought with me that I had asked            14     products they produced, not just
    15     folks to give me is the one I marked as         15     cosmetics, but drugs, medical devices,
    16     Exhibit No. 3.                                  16     and the like and so, you know, I at a
    17             THE WITNESS: Yeah. So --                17     high level of generality reviewed the
    18             MS. PARFITT: We can check and           18     organizations.
    19     substitute it.                                  19             And I think at some point,
    20             MR. HEGARTY: Okay.                      20     there is a paragraph here that points out
    21             DR. THOMPSON: But I believe             21     Johnson & Johnson's umbrella expertise
    22     the only change was his current position        22     and which subsidiaries have which
    23     at GW so...                                     23     divisions. All of which I thought was
    24             THE WITNESS: And a couple of            24     interesting as it related to their



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     1     regulatory experience and obligations.             1          DR. THOMPSON: And I would
     2 BY MR. HEGARTY:                                        2   claim that those e-mails are privileged
     3     Q.    But in terms of the analysis that         3      as --
     4 you prepared across your report, did you break      4             MR. HEGARTY: I understand.
     5 down the analysis as between the Johnson & Johnson 5              DR. THOMPSON: -- a discussion
     6 and Johnson & Johnson Consumer, Inc. companies?     6      of serving as an expert.
     7             DR. THOMPSON: Object to form.           7             MR. HEGARTY: Understood.
     8             THE WITNESS: No, I don't have           8 BY MR. HEGARTY:
     9     the specific details to explain that            9     Q.     When was it that you agreed to serve
    10     functionally, and as you well know in          10 as an expert witness in relation to the first
    11     terms of legal accountability, the             11 contact?
    12     functional assignment and legal                12     A.     Within a month.
    13     accountability are not always the same.        13     Q.     Apart from anything that you were
    14 BY MR. HEGARTY:                                    14 told by the attorneys during your communications,
    15     Q.    When were you first contacted about      15 do you know how they came to contact you?
    16 serving as an expert in this case?                 16             DR. THOMPSON: Object to form.
    17     A.    Probably sometime in May of 2021.        17 BY MR. HEGARTY:
    18     Q.    Who contacted you?                       18     Q.     How Ms. Thompson -- Dr. Thompson
    19     A.    Dr. Margaret Thompson.                   19 came to contact you?
    20     Q.    How was this contact made?               20     A.     No.
    21     A.    Possibly e-mail, possibly telephone,     21     Q.     Do you have any social or business
    22 possibly incidental to a general catch-up          22 relationship to Dr. Thompson?
    23 conversation.                                      23     A.     Yes. Dr. Thompson is one of my
    24     Q.    Do you recall getting e-mails from       24 former law students at the University of Texas,

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     1 Ms. Thompson -- Dr. Thompson prior to --               1 and I taught her in more than one class and she
     2     A.     Thank you.                             2 was a great student.
     3     Q.     -- about potentially serving as an     3     Q.     What years did you teach her at the
     4 expert witness before you agreed to serve as an   4 law school?
     5 expert?                                           5     A.     I would have forgotten exactly what
     6     A.     I'm sure there are e-mails that        6 years, but I was reminded that I think it was 2004
     7 discuss it in some -- in some degree because I    7 or thereabouts. So probably 2004/2005 or so.
     8 don't solicit expert witness work, and it was     8     Q.     Have you maintained any type of
     9 important to me to understand both the            9 social relationship with Dr. Thompson since you
    10 relationship between my regulatory expertise and 10 taught her in law school?
    11 this matter and, you know, where my analysis was 11              DR. THOMPSON: Object to form.
    12 likely to lead before I would agree to become an 12              THE WITNESS: I've maintained
    13 expert witness.                                  13      the sorts of relationship I would have
    14     Q.     Do you still maintain those e-mails?  14      with former students and, you know,
    15     A.     I'm sure they exist, as all e-mails   15      because Dr. Thompson and my family have
    16 exist.                                           16      moved in similar social circles in Austin
    17              MR. HEGARTY: Well, we would         17      during this time, we will run into each
    18      ask you to retain those e-mails, and we     18      other from time to time.
    19      will make a request for a copy of any       19 BY MR. HEGARTY:
    20      e-mails that were generated prior to Dr.    20     Q.     Would you -- would you call
    21      Sage agreeing to serve as an expert         21 Dr. Thompson a friend apart from your work on this
    22      witness.                                    22 case?
    23              DR. THOMPSON: And -- sorry.         23     A.     Yes, definitely.
    24              MR. HEGARTY: Go ahead.              24     Q.     Had you known any of the other



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     1 lawyers for the plaintiffs in which you have              1     A.     Yes. She had some involvement in
     2 worked on on this case prior to your working with         2 the first campaign.   I don't remember exactly for
     3 them?                                                     3 how long.
     4    A.     No. Since you said for the                      4     Q.     When was that involvement?
     5 plaintiffs, that would exclude John Beisner.              5     A.     I don't exactly recall. She -- she
     6    Q.      Correct.                                       6 helped Karen with some of the earliest fundraising
     7           Had you had any working relationship            7 activities. I don't know the details or don't
     8 with Dr. Thompson prior to her contacting you             8 remember them.
     9 about potentially serving as an expert in this            9     Q.     This would have been at a time that
    10 case?                                                    10 you were still married, correct?
    11      A.    We had had informal conversations             11     A.     Yes, this would have been in 2010.
    12 over the years about various things of the sorts         12     Q.     Do you know Dr. Ellen Smith?
    13 that I will routinely have with my former                13     A.     I'm sorry. Ellen with an E?
    14 students.                                                14     Q.     Yes.
    15      Q.    Give me an example.                           15     A.     Common name, but I don't think I do.
    16      A.    She would be working on vaginal mesh          16     Q.     Do you know her husband, Dr. Alan
    17 litigation, and we would have a discussion of            17 Campion?
    18 vaginal mesh.                                            18     A.     Also a name I think I have heard;
    19      Q.    In what sense of a discussion would           19 but, no, not personally.
    20 you have?                                                20     Q.     Do you know Thomas Dydek?
    21      A.    I can't recall.                               21     A.     So Dydek is -- is Dr. Thompson's --
    22      Q.    Okay. Does your wife have a social            22 one of Dr. Thompson's sons' names, and I taught
    23 relationship with Dr. Thompson?                          23 one of Dr. Thompson's sons at Harvard Law School.
    24      A.    Former wife. We're divorced.                  24 They're actually the only mother/son combination I

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     1     Q.     What's her name?                               1 recall teaching in my career.
     2     A.     Karen Sage.                                    2     Q.    Do you know if any attorney for the
     3     Q.     She's a judge, correct?                        3 plaintiffs in this case besides perhaps
     4     A.     Correct.                                       4 Dr. Thompson ever donated any money to your wife's
     5     Q.     Does Judge Sage have a social                  5 campaign?
     6 relationship to your knowledge with Dr. Thompson?         6     A.      I have no knowledge of that.
     7     A.     Yes.                                           7     Q.      Prior to being -- to agreeing to
     8     Q.     Has she had any working relationship           8 serve as an expert witness in this litigation, did
     9 with Dr. Thompson?                                        9 attorneys for plaintiff tell you anything about
    10     A.     Not to my knowledge.                          10 the litigation?
    11     Q.     Has Dr. Thompson or her firm ever             11     A.      Yeah.
    12 donated to your wife's campaign?                         12               DR. THOMPSON: Object to form.
    13              DR. THOMPSON: Object to form.               13               THE WITNESS: Well, yes.
    14              THE WITNESS: I don't know                   14 BY MR. HEGARTY:
    15      that for a fact. I would imagine that               15     Q.      What did they tell you?
    16      Dr. Thompson did donate to -- to my                 16               DR. THOMPSON: And I'm going
    17      former wife's first campaign, but I have            17      to instruct you not to answer what we
    18      no recollection of specifics, and I                 18      told you about the litigation.
    19      certainly know nothing about subsequent             19 BY MR. HEGARTY:
    20      campaigns.                                          20     Q.      Okay. Prior to agreeing to serve as
    21 BY MR. HEGARTY:                                          21 an expert witness, did counsel for plaintiffs show
    22     Q.     Do you know if Dr. Thompson has               22 you any documents?
    23 had -- ever had any involvement in any of your           23     A.      Yes, in that I think I specifically
    24 wife's political campaigns?                              24 asked for the most recent court ruling, one of the




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     1 Daubert causation type rulings.   I thought that           1 discussions, she referred to what had happened
     2 would give me some of the -- the background I              2 with the case recently, including the Daubert
     3 needed to evaluate the overall litigation and              3 ruling, and as you might imagine given my career,
     4 whether my particular expertise would be relevant          4 I like to read things and see for myself, and so I
     5 and appropriate.                                           5 wanted that document.
     6    Q.     I want to make this clear if it's                6     Q.     Had you heard of lawsuits involving
     7 not.                                                       7 talc and ovarian cancer before being contacted by
     8           Was there a time before you had                  8 Dr. Thompson?
     9 agreed -- was there a time between the first               9      A.    Yeah, certainly.
    10 contact that you had with Dr. Thompson and you            10      Q.    And where had you heard of those
    11 actually agreeing to serve as an expert witness?          11 lawsuits?
    12      A.    Absolutely. There was a long period            12      A.    In my, you know, daily and weekly
    13 of time that I had to understand how my expertise         13 health law litigation, professional
    14 fit with this litigation, understand what I               14 responsibility, tort liability, e-mail and news
    15 thought about the defendants' conduct and                 15 feeds, and the things I read professionally on a
    16 compliance or noncompliance with regulation.              16 routine basis.
    17 Yeah, I thought very seriously about it.                  17      Q.    And how much had you read, whether
    18      Q.    And during that period of time, did            18 you do it by volume or time, spent about cases or
    19 you -- did you -- let me back up.                         19 litigation involving talcum powder use and ovarian
    20           Did you ultimately bill any of the              20 cancer before being contacted by Dr. Thompson?
    21 time you spent doing that to the plaintiffs'              21      A.    It had been infrequent. I would --
    22 counsel after agreeing to serve as an expert              22 I would, you know, see this type of multidistrict
    23 witness?                                                  23 or multi-plaintiff litigation referred to the same
    24      A.    Certainly not.                                 24 way I'd seen other cases referred to. It didn't

                                                       Page 71                                                         Page 73
     1              DR. THOMPSON: Object to form.                 1 particularly attract my attention, but I certainly
     2              THE WITNESS: Certainly not.                   2 would read it. It was important.
     3      I, frankly, bill minimally for these                  3     Q.     And you mentioned the Daubert
     4      things.                                               4 ruling.
     5 BY MR. HEGARTY:                                            5           What other documents did you review
     6     Q.      And during this period of time, did            6 between the time you were contacted by
     7 you consider yourself as being a retained expert           7 Dr. Thompson and when you were -- you agreed to
     8 for the plaintiffs?                                        8 serve as an expert as you were doing this
     9              DR. THOMPSON: Object to form.                 9 evaluation yourself?
    10              THE WITNESS: I considered                    10     A.     That's the -- that's the document
    11      myself being asked to consider being an              11 that the plaintiffs' lawyers provided that I
    12      expert. I was -- this was in the context             12 remember at the moment.     I did not ask for or
    13      of being asked to serve as an expert.                13 receive any corporate or confidential documents.
    14              Did I consider myself already                14 And I think what I did with respect to the talc
    15      aligned with the plaintiffs' position?               15 litigation was more of the Google search of what
    16      Certainly not. I was making an                       16 might have happened recently and what I would see.
    17      independent decision.                                17           And then I thought it worth
    18 BY MR. HEGARTY:                                           18 reviewing the basics of -- of cosmetics regulation
    19     Q.      You mentioned that you requested the          19 again to refresh my understanding of how the
    20 Daubert ruling.                                           20 cosmetics piece fit in the larger FDA scheme.
    21            Had you heard of the Daubert ruling            21     Q.     And prior to being contacted by
    22 before being contacted by plaintiffs' counsel?            22 counsel for plaintiffs, Dr. Thompson, had you
    23     A.      Before being contacted by                     23 formed any opinions about with regard to
    24 Dr. Thompson, no. But in part of those                    24 litigation involving talcum powder use and




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     1 allegations of ovarian cancer?                         1 materials, additional sort of building my
     2     A.     No.                                         2 knowledge of the facts and circumstances.
     3     Q.     You were ultimately hired as an             3     Q.      Are you able to break down the hours
     4 expert witness in this case; is that correct?          4 that you have spent since your last invoice on how
     5     A.     Correct.                                    5 much time you spent preparing for this deposition?
     6     Q.     The lawyers for the plaintiffs paid         6     A.      Not off the top of my head. I do
     7 you to review materials and then offer opinions,       7 keep, you know, notes of -- of hours per day in a
     8 right?                                                 8 general sense of what I'm spending them on.     So,
     9     A.     Correct.                                    9 yes, I could -- I could break that out.
    10     Q.     Those opinions were ultimately set         10       Q.   Do you have --
    11 out in your July 2, 2020 -- 2021 MDL report; is       11       A.   I would think it should be the
    12 that correct?                                         12 majority of the 40 hours because this was the
    13     A.     Correct.                                   13 focal point, and we've rescheduled a little and
    14     Q.     And that is the report we marked as        14 it's, you know.
    15 Exhibit No. 1; is that right?                         15       Q.   Have you spoken with any of your
    16          I'm sorry, not Exhibit No. 1. Let            16 colleagues at work about your work on this case?
    17 me back up. I don't think I marked it.                17       A.   No.
    18     A.     I don't think you marked it yet            18       Q.   Have you told any of them -- any of
    19 either but I --                                       19 the colleagues that you have at work -- about your
    20     Q.     Yes. Let me go ahead and mark that.        20 opinions in this case?
    21     A.     I have a copy of it in front of me.        21       A.   No.
    22              MR. HEGARTY: So let me mark              22       Q.   Have you told any of the
    23      your July 2, 2021 MDL report as Exhibit          23 gynecologists and gynecologic oncologists at the
    24      No. 4.                                           24 University of Texas Dale Medical School of your

                                                   Page 75                                                     Page 77
     1              (Document marked for                      1 opinions?
     2      identification as Sage Exhibit 4.)                2     A.      No.
     3 BY MR. HEGARTY:                                        3     Q.      How about those same doctors at
     4     Q.     And would you confirm for me that           4 McGovern Medical School? Have you talked to
     5 Exhibit No. 4 is a copy of your July 2, 2021           5 them --
     6 expert report?                                         6     A.      Which is --
     7     A.     Yes, confirmed.                             7     Q.      -- about your opinions?
     8     Q.     And your invoice that we marked             8     A.      I'm sorry. You would have to remind
     9 previously sets out the hours you spent reviewing      9 me what McGovern Medical School is.
    10 materials in connection with your work to prepare     10     Q.      Okay. You don't know what that is?
    11 the report, correct?                                  11     A.      There -- there have been McGovern
    12     A.     Yes.                                       12 names involved in some of the University of Texas
    13     Q.     It also sets out the time you spent        13 areas, but I don't actually know.
    14 drafting the report, right?                           14     Q.      Well, let me ask in a broader sense.
    15     A.     Yes.                                       15           Have you spoken to any gynecologist
    16     Q.     And with regard to this deposition         16 or gynecologic oncologist at any UT healthcare
    17 that we're here today to do, how many -- how much     17 facilities about your opinions in this case?
    18 time did you spend preparing for this deposition?     18     A.      No.
    19     A.     Again, I think I -- when you asked         19     Q.      Have you told any doctors treating
    20 earlier about accrued but unbilled time, I said I     20 patients for ovarian cancer about your opinions in
    21 think there's about 40 hours, not including today,    21 this case?
    22 that have accrued between the filing of this          22     A.      No.
    23 report and now. That wasn't all preparation for       23     Q.      Have you told anyone at FDA about
    24 the deposition. It was additional review of           24 your opinions?




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     1     A.     Not yet, but I'm -- I haven't seen               1 of this housekeeping matter.
     2 people yet in DC, and should I see people, I will           2          You brought some materials with you
     3 be interested in discussing this with them.                 3 here today; is that correct?
     4     Q.     Do you currently have plans to                   4     A.    Yes.
     5 submit your report or otherwise communicate with            5     Q.    The notebook sitting in front of
     6 FDA about your opinions in this case?                       6 you?
     7     A.     I -- part of what I do routinely is              7     A.    Yes.
     8 work with government agencies, with legislators             8     Q.    Is that a notebook you put together?
     9 federal and state and, yes, I'm sufficiently                9     A.    No.
    10 concerned about some of the things that I've               10     Q.    Who put it together?
    11 reached conclusions about in connection with this          11     A.    The plaintiffs' lawyer.
    12 report that, yes, I intend to talk to people.              12     Q.    Did they put it together at your
    13           I suspect I more like to talk --                 13 direction?
    14 more likely to talk to Congressional staffers than         14     A.    I asked them to provide me with
    15 I am to FDA people because I think I'm more likely         15 things that would be helpful, as I haven't been
    16 to be in contact with those people.                        16 deposed in years.
    17     Q.     Have you communicated with anyone as            17     Q.    Could you walk me through what's in
    18 of today outside of plaintiffs' lawyers about your         18 the notebook?
    19 report?                                                    19     A.    Certainly.
    20     A.    No.                                              20          There's -- there's the notices of
    21     Q.    Have you discussed this litigation               21 deposition. There's the report with attachments.
    22 or your report with any other experts that have            22 My invoice was here. There's a separate copy of
    23 been identified by the plaintiffs in the MDL case?         23 my CV, though I noticed it was also attached to
    24     A.    No.                                              24 the report. There's the FDA's response to the two

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     1           I'm very interested in what the                   1 Citizen's Petitions from 2014.
                                                                                              There's some IARC
     2 defense experts might say with respect to my                2 material.
                                                                        There's some Health Canada material,
     3 opinions. So if those people exist, I'll look      3 and there's your client's submission to Health
     4 forward to reading what they -- what they think.   4 Canada. And then there's a little loose material.
     5             MR. HEGARTY: I'm going to              5      Q.     What is that loose material?
     6      mark as exhibit number -- I guess, before     6      A.     The loose material is the casebook
     7      I do that, do you want to take a break at     7 chapter on cosmetics that I cite in the report. I
     8      this point?                                   8 requested specifically the most recent Senate
     9             MS. THOMPSON: I was just               9 version of the Personal Care Product Safety Act
    10      thinking it's about time.                    10 bill that's been introduced.
    11             MR. HEGARTY: Yeah, let's take         11            There's the NCI informal statements
    12      a break.                                     12 on talc and ovarian cancer and there's a small
    13             DR. THOMPSON: It's a good             13 acronym glossary that I asked -- that I
    14      spot.                                        14 specifically asked for just to refresh my memory
    15             MR. HEGARTY: Yeah, it's a             15 about things like, you know, the Personal Care
    16      good spot. Let's go off the record.          16 Products Council and what things are called so
    17             (Recess: 9:21 a.m. -                  17 that I remember.
    18             9:35 a.m.).                           18            And then there's this FDA internal
    19             MR. HEGARTY: We're back on            19 review from 1998 that actually talks about the
    20      the record.                                  20 inadequacies of the CIR and actually raises
    21 BY MR. HEGARTY:                                   21 concerns about the safety of talc regarding
    22     Q.     Doctor, when we broke, I was going 22 ovarian cancer.
    23 to show you a portion of your -- let me back up   23      Q.     Can I see that document, please?
    24 before I do that. I want to make sure I take care 24      A.     Certainly.


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     1     Q.    It is a document Bates number                1 underlying science because I actually am capable
     2 PCPC058604 to 058654.                                  2 of reading the underlying science, and I wouldn't
     3           Is this a document you've read?              3 be comfortable with only having secondary sources
     4     A.     Yes.                                        4 on the underlying science.
     5     Q.     And then you mentioned a list of            5    Q.     With regard to this document we're
     6 acronyms.                                              6 looking at, Exhibit No. 5, did you prepare this?
     7           Is that something the lawyers for            7     A.      No, this was --
     8 the plaintiffs prepared for you?                       8     Q.      Who prepared it?
     9     A.     At my request very specifically.            9     A.      Probably Brianne with the
    10               MR. HEGARTY: Okay. Thank                10 plaintiffs' lawyers.
    11      you.                                             11     Q.      And with regard to the materials
    12               I mark next as Exhibit 5 a              12 that are listed in Exhibit No. 5, do you know how
    13      portion of your expert report.                   13 the plaintiffs' lawyers went about selecting these
    14               (Document marked for                    14 materials to send to you? What their methodology
    15      identification as Sage Exhibit 5.)               15 was?
    16 BY MR. HEGARTY:                                       16              DR. THOMPSON: Object to form.
    17     Q.     And feel free to refer to that or go       17              THE WITNESS: In many
    18 to your expert report where that part is.             18      instances, it was a specific request. I
    19           It is the document that you have or         19      requested a lot of the science. I
    20 the part of your report that has "Literature" at      20      requested a lot of the historical
    21 the top of it in the upper left-hand corner.          21      background for context for the science.
    22 Pages 1 through 18.                                   22              I was interested in certain
    23           And if you could look through that          23      types -- certain of the deposition
    24 document and tell me whether you have read all the    24      testimony. I was interested in
                                                   Page 83                                                     Page 85
     1 material that is listed in those pages.                1   legislative action.
     2      A.    All the material that was in these          2           I was very specifically
     3 pages was made available to me. I read word for     3      interested in the defendants' responses
     4 word certain items that I thought were relevant     4      in the defendants' case, and I repeatedly
     5 and important for my consideration. Other things    5      asked when we're considering particular
     6 I may have looked at part of. Other things I may    6      questions, you know, well, what would the
     7 have looked at by title.                            7      defense say on this?
     8          And when there were statements in my       8 BY MR. HEGARTY:
     9 report that required or benefited from having       9     Q.     You did receive some materials from
    10 cross-references to litigation documents, those    10 the plaintiffs' counsel that you did not
    11 would have been materials that plaintiffs' counsel 11 specifically request; is that correct?
    12 supplied for the footnoting, and some of those I   12     A.     Yes.
    13 would not have read.                               13     Q.     Do you know how as to those
    14      Q.    You said made available to you, are     14 materials the plaintiffs' lawyers went about
    15 all the materials that are contained in Exhibit    15 choosing what to send to you?
    16 No. 5 sent to you by counsel for the plaintiffs?   16     A.     No, I don't know.
    17      A.    There was a Dropbox account made        17     Q.     And with regard to the -- or let me
    18 available that I -- that I could access. Certain   18 back up.
    19 materials were also e-mailed to me. Usually        19           Do you understand the materials that
    20 things that I had either specifically asked for or 20 we're looking at listed in Exhibit No. 5 include
    21 came out of drafts through discussions.            21 expert reports and some expert depositions.
    22          I had certain things that I was very      22           Do you recall that?
    23 interested in in reviewing in detail. I tended to  23     A.     Yes.
    24 ask for those, and that included a lot of the      24     Q.     Are you aware that there are


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     1 hundreds more expert reports and depositions from        1 are some that go into the science and not the
     2 the litigation, the MDL litigation, that are not         2 regulatory issues, correct?
     3 on this list of materials?                               3    A.     Yes. I reviewed some science and I
     4     A.     I would assume that. I don't know             4 was particularly interested in regulatory
     5 that for a fact.                                         5 materials, especially deposition testimony, and I
     6     Q.     Do you understand that this list              6 was particularly interested in marketing-related
     7 only includes two reports from defense experts,          7 materials because that goes to the informational
     8 Dr. Weed and Dr. Anderson.                               8 environment and the informational obligations of a
     9           Do you understand that?                   9 cosmetics manufacturer.
    10     A.      I would have to go look through        10     Q.     But you did not request all the
    11 this; but, yes, I will take your word for that.    11 science reports and depositions of the defense
    12     Q.      Well, did you ask plaintiffs'          12 expert witnesses, correct?
    13 counsel to give you all the defense expert reports 13     A.     That is correct. I requested
    14 and depositions?                                   14 specifically what might be considered the key
    15     A.      I did not ask for all of the           15 scientific studies on both sides of the question,
    16 plaintiffs' and I did not ask for all of the       16 and I very emphatically requested both sides of
    17 defense. I asked for documents that would express 17 the question.
    18 key aspects of the defense positions.              18     Q.     Did you request the key scientific
    19     Q.      Well, you --                           19 opinions to the reports and depositions of all the
    20     A.      And I asked specifically for           20 witnesses, regardless on what side they are on?
    21 anything that might relate to -- to the regulatory 21     A.     I didn't request every opinion. I
    22 analysis, of course.                               22 was more interested in the underlying published
    23     Q.      But you would agree that you have      23 scientific literature, to the extent it existed,
    24 not done a comprehensive analysis of the expert    24 and deposition testimony that would supplement it

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     1 reports and depositions in the MDL, correct?             1 where you couldn't actually assess the science
     2             DR. THOMPSON: Object to form.                2 from what had been published.
     3             THE WITNESS: I think I                       3    Q.     In your expert report, you actually
     4     considered everything I needed to                    4 cite to a report by Drs. Longo and Rigler.
     5     consider to formulate my opinions.                   5          Do you recall that?
     6 BY MR. HEGARTY:                                          6     A.     I do recall that.
     7    Q.      How do you know you considered                7     Q.     Do you recall that that's the only
     8 everything you needed to consider if you don't           8 expert report that you specifically cite in the
     9 know what others have said in reports and                9 body of your written report?
    10 depositions that you don't have?                        10     A.     As -- as I recall, that is an expert
    11             DR. THOMPSON: Object to form.               11 report that relates to adulteration of talcum
    12             THE WITNESS: If there's a                   12 powder products with asbestos, and it was
    13     set of regulatory opinions from defense             13 sufficiently important to highlight in the body of
    14     experts, I would love to see them and I             14 the report.
    15     would be happy to take account of them in           15     Q.     Do you intend to rely on any other
    16     finalizing my views.                                16 expert report or deposition besides Drs. -- the
    17             My -- my understanding was                  17 report of Drs. Longo and Rigler cited in the body
    18     that -- having asked, was that there were           18 of your expert report?
    19     not defense expert reports specific to              19     A.     I consider --
    20     regulation at this at this juncture. If             20              DR. THOMPSON: Object to form.
    21     that's wrong, I'd love to know.                     21              THE WITNESS: I consider
    22 BY MR. HEGARTY:                                         22      everything. Given the nature of my
    23    Q.      Well, you understand that the                23      regulatory expertise and the fundamental
    24 reports and depositions included in Exhibit No. 5       24      opinions that I'm expressing, I think


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     1      it's really a question of the totality of       1      might -- might have.
     2      the evidence in front of me.                    2 BY MR. HEGARTY:
     3               I don't think there's any              3     Q.     My follow-up question to that,
     4      single material that that I rely on in          4 though, is:   You agree that you did not consider
     5      the sense if you're suggesting that my           5 every reference in Exhibit No. 5 as part of your
     6      opinions depend only on one particular           6 opinions in this case?
     7      report.                                          7    A.     I --
     8 BY MR. HEGARTY:                                       8             DR. THOMPSON: Object to form.
     9     Q.      Well, there what I want to try to         9             THE WITNESS: I considered
    10 find out is if you see a distinction between what    10     the materials. Did I consider every
    11 you considered and what you relied upon.             11     sentence of material that I did not read
    12     A.      I considered.                            12     every sentence of? Of course not.
    13               DR. THOMPSON: Object to form.          13 BY MR. HEGARTY:
    14               THE WITNESS: My -- it's been           14    Q.     And there are materials in this
    15      an education to me to learn how these           15 exhibit that you did not read at all, correct?
    16      terms are used in this type of                  16             DR. THOMPSON: Object to form.
    17      proceeding.                                     17             THE WITNESS: There are
    18               I think one expresses the fact         18     materials in this exhibit that I would
    19      of the matter and how I think about it is       19     have looked at the title of, and that
    20      that I request a lot of material. I'm           20     perhaps when I had conversations with the
    21      provided a lot of material. I consider          21     plaintiffs' lawyers about what were the
    22      everything that I'm provided.                   22     key scientific studies on each side,
    23               I don't feel that any piece of         23     didn't fall in that category; and,
    24      my opinion is driven by reliance on one         24     therefore, although they were available,
                                                  Page 91                                                Page 93
     1      or a small number of documents.                 1    no, I did not read them.
     2              Where I tend to think about           2 BY MR. HEGARTY:
     3      the term "reliance" is that I'm not           3     Q.     And you agree you cannot consider
     4      formulating independent scientific            4 something for your opinions that you didn't read,
     5      conclusions; and so if we're talking          5 correct?
     6      about scientific judgments, then I'm          6              DR. THOMPSON: Object to form.
     7      relying on either the published               7              THE WITNESS: I don't agree
     8      literature or the opinions of the             8      with that. I mean, I consider universe
     9      scientific experts for those opinions.        9      of materials. Some things may or may not
    10 BY MR. HEGARTY:                                   10      be relevant, and some things may or may
    11     Q.      You mentioned, though, that you take  11      not be duplicative.
    12 into account everything that you considered, but 12               They're made available to me
    13 you would agree, though, that with regard to      13      and because they're made available to me,
    14 Exhibit No. 5, you did not read all the materials 14      my understanding is they're disclosed to
    15 in Exhibit No. 5, correct?                        15      you, and that's the universe we're
    16              DR. THOMPSON: Object to form. 16             discussing.
    17              THE WITNESS: I think you             17 BY MR. HEGARTY:
    18      asked me this before, and I think I          18     Q.     Do you know the names of the
    19      explained that things were made available    19 plaintiffs in the cases selected for trial in the
    20      and I looked at everything and decided       20 MDL?
    21      what needed to be read in what detail.       21     A.     I do not know them. So in the MDL,
    22              And I actually think I pursued       22 I don't think I know them at all.
    23      the detail and a lot more of the science     23     Q.     Do you know anything about them,
    24      than another nonscientific expert            24 where they live, what their diagnoses were, things




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     1 like that?                                                   1     Q.     When is the last time you practiced
     2     A.       I know that they -- I know that at              2 law?
     3 least some of them would have serous ovarian                 3     A.     The last time I practiced law would
     4 carcinomas.     I don't know anything more about             4 have been when I was working at O'Melveny and
     5 them.                                                        5 Myers.
     6     Q.       How do you know that some of them               6     Q.     When was the last time you practiced
     7 had serous invasive carcinoma?                               7 medicine?
     8      A.     I didn't say "invasive." I just                  8     A.     Again, the last time I practiced
     9 said "ovarian," but just in the sense that I know            9 medicine as a -- as a functional manner last time
    10 that that's the form of ovarian cancer that's most          10 I cared for a patient in a structured clinical
    11 at issue in terms of causation.                             11 environment would have been when I was a resident
    12      Q.     Do you have any knowledge of each of            12 at Johns Hopkins.   However, I do have an active a
    13 the plaintiffs who have been selected for trial             13 Texas medical license, and I am legally entitled
    14 use of baby powder?                                         14 to practice medicine in Texas.
    15      A.     No, I do not.                                   15             MR. HEGARTY: I'll mark as the
    16      Q.     Do you have any knowledge of any                16     next exhibit, which is Exhibit No. 6, the
    17 tissue analysis conducted for each of the                   17     notice for your deposition here today.
    18 plaintiffs selected for trial in the MDL?                   18             (Document marked for
    19      A.     No, I do not.                                   19     identification as Sage Exhibit 6.)
    20      Q.     As an expert in this case, you do               20 BY MR. HEGARTY:
    21 not represent the University of Texas, correct?             21    Q.     And, Dr. Sage, have you seen this
    22      A.     Correct.                                        22 document before right now?
    23      Q.     You don't speak for the University              23    A.     I think I saw it briefly via e-mail.
    24 of Texas, correct?                                          24    Q.     Would you turn over to page 3.
                                                         Page 95                                                       Page 97
     1     A.    Correct.                                           1 Starting on page 3, there's a list of 18
     2     Q.    You're not speaking in this case for               2 paragraphs that carry over to page 9.
     3 any regulatory group or agency, correct?                     3          Do you see that --
     4     A.    Correct.                                           4     A.    Yeah.
     5     Q.    You're not speaking for any law or                 5     Q.    -- that list?
     6 legal group, correct?                                        6          Have you read through those
     7     A.    I'm speaking for myself, expressing                7 paragraphs before right now?
     8 my own opinions. (Laugh).                                    8     A.    No.
     9     Q.    Right.                                             9     Q.    Is that something that we can have
    10          You're speaking in this case solely                10 you read at a break, and then I'll ask you some
    11 for yourself, correct?                                      11 questions about it as opposed to taking time on
    12             DR. THOMPSON: Object to form.                   12 the record to -- to read?
    13             THE WITNESS: Yes.                               13     A.    It's up to you, whichever is more
    14 BY MR. HEGARTY:                                             14 convenient.
    15     Q.    And all the opinions in your report               15             MR. HEGARTY: Is that okay
    16 are your subjective opinions, correct?                      16      with you, Dr. Thompson?
    17             DR. THOMPSON: Object to form.                   17             DR. THOMPSON: That's fine.
    18             THE WITNESS: They're my                         18 BY MR. HEGARTY:
    19      professional opinions.                                 19     Q.    Okay. Would you put that aside and
    20 BY MR. HEGARTY:                                             20 we'll come back to that document.
    21     Q.    Okay. Are you licensed to practice                21     A.    Okay.
    22 law?                                                        22     Q.    With regard to the expert report
    23     A.    I am an inactive member of the                    23 that you prepared, Exhibit No. 4, have you sent
    24 California and District of Columbia bars.                   24 that report to anyone besides counsel for the




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     1 plaintiffs and, of course, them perhaps to the         1   expressed, but these are the opinions.
     2 defense counsel?                                       2 BY MR. HEGARTY:
     3      A.     No. My assumption was that this was     3      Q.    That's fair.
     4 not material to be shared.                          4           But prior to coming in here today,
     5      Q.     Do you have any drafts of this          5 you understood that your opinions and on what you
     6 report?                                             6 rely for those opinions was to be set out within
     7      A.     There's always versions that            7 the four corners of your July 2, 2021 report?
     8 constitute drafts in the way that documents are     8      A.    Yes.
     9 evolved electronically these days, but there would  9             DR. THOMPSON: Object to form.
    10 be versions I'm sure.                              10 BY MR. HEGARTY:
    11      Q.     And the reason I ask it that way is    11      Q.    So at least coming in here today,
    12 sometimes you'll have a report that then is        12 all the opinions that you intend to offer in this
    13 drafted and is never changed -- it changes, but    13 case are those set out in your report, correct?
    14 the original version doesn't exist.                14      A.    Correct.
    15           Do you have any drafts that you          15             DR. THOMPSON: Object to form.
    16 think still exist?                                 16 BY MR. HEGARTY:
    17      A.     Of an earlier version?                 17      Q.    And, likewise, all the materials on
    18      Q.     Version.                               18 which you intend to rely coming in here today were
    19      A.     Again, I'm really not sure how to      19 those referenced in your report, correct?
    20 answer that. I, you know, I write hundreds of      20             DR. THOMPSON: Object to form.
    21 things that end up published, and I don't know if  21             THE WITNESS: All the -- all
    22 I even know my method for writing stuff anymore. 22        the materials that I considered in
    23 It just happens.                                   23      generating the report are -- I don't know
    24      Q.     The report we marked as Exhibit        24      what I'm supposed to say, you know -- are
                                                    Page 99                                                Page 101
     1 No. 4 defines the scope of your testimony in this      1   contained in the report or provided to
     2 case, correct?                                         2   you as they're supposed to be provided.
     3     A.      Correct.                                3              I really don't know how this
     4              DR. THOMPSON: Object to form.          4      works well enough, and I haven't done
     5              THE WITNESS: The report                5      this before. So I'm not sure I
     6      includes my opinions, and they're the          6      understand all the terminology.
     7      opinions I would plan to offer.                7              I'm, of course, as a lawyer,
     8 BY MR. HEGARTY:                                     8      you know, careful and want to comply with
     9     Q.      As a lawyer, you understand that        9      all requirements.
    10 this report is supposed to be your testimony as if 10 BY MR. HEGARTY:
    11 you're on the stand before a judge and a jury,     11     Q.     With regard to the substance of your
    12 right?                                             12 report, except where you have used quotations, is
    13     A.      Yes.                                   13 it your testimony that all the sentences in your
    14     Q.      You understand that your opinions on   14 report are your own words and not copied from
    15 what you rely -- the opinions and what you rely    15 others?
    16 upon are supposed to be within the four corners of 16     A.     I'm --
    17 this document, right?                              17              DR. THOMPSON: Object to form.
    18              DR. THOMPSON: Object to form.         18              THE WITNESS: So to the best
    19              THE WITNESS: I understand             19      of my knowledge, everything in the report
    20      that I might generate an opinion based on     20      that is not in quotation or could be
    21      our conversation today. I understand          21      understood as -- as an expression of
    22      that you might provide me with additional     22      something in something that's immediately
    23      material that would cause me to               23      cited, that's all original work.
    24      supplement or modify an opinion I've          24              The same -- I do this report


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     1      the same way I would do any other                 1      when, I cite and I'd be happy to share
     2      writing, you know, which includes having          2      them with you if you want but...
     3      materials drawn from various sources,             3 BY MR. HEGARTY:
     4      working with those, you know, rewriting           4     Q.     Well, for purposes of your report,
     5      things, re-expressing things.                     5 whenever you did discuss, summarize, or paraphrase
     6              There's -- what I can say with            6 the work of others, did you include a cite to that
     7      confidence is, there's not a, you know,           7 work by others?
     8      there's not a sentence or a phrase in             8              DR. THOMPSON: Object to form.
     9      this report that I haven't had my                 9              THE WITNESS: I suspect not
    10      author's fingerprints on.                        10      universally, but, again, that wouldn't be
    11 BY MR. HEGARTY:                                       11      the standards that one would apply to a
    12     Q.     So you know that as an author that         12      lot of report writing. If you want my
    13 the obligation is to properly cite material to        13      personal standards for citation, I'll be
    14 which you are relying or referencing, correct?        14      happy to share them.
    15              DR. THOMPSON: Object to form.            15 BY MR. HEGARTY:
    16              THE WITNESS: I think I am                16     Q.     The report -- well, let me go back
    17      experienced with standards for                   17 to Exhibit No. B -- I'm sorry -- Exhibit No. 5.
    18      publication.                                     18           This is the --
    19 BY MR. HEGARTY:                                       19     A.     Yes.
    20     Q.     And the obligations require that           20     Q.     -- list of literature, and if you
    21 when you discuss, summarize, or paraphrase others     21 look over at page 8, there starts a number of
    22 that you include a citation to those others' work,    22 pages that include deposition and hearing
    23 correct?                                              23 transcripts.
    24              DR. THOMPSON: Object to form.            24           Do you see that?
                                                  Page 103                                                Page 105
     1              THE WITNESS: I think that                 1A.      Yes.
     2      depends very much on the context and the     2     Q.      Did you read all of the depositions
     3      context in, say, an academic publication     3 and hearing transcripts listed there in their
     4      or a student dissertation might be           4 entirety?
     5      somewhat different than in an internal       5     A.      Of course not. I was astonished to
     6      law firm memo, and the standards for         6 realize how long these depositions are. I did
     7      citation that apply to an expert report      7 read several.
     8      are not something I have much familiarity    8     Q.      Do you recall sitting today which
     9      with, beyond the general standards I         9 ones you read in their entirety?
    10      would apply to my work.                     10     A.      I don't recall sitting here. I
    11 BY MR. HEGARTY:                                  11 could tell you some familiar names such as the --
    12     Q.     But did you write your expert report 12 I mean, I know I read in its entirety over the
    13 in a method different than what you have written 13 course of several deposition days the deposition
    14 published articles?                              14 testimony of Kathleen Wille. I know I read some
    15              DR. THOMPSON: Object to form. 15 of, I think, a Susan Nicholson deposition.
    16              THE WITNESS: I wrote -- I           16           I know I read Koberna, which had to
    17      wrote it the same way I would write         17 do with marketing. And I remember reading every
    18      something, but the standards for            18 word of a couple of the plaintiffs' experts, but
    19      citation, for example, vary -- vary         19 that was early in my work on the case, and I don't
    20      differently between, say, a law review      20 really remember the details.
    21      article and a medical journal publication   21     Q.      If you look over at page 10 above
    22      or health policy. There's no single         22 the section Other Sources, there are some trial
    23      standard for what you cite and when.        23 transcripts from a case referred to as Ristesund
    24              I have my own standards for         24 versus Johnson & Johnson.




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     1           Do you see that?                             1 are listed in these pages?
     2      A.     I do.                                      2    A.      Certainly.
     3      Q.     Did you read the transcripts from          3    Q.      Do you know of their methodology for
     4 the Ristesund trial that are referenced in this        4 how they selected those documents to send to you?
     5 exhibit?                                               5             DR. THOMPSON: Object to form.
     6      A.     Things here were made available to         6             THE WITNESS: Again, I'm --
     7 me. I -- I recall reading some PowerPoints in          7     I'm struggling with what you're trying to
     8 different connections in different points in what      8     ask me. Because it seems like to me --
     9 I was reviewing. I can't recall whether I read         9     it seems to me as if the litigators on
    10 this particular transcript in any -- any detail.      10     both sides of a case like this understand
    11      Q.     Are you aware that there have been        11     a whole lot more about how the material
    12 more than 10 trials involving claims of use of        12     and references get generated in
    13 Johnson's Baby Powder and ovarian cancer?             13     litigation than I do.
    14      A.     I'm aware there have been several         14 BY MR. HEGARTY:
    15 trials and there are trials -- and there are          15    Q.      Let me ask it in a different way.
    16 trials ongoing. I don't mentally separate the         16          Do you know how they went about
    17 state trials from the MDL trials. Again, I            17 choosing which Bates-numbered documents to send to
    18 approach this as a regulatory expert. I don't         18 you, other than those you may have asked for?
    19 approach this as a litigator.                         19             DR. THOMPSON: Object to form.
    20      Q.     Did you ask to see the trial              20             THE WITNESS: No, I don't.
    21 transcripts in all the cases that have been tried?    21 BY MR. HEGARTY:
    22      A.     No.                                       22    Q.      And do you recall asking plaintiffs'
    23      Q.     Did you read all of the                   23 counsel for any specific internal company
    24 Bates-numbered documents that begin on page 12 and    24 documents?

                                                  Page 107                                                         Page 109
     1 carry over to page 17 -- I'm sorry -- page 18?         1     A.      I was -- by -- by document
     2     A.      No, certainly not.                         2 identification, no, because I wouldn't know what
     3     Q.      Did you select -- did you select or        3 the documents were.     I was very interested in
     4 ask for any of the Bates-numbered documents that       4 documents that would relate to your client's
     5 are referenced on these pages?                         5 understanding of its regulatory obligations.     I
     6               DR. THOMPSON: Object to form.            6 was very interested in documents that would relate
     7               THE WITNESS: I don't know --             7 to your client's approach to its informational
     8      I don't know the answer to that.                  8 environment for consumers, which gets into the
     9               I approach -- I approach this            9 marketing and advertising space.
    10      the way I would approach any regulatory          10          I was very interested in your
    11      investigation, any analytic project.             11 client's documents that reflected your client's
    12      It's a slightly different set of citation        12 best understanding of the relevant science.
    13      practices than what one might have in law        13 Beyond that, you know, the references are provided
    14      review, which, as I've said, is also very        14 for this document, I am certainly hoping and
    15      different from one would have in the             15 assuming, in compliance with law and beyond, but
    16      medical or health policy literature,             16 that doesn't really go to the heart of my
    17      which is different from what one might           17 opinions.
    18      have in a national academy's report; and,        18     Q.      As far as the subject areas that you
    19      you know, I relied on plaintiffs' counsel        19 just referenced in your answer to my last
    20      to understand what the requirements and          20 question, did you ask plaintiffs' counsel for all
    21      norms of this type of a report were.             21 the documents that Johnson & Johnson had produced
    22 BY MR. HEGARTY:                                       22 on those subject areas?
    23     Q.      Did plaintiffs' counsel select at         23              DR. THOMPSON: Object to form.
    24 least some of the Bates-numbered documents that       24              THE WITNESS: No. I would



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     1      assume that the all -- that asking for          1 materials that were provided to you, correct?
     2      all of anything in this type of                 2     A.      I made very specific requests of
     3      litigation would take me years to review.       3 plaintiffs' counsel, and I made very clear that I
     4      I asked for things that seemed relevant         4 wanted material on both sides of every question
     5      and important and that were balanced and        5 and evaluated that.
     6      reflected arguments on both sides.              6     Q.      What did you do to confirm that you
     7 BY MR. HEGARTY:                                      7 got material on both sides of the -- of a
     8     Q.       Well, if you didn't ask for all of      8 question?
     9 the documents relating to the subject areas you      9            DR. THOMPSON: Object to form.
    10 described, how do you know if you got all the       10            THE WITNESS: Well, for
    11 relevant documents on those subject areas?          11     example, you know, I spent a good amount
    12               DR. THOMPSON: Object to form.         12     of time going through Johnson & Johnson's
    13               THE WITNESS: How? (Laugh).            13     submission to Health Canada, which
    14      It's -- it's interesting to be asked           14     clearly included all of the relevant
    15      these questions because, you know, one is      15     science and the counterarguments to
    16      reconstructing how one does research in        16     science establishing a causal connection
    17      pretty much anything.                          17     between perineal talc exposure and
    18               You know, what I -- what I did        18     ovarian cancer.
    19      is, it's a -- it's an iterative process        19            I mean, I felt like that was a
    20      as it would be for you evaluating a case.      20     pretty good reflection of what the
    21      You look at the different pieces of -- of      21     defense would offer on the scientific
    22      the case. You look at different                22     side.
    23      arguments and different counterarguments       23            On the regulatory side on the
    24      and the underlying facts. And if you           24     marketing side, there seemed to be less
                                                Page 111                                                  Page 113
     1     feel like you have a sense of each of            1    material of it, and I did my best to
     2     what you consider the material issues,         2      assemble what there was and I asked
     3     you stop.                                      3      repeatedly to see if there was anything
     4              You know, if you feel like you        4      more.
     5     have a one-sided view of five of the           5 BY MR. HEGARTY:
     6     issues, then you investigate until you         6     Q.    You mentioned a submission to Health
     7     get the other side of those five issues.       7 Canada. You said you have it in front of you.
     8     And if you think you have a piece of           8          What's the date of that submission?
     9     information you just -- that's just            9     A.    I have to go back to see.
    10     missing, you pursue that.                     10          (Reviews document.)
    11              I mean, you don't -- I've            11     Q.    Well, let me ask it different.
    12     never ever started any project as a           12          Is there a beginning Bates number on
    13     lawyer, as a physician, as a researcher       13 it?
    14     as a professor where I say, give me           14     A.    Well, so -- so this -- so this
    15     everything. That's -- that's discovery,       15 comprehensive review document that comes from
    16     not the way I do an expert report.            16 Johnson & Johnson Consumer, Inc. said its current
    17 BY MR. HEGARTY:                                   17 as of March 17, 2020, and the Bates number is
    18     Q.      Well, that said, I mean, I have to    18 P-1851.
    19 disagree that I -- that you approach it the way I 19     Q.    Through what?
    20 would approach it, which you said in your answer. 20     A.    Oh, I'm sorry. That's the exhibit
    21 Because I would not approach it the way that you  21 number.
    22 approached it.                                    22     Q.    What's the beginning number?
    23           You do agree that you relied on the     23     A.    I'm sorry.
    24 plaintiffs' counsel as far as some of the         24     Q.    What's the beginning Bates number?


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     1     A.      Sorry. You're speaking litigator             1
                                                                A.    Certainly.
     2 language.                                                2
                                                                Q.    Did you read the entirety of all the
     3      Q.     Okay.                                 3 medical and scientific studies referenced in
     4      A.     Page 1 of 4,528. It's a long          4 Exhibit No. 5?
     5 document containing a lot of assessments and      5      A.    No, but I read probably between 10
     6 scientific references. I'm happy to hand -- hand  6 and 20 scientific studies in their entirety.
     7 it to you if you can.                             7      Q.    With regard to the scientific
     8      Q.     Yeah, I'll take a look at it.         8 studies that are listed in Exhibit No. 5, were all
     9            There is --                            9 of those provided to you by counsel for the
    10      A.     Oh, some -- yeah, I still don't know 10 plaintiffs?
    11 what you're --                                   11             DR. THOMPSON: Object to form.
    12              DR. THOMPSON: May I point?          12             THE WITNESS: In other words,
    13              MR. HEGARTY: Sure.                  13      did anyone else provide them or did I
    14              DR. THOMPSON: He's asking for 14            find them on my own?
    15       the beginning Bates number.                15 BY MR. HEGARTY:
    16              THE WITNESS: Okay. That's           16      Q.    Correct.
    17       now -- now it's an eye test. All right.    17      A.    They were all provided by counsel
    18       So it ends 485273 and it goes through      18 for the plaintiffs.
    19       485527.                                    19      Q.    So the follow-up question is: Did
    20 BY MR. HEGARTY:                                  20 you find from your own independent review any
    21      Q.     What does it say on the top of the   21 medical literature, scientific or medical
    22 very first page?                                 22 literature?
    23      A.     Top?                                 23             DR. THOMPSON: Object to form.
    24      Q.     What is the title?                   24             THE WITNESS: Interesting
                                                    Page 115                                                 Page 117
     1    A.     "Attachment B Johnson's Baby Talcum            1      question.
     2 Powder: A Comprehensive Review 17 March 2020."           2               I'm not sure I recall. I
     3    Q.      Okay. Thank you.                              3      think it's -- it's fair to say that the
     4           There are Bates numbers in -- well,            4      vast majority of scientific sources were
     5 go back to Exhibit B, Doctor. This is this               5      provided by counsel for the plaintiff, or
     6 (indicates).                                             6      were referenced or described in material
     7     A.     Yes.                                          7      that was made available, such as Johnson
     8     Q.     List of materials.                            8      & Johnson's Health Canada submission.
     9           Do you still have that exhibit in              9               It is possible I surfaced one
    10 front of you?                                           10      or two things on my own as I looked
    11     A.     I do.                                        11      around.
    12     Q.     If you look at page 18, the very             12 BY MR. HEGARTY:
    13 last page of that set of materials, there's some        13      Q.     Did you do any type of PubMed or
    14 Bates number documents at the end listed WCD.           14 other search vehicle that doctors use to -- to
    15           Do you know who produced those                15 search across the medical and scientific
    16 documents?                                              16 literature as part of your work on this case?
    17     A.     No.                                          17      A.     I did not do a PubMed search.
    18     Q.     Do you know if you read those                18      Q.     You said the materials that
    19 documents?                                              19 plaintiffs' counsel provided to you were all sent
    20     A.     Not without looking at documents.            20 via Dropbox?
    21     Q.     There are a number of medical and            21      A.     They were all made available in
    22 scientific studies that are included in this list       22 Dropbox and some of them were probably sent as
    23 of material.                                            23 e-mail attachments, but those would duplicate what
    24           Do you see that?                              24 was in the Dropbox.




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     1     Q.    On page 2 of your report.                    1 something that was referenced in -- in some,
     2     A.    Report or the references?                    2 though not all, of the reports.   It is the -- it
     3     Q.    The report. Now we're back to the            3 is the type of, you know, causation algorithm that
     4 report, which is Exhibit No. 4.                        4 would be familiar in a lot of settings.
     5          In the Methodology section, page or           5          In my work, I tend not to be. My
     6 paragraph 9, you say that you were asked to answer     6 expertise is, again, an expertise that involves a
     7 the following questions, and you list two              7 lot of connections and a lot of considerations and
     8 questions there in that paragraph, right?              8 a lot of history.   Nothing I do requires following
     9     A.    Yes.                                         9 an algorithm.
    10     Q.    Who asked you to answer those               10     Q.     You did not do a Bradford Hill
    11 questions?                                            11 analysis with regard to talcum powder use and
    12     A.    The -- I worked with the plaintiffs'        12 ovarian cancer, right?
    13 counsel to formulate the questions that I would       13     A.     I did not. I did read references in
    14 answer in my opinion.                                 14 some of the material to Bradford Hill criteria
    15     Q.    You state as well in that paragraph         15 and -- and ovarian cancer and talc.
    16 that you were not asked to provide an opinion on      16     Q.     You did not do a formal risk
    17 whether talc causes -- talcum powder products         17 assessment with regard to talcum powder use and
    18 cause cancer, correct?                                18 ovarian cancer, correct?
    19     A.    Correct.                                    19     A.    I certainly didn't do a formal risk
    20     Q.    In this case, you are not offering          20 assessment.   I read a lot of risk assessment
    21 opinions on causation, correct?                       21 material here.
    22     A.    I am not offering my independent            22     Q.    You did not do any type of Bradford
    23 professional assessment of causation. I am making     23 Hill analysis or formal risk assessment with
    24 supportable inferences about causation and risk       24 regard to asbestos and ovarian cancer, correct?

                                                  Page 119                                                          Page 121
     1 and uncertainty based on other expertise from          1        DR. THOMPSON: Object to form.
     2 other individuals.                                     2        THE WITNESS: With respect to
     3      Q.     And you have not done your own       3      asbestos and cancer, the -- the causation
     4 assessment of the medical and scientific         4      analysis is from a policy perspective
     5 literature as to whether talcum powder products  5      already definitive. There's no reason to
     6 can cause ovarian cancer, correct?               6      do that.
     7               DR. THOMPSON: Object to form.      7 BY MR. HEGARTY:
     8               THE WITNESS: I have. I have        8     Q.     You did not do it?
     9      done what I would consider to be a first    9     A.     Did not. No need.
    10      pass review of the scientific literature   10     Q.     You also did not do a Bradford Hill
    11      that would be appropriate for, say,        11 or risk assessment   analysis with regard to heavy
    12      writing a solid article in the peer        12 metals and ovarian cancer, correct?
    13      literature -- peer-reviewed literature     13     A.     That's correct.
    14      about the regulatory requirements at       14     Q.     You didn't do a Bradford Hill or
    15      issue here.                                15 risk assessment analysis with regard to fragrances
    16               I would be perfectly              16 and cancer risk, correct?
    17      comfortable taking, you know, salient      17     A.     I don't believe there's actually
    18      points from my report and basing a         18 enough information in existence regarding the
    19      peer-reviewed article on that.             19 fragrances in these particular products for anyone
    20 BY MR. HEGARTY:                                 20 to do that analysis.
    21      Q.     Do you know what a Bradford Hill    21     Q.     You did not do any type of Bradford
    22 analysis is?                                    22 Hill or risk assessment analysis with regard to
    23      A.     I do know. It wasn't something -- I 23 fibrous talc and ovarian cancer, correct?
    24 can't recite each of the criteria. It was       24     A.     Again, fibrous talc is treated on a


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     1 par with asbestos in enough of the material that I   1         The information that I take
     2 read that I would give the same answer as for        2 out of all of this material, you know,
     3 asbestos.                                       3      actually involves context that may not be
     4     Q.    Okay. Did you assume for purposes     4      similar to the context in, say, a
     5 of your report that talcum powder use causes    5      particular causation report.
     6 ovarian cancer?                                 6 BY MR. HEGARTY:
     7             DR. THOMPSON: Object to form.       7      Q.     You agree that you have not reviewed
     8             THE WITNESS: Did I assume           8 all of the defense expert reports as it relates to
     9     that talcum powder use causes ovarian       9 talcum powder use and ovarian cancer?
    10     cancer? Certainly not. It's talcum         10      A.     Correct.
    11     powder use, you know, that's a very        11      Q.     You agree that before someone
    12     general phrase. I could use talcum         12 testifies in court that talcum powder causes
    13     powder, you know, in many ways. Women 13 ovarian cancer, they should have done a
    14     could use talcum powder in many ways and, 14 comprehensive analysis of all the medical and
    15     you know, I would have no basis for that   15 scientific literature on the issue, correct?
    16     assumption.                                16              DR. THOMPSON: Object to form.
    17             That's different from talking      17              THE WITNESS: I don't know
    18     about what's at issue in this case, which  18      the answer to that because I have not
    19     are specific applications and specific     19      been asked to testify in court as to
    20     ways over specific periods of time with    20      whether talcum powder causes ovarian
    21     specific products whose contents are not   21      cancer.
    22     well-established.                          22 BY MR. HEGARTY:
    23 BY MR. HEGARTY:                                23      Q.     You certainly didn't do a
    24     Q.    Well, did you assume for purposes of 24 comprehensive analysis of all the medical and
                                                 Page 123                                                Page 125
     1 your report that any manner of talcum powder use     1 scientific literature on talcum powder use and
     2 can cause ovarian cancer?                            2 ovarian cancer, correct?
     3            DR. THOMPSON: Object to form.             3               DR. THOMPSON: Object to form.
     4            THE WITNESS: I did not make               4               THE WITNESS: I feel that I
     5     the assumption. I relied on the                   5      did a sufficient review of the scientific
     6     scientific conclusions of scientific              6      literature on which to base my opinions,
     7     experts' published literature. I                  7      and I actually -- actually feel quite
     8     evaluated the confidence intervals, the           8      strongly about this. Because it's one of
     9     risks associated, the scientific design           9      the things that, given the preparation of
    10     for the science, but also the assessments        10      this report, I made sure I could do, and
    11     of other umbrella bodies that have done          11      I feel I have the scientific and medical
    12     some type of systematic review for               12      background to understand that.
    13     whatever their own purposes are.                 13              So I actually made a very
    14            Understand that my expertise              14      specific effort to consider the
    15     fundamentally situates each one of these         15      underlying science here.
    16     documents in a context, and it's the             16 BY MR. HEGARTY:
    17     context that collectively forms the basis        17     Q.      You agree you have not analyzed all
    18     for my opinion.                                  18 the animal studies on talcum powder use and
    19            You know, what year, for what             19 ovarian cancer, correct?
    20     purpose, by what organization, subject to        20              DR. THOMPSON: Object to form.
    21     what types of business constraints, what         21              THE WITNESS: I agree.
    22     types of political considerations, what          22 BY MR. HEGARTY:
    23     types of resource constraints, that's            23     Q.      You have not looked at all the cell
    24     what I do.                                       24 studies on talcum powder use and ovarian cancer,




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     1 correct?                                               1 ovarian cancer, correct?
     2              DR. THOMPSON: Object to form.             2               DR. THOMPSON: Object to form.
     3              THE WITNESS: Again, if                    3               THE WITNESS: That I read all
     4      you're building the number of things I            4      the cell studies. Again, I really find
     5      haven't looked at, I don't really know            5      it's hard to answer questions where I
     6      what the denominator is here.                     6      don't know the denominator, but I'm happy
     7              If, for example, there were               7      to agree with you that there are many
     8      two animal studies that were major animal         8      things that have been studied that might
     9      studies and that's all the animal studies         9      be plausibly related to these questions
    10      there were, chances are I asked for them,        10      that have been published in scientific
    11      I received them, and I looked at them.           11      literature that I have not. But that
    12              So if you're giving me                   12      would be true of literally any question
    13      denominators, you know, where that's             13      you could ask me on any topic.
    14      greater than 10 such studies, I will be          14 BY MR. HEGARTY:
    15      happy to agree that I didn't review all          15      Q.      Well, let me ask it a different way.
    16      of them; but if the denominator on some          16            You didn't go out and try to find
    17      of this is there were three studies,             17 all the cell studies on talcum powder use and
    18      possibly I did.                                  18 ovarian study, correct?
    19 BY MR. HEGARTY:                                       19      A.      Correct. I do have to reinforce
    20     Q.     Let me ask it a different way.             20 that I understand the difference between the
    21           If you reviewed the submission that         21 questions you're asking and the information I'm
    22 Johnson & Johnson made to Health Canada that we       22 trying to provide.
    23 talked about earlier that are in your notebook,       23            I made a very serious effort to
    24 you know that there are hundreds of animal cell       24 consider the best available science on both sides

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     1 and epidemiologic studies cited in that document,      1 and to consider it over time.
     2 correct?                                               2     Q.      You didn't try to go out and make
     3               DR. THOMPSON: Object to form.            3 sure you had found and read all the epidemiologic
     4               THE WITNESS: I would want                4 studies on talcum powder use and ovarian cancer,
     5      to -- as I would for anything, I would            5 correct?
     6      want to review the document. There were           6     A.      The epidemiological studies, we --
     7      many studies cited. How relevant they             7 we can certainly go into particular studies; but,
     8      are to the questions Health Canada was            8 again, I find it very hard to answer these --
     9      considering is a matter of debate.                9 these denominator questions.      There tend to be a
    10 BY MR. HEGARTY:                                       10 small number of case-controlled studies, a small
    11     Q.      Did you read the entirety of that         11 number of cohort studies.
    12 document?                                             12            There's a whole bunch of
    13     A.      I read everything in that -- in the       13 differences, as you well know, between studies
    14 pages that, you know, I have here. I read             14 that are looking at sort of pathways to ovarian
    15 everything that was text that I could decipher.       15 cancer development.      Each of the things in terms
    16 There's a lot of things that are in tabular or        16 of inflammation, in terms of migration, in terms
    17 supplemental fashion; and, no, I did not read         17 of deep embeddedness of talc in ovaries.
    18 those things.                                         18            There's all sorts of things that
    19     Q.      You agree, though, that you did not       19 anyone with, you know, a basic expertise in
    20 read all of the studies that are cited in that        20 medicine or science will be able to step you
    21 document?                                             21 through; and each one of these is going to be
    22     A.      I'm sure that's the case.                 22 established scientifically over time, often for
    23     Q.      And you can't say sitting here today      23 reasons that are not reasons that are about
    24 that you read all the cell studies on talc and        24 Johnson & Johnson baby powder and ovarian cancer,




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     1 and all of these, you know, collectively inform        1 an article where you've cited to internal company
     2 scientific judgments.                                  2 documents?
     3           So I'm happy to make any study you        3      A.    I don't. I would have to go back
     4 want to offer me. Please show me a study that you 4 and review articles, but there wouldn't have been
     5 think would be relevant to my conclusions; but at   5 internal company documents that were made directly
     6 the end of the day, remember I'm not offering a     6 available to me on a confidential basis. They
     7 scientific opinion on causation of ovarian cancer   7 would have been internal company documents
     8 from your product.                                  8 involving, say, tobacco or -- you know, there's a
     9      Q.    My question was different and listen     9 lot of areas. Silicon breast implants.
    10 to my question.                                    10           There are various things I've
    11           You did not, as part of your             11 written about over the years that involve
    12 methodology in this case, go out and search across 12 hazardous products that involve liability where
    13 all the medical and scientific literature to make  13 internal corporate documents may well be part of
    14 sure you had found all of the epidemiologic        14 the analysis, but I would have to go back and
    15 studies looking at talcum powder use and ovarian   15 look.
    16 cancer?                                            16      Q.    Besides sitting here today, can you
    17      A.    As I said before, I did not do a        17 cite for me  any published articles of yours where
    18 PubMed search.                                     18 you cited in that article internal company
    19      Q.    Cite for me any instances where you     19 documents?
    20 have analyzed before this -- getting involved in   20      A.    Not that I --
    21 this case a cosmetic product, its manufacturer,    21              DR. THOMPSON: Object to form.
    22 and the applicable regulations like you've done in 22              THE WITNESS: Not that I can
    23 your report?                                       23      recall right now, but I've written a lot
    24             DR. THOMPSON: Object to form.          24      of articles.
                                                  Page 131                                                   Page 133
     1              THE WITNESS: I have not had               1 BY MR. HEGARTY:
     2      cause to analyze a cosmetic manufacturer.         2     Q.    Have you ever written an article
     3      I would emphasize that I, as a good               3 where you've cited to an expert report in
     4      litigator mind in a litigation context, I         4 litigation?
     5      analyze regulatory problems across                5              DR. THOMPSON: Object to form.
     6      industries all the time.                          6              THE WITNESS: I also don't
     7 BY MR. HEGARTY:                                        7      know that for a fact, but I can't recall
     8     Q.      Have you ever published an analysis,       8      any.
     9 like you've done here, looking at the manufacturer     9 BY MR. HEGARTY:
    10 of a cosmetic product and the product itself?         10      Q.    In paragraph 10 of your report, you
    11              DR. THOMPSON: Object to form.            11 discuss the literature that you reviewed.
    12              THE WITNESS: No.                         12           Did anyone help you in reviewing the
    13 BY MR. HEGARTY:                                       13 literature or searching for literature, someone at
    14     Q.      Have you ever published an article        14 your office or otherwise?
    15 where you've given opinions based on internal         15      A.    No, I didn't -- didn't use any
    16 company documents?                                    16 research assistants or any -- any other
    17              DR. THOMPSON: Object to form.            17 individuals for assistance here.
    18              THE WITNESS: I'm sorry. If               18      Q.    Other than doing you mentioned a
    19      by "opinion" do you mean an expert               19 Google search before, did you do -- use any other
    20      witness opinion in litigation? We've             20 formal methods of searching for materials in
    21      established that I don't do that very            21 preparing your report?
    22      much.                                            22              DR. THOMPSON: Object to form.
    23 BY MR. HEGARTY:                                       23              THE WITNESS: So I reviewed
    24     Q.      Well, when have you ever published        24      sort of the leading casebook on food,


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     1                                                        1 considered for purposes of preparing your report?
          drug, and cosmetic regulation that had a
     2                                                        2             DR. THOMPSON: Object to form.
          chapter on -- on cosmetic regulation that
     3                                                        3             THE WITNESS: My description
          gave rise to a whole bunch of sources
     4                                                        4     of the methodology at a relatively high
          that I may have, you know, Googled to
     5                                                        5     level is contained in paragraphs 9 and 10
          look at a Federal Register something
     6                                                        6     and reflects exactly how I would go about
          or -- or some particular reference, some
     7                                                        7     a regulatory analysis in any
          other -- some earlier cosmetic-related
     8                                                        8     health-related area, in the safety
          controversy.
     9                                                        9     risk-related area and, frankly, a whole
                   You know, this is -- this is a
    10                                                       10     lot of regulatory areas that are -- that
          casebook, you know, including among its
    11                                                       11     are not about human health and safety
          authors Peter Hutt, who, you know, is a
    12                                                       12     where there are governing statutes.
          long-time expert I have great respect for
    13                                                       13     There are regulatory systems. There are
          who tends to represent the cosmetics
    14                                                       14     self-regulatory systems. There are
          industry in a lot -- in a lot of
    15                                                       15     balances of federal and state authority.
          policy-related proceedings.
    16                                                       16             There is a historical context,
                   So yes, I did a lot of
    17                                                       17     a political context, an industrial, and
          additional research based on things that
    18                                                       18     organizational context. Sometimes a
          I -- I discovered reviewing that
    19                                                       19     professional context, which is, of
          material, reviewing other material.
    20                                                       20     course, very important to distinguishing
          It's, again, standard practice with me to
    21                                                       21     drug regulation from cosmetic regulation.
          follow what you think are important
    22                                                       22             This is all routine for me.
          leads.
    23                                                       23     It's exactly what I do if I'm writing an
       BY MR. HEGARTY:
    24                                                       24     article to teach a class or even just,
         Q.      With regard to the materials that
                                                  Page 135                                                 Page 137
     1 you did review, did you assign any weight --           1     you know, at home thinking about a
     2 formally assign any weight to the materials for        2     current event.
     3 purposes of writing your report?                       3 BY MR. HEGARTY:
     4             DR. THOMPSON: Object to form.              4     Q.     Did plaintiffs' counsel give you
     5             THE WITNESS: I mean, there                 5 access to a database of all the documents that
     6     are basic hierarchies, you know, in terms          6 Johnson & Johnson had produced in this case?
     7     of legal authority. There are, you know,           7     A.     They didn't give me direct access to
     8     but other than that, there are no                  8 a very large universe of documents. Presumably,
     9     specific criteria for assigning weight.            9 they gave me access to the documents they thought
    10     I mean, one's regulatory expertise is not         10 were relevant, but I actually don't know how they
    11     the same as doing a quantitative risk             11 assembled their documents and do their management.
    12     analysis or a meta-analysis.                      12     Q.     You did not yourself do any type of
    13 BY MR. HEGARTY:                                       13 search over a database of documents produced using
    14    Q.     Well, in preparing your report, did         14 search terms to look for company -- internal
    15 you assign a numerical value to the weight of the     15 company documents --
    16 materials that you reviewed?                          16     A.     I did not.
    17    A.     No.                                         17     Q.     -- that Johnson & Johnson produced?
    18             DR. THOMPSON: Object to form.             18     A.     I did not.
    19             THE WITNESS: Except perhaps               19     Q.     But plaintiffs' counsel did provide
    20     how heavy they were. (Laugh).                     20 you with some internal company documents that have
    21 BY MR. HEGARTY:                                       21 been produced in this case, correct?
    22    Q.     Do you explain anywhere in your             22     A.     Correct.
    23 report the methodology that you went about that       23     Q.     These were not documents you
    24 you used in identifying the materials that you        24 selected from a larger set, correct?




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     1     A.     Except --                                   1 some of these documents that the P numbers are
     2              DR. THOMPSON: Object to form.        2 plaintiffs' exhibits from trial? Did you
     3              THE WITNESS: Except insofar          3 understand that?
     4      as I asked for the things that I thought     4      A.     I do understand that.
     5      were not evident from what I had already     5      Q.     Did you ask plaintiffs' counsel to
     6      reviewed. For example, asking for            6 give you all the defense exhibits that had been
     7      material that would bear on marketing        7 introduced at trials?
     8      decisions, marketing languages,              8      A.     I asked. I did not ask for all the
     9      strategies over time for Johnson &           9 defense exhibits. I did not ask for all the
    10      Johnson consumer products and               10 plaintiffs' exhibits. I did ask for the defense
    11      specifically for Johnson's Baby Powder.     11 perspective on the issues that were relevant to my
    12 BY MR. HEGARTY:                                  12 opinions.
    13     Q.     Did you ever ask for specific         13      Q.     Did you --
    14 document by Bates number or title of that        14      A.     I asked --
    15 document?                                        15      Q.     I'm sorry.
    16     A.     Not to my recollection. It would      16      A.     I'm sorry. I asked repeatedly for
    17 never have been by Bates number. It's possible   17 that.
    18 that there was in a deposition transcript some   18      Q.     Well, did you ask specifically for
    19 reference to a document that I then requested. I 19 defense exhibits that had been introduced at
    20 don't recall.                                    20 trial?
    21     Q.     Are you aware that Johnson & Johnson  21      A.     No.
    22 has produced thousands of documents regarding    22      Q.     And what did you do to confirm that
    23 communications with FDA, thousands of documents, 23 the plaintiffs' counsel gave you a fair
    24 if not hundreds of thousands of documents,       24 representation of the documents on the issues you

                                                  Page 139                                                Page 141
     1 regarding testing of talc for asbestos.                1 talk about in your report?
     2           Are you aware of that?                       2              DR. THOMPSON: Object to form.
     3      A.    I am aware of a number of FDA               3              THE WITNESS: I -- my
     4 contacts and a number of testing-related materials     4      confirmation was looking at the internal
     5 that Johnson & Johnson has introduced into this        5      consistency of what I was reviewing and
     6 litigation. I have no idea what number they are,       6      the opinions I was formulating based on
     7 and, again, I have no idea of how relevant they        7      it. I think I would have noticed
     8 are.                                                   8      significant biases. I think I would have
     9      Q.    In the document we're looking at            9      noticed significant gaps.
    10 before, Exhibit No. 5, there are a number of          10              But, no, I didn't do any
    11 plaintiff exhibits that are identified by P           11      structured confirmation and I certainly
    12 numbers beginning on page 16 and carrying over to     12      didn't -- I mean, other than an informal
    13 page 17.                                              13      request, I'm not sure what I could have
    14           Do you see those pages?                     14      done. So I didn't.
    15      A.    Yes.                                       15 BY MR. HEGARTY:
    16      Q.    Do you recall looking at any of the        16      Q.     Have you ever outside of any
    17 documents that have a P number on them, an exhibit    17 litigation work in your professional career ever
    18 sticker?                                              18 relied on documents that were selected for you to
    19      A.    I certainly have looked at documents       19 review by a plaintiff's lawyer?
    20 with P numbers, such as Johnson & Johnson response    20              DR. THOMPSON: Object to form.
    21 to Health Canada, which we just discussed, which      21              THE WITNESS: Again, yes, in
    22 had a P number on it. I noticed there were P          22      the sense that I was the principal
    23 numbers on some documents.                            23      investigator of a very large
    24      Q.    Did you understand in looking at           24      investigation on medical malpractice


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     1      policy that was funded by the Pugh Trust,          1          In any publication of yours, have
     2      which involved outreach to a whole lot of          2 you ever reviewed in preparing that publication
     3      people and, you know, that included                3 materials that were provided to you from a
     4      plaintiff's lawyers, defense lawyers,              4 plaintiff's lawyer that were produced in a
     5      insurance companies, you know, physician,          5 litigation?
     6      and hospital organizations and others.             6     A.    That were -- that were -- I'm sorry.
     7      And, you know, when I asked for materials          7 That were produced through discovery in the
     8      from each of them, I got the materials             8 litigation?
     9      that they gave me.                                 9     Q.      Correct.
    10 BY MR. HEGARTY:                                        10     A.      I'm sorry. I misunderstood the
    11      Q.     My question was as to any                  11 question.
    12 non-litigation work you've ever done, not regular      12           Not to my knowledge.
    13 litigation.                                            13     Q.      Are you aware that Johnson & Johnson
    14      A.     This is non-litigation.                    14 has put on a website all the facts about talc,
    15      Q.     Which part?                                15 thousands of documents that have been introduced
    16      A.     Everything I just said was                 16 in the lawsuits in -- in these cases?
    17 non-litigation.                                        17     A.      I reviewed -- on my own initiative,
    18      Q.     And what was the situation?                18 I reviewed some of The Facts About Talc web pages
    19      A.     A large grant program that I led on        19 that Johnson & Johnson makes available
    20 medical liability.                                     20 consumer-facing. I didn't -- I didn't think of
    21      Q.     Let me ask it a different way.             21 that as a litigation-related resource, and if
    22           In any publication of yours, have            22 there were links to a document trove, I didn't --
    23 you ever relied in the materials that you reviewed     23 I didn't notice that.
    24 on a plaintiff's lawyer to provide you the             24     Q.      So you did not review the internal
                                                   Page 143                                                       Page 145
     1 materials?                                              1 Johnson & Johnson documents that are on that Facts
     2    A.     To provide me some of the materials?          2 About Talc website?
     3 I'm sure I have.                                        3             DR. THOMPSON: Object to form.
     4    Q.     When have you ever written an                 4             THE WITNESS: Again, it
     5 article that where you relied on materials that         5     depends. It depends what they were, and
     6 came -- that came from a plaintiff's lawyer?            6     if you would like to show me something,
     7     A.     If I were writing on medical                 7     perhaps I'll remember that I saw it or
     8 liability and making certain points and sometimes       8     not.
     9 the only way you could get information about            9             Again, that Facts About Talc
    10 opinions that were not publicly reported or other      10     website that I saw contained, you know,
    11 insights, I'm relying on the people I'm talking        11     various statements and various links to
    12 to.                                                    12     other pages. Some of which may have been
    13           Again, perhaps I'm misunderstanding          13     to documents rather than HTML sites, and
    14 your question.                                         14     so it's possible.
    15     Q.     Yeah.                                       15             But, you know, did I look
    16           Have you ever in any article that            16     comprehensively through something that
    17 you've published ever relied on the materials for      17     was presented as a database of documents?
    18 that article from a plaintiff's lawyer to produce      18     No, I did not.
    19 materials produced in litigation?                      19             MR. HEGARTY: Why don't we go
    20     A.     I think we're also back to sort of          20     ahead and take a break. It's been
    21 some ambiguity between: Are you drawing a              21     another hour and some.
    22 distinction between considered or relied on or can     22             DR. THOMPSON: Okay.
    23 we use relied in a casual sense of --                  23             MR. HEGARTY: Okay. Go off
    24     Q.     Let me ask it a different way.              24     record.



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     1              (Recess: 10:40 a.m. -                        1 ovarian cancer specific.
     2              11:02 a.m.)                                  2     Q.     Had you read any articles prior to
     3              MR. HEGARTY: We are back on                  3 being contacted by plaintiffs' counsel looking at
     4      the record.                                          4 heavy metal use and ovarian cancer -- heavy metal
     5 BY MR. HEGARTY:                                           5 exposure and ovarian cancer?
     6      Q.    Doctor, we were talking about                  6     A.     No.
     7 Exhibit No. 5 and in particular some of the               7     Q.     All of the opinions that are set out
     8 literature that's listed on there.                        8 in your report that we marked previously as
     9           Had you read any medical or                     9 Exhibit No. 4 were formed after you were contacted
    10 scientific literature regarding talc and ovarian         10 by plaintiffs' counsel about testifying as an
    11 cancer before being contacted by counsel for             11 expert in this case, correct?
    12 plaintiffs in this case?                                 12             DR. THOMPSON: Object to form.
    13      A.    I probably had, but I don't recall            13             THE WITNESS: Yes. After I
    14 the specifics. It's been an issue for a long             14      was contacted to consider whether I would
    15 time.                                                    15      be an expert in this case, yes.
    16      Q.    When you say you probably had, would          16 BY MR. HEGARTY:
    17 that have been, if at all, back when you were in         17     Q.     You mentioned that prior to being
    18 medical school and then doing your internship or         18 contacted by counsel for plaintiffs in this case
    19 residency?                                               19 that you had been aware of an alleged link between
    20      A.    No. It would more likely have been            20 talcum powder use and ovarian cancer, correct?
    21 during my teaching career because health and             21     A.     Correct.
    22 safety regulation and health law policy are what I       22     Q.     And you talked generally about news
    23 do.                                                      23 sources and other general perhaps sources that you
    24      Q.    But sitting here today, can you say           24 would see in your work that refer to -- referred

                                                     Page 147                                                        Page 149
     1 definitively that you had read any medical                1 to talcum powder use and ovarian cancer.
     2 literature, whether it's an epidemiologic article         2           Are you able to cite any specific
     3 or cell study or animal study, on talcum powder           3 things you had read prior to being contacted by
     4 use and ovarian cancer before being contacted by          4 Dr. Thompson as it relates to talcum powder use
     5 counsel for the plaintiffs in this case?                  5 and ovarian cancer?
     6     A.     I believe that it's extremely likely           6     A.     I can't cite them specifically.
     7 that I did because it's a big issue.                      7 Most of the things I would see in the ordinary
     8     Q.      Can you identify for me any article           8 course would be things that had either a
     9 you had read or the time period in which you had          9 law-related or a health policy-related connection.
    10 read such an article?                                    10 Most of my, you know, daily news feed type sources
    11     A.      Not specifically.                            11 are not, you know, the clinical literature as
    12     Q.      So are you able to identify for me           12 much.
    13 any article that you had read -- medical or              13           Now if something had shown up that
    14 scientific article about talcum powder use and           14 was, you know, JAMA New England Journal style
    15 ovarian cancer before being contacted by                 15 publication or, you know, abstracted in some
    16 plaintiffs' counsel?                                     16 compendium, you know, major clinical News of the
    17     A.      Can I identify it now? No.                   17 Week, the old AMA news sites, then I would have
    18     Q.      Had you read any article looking at          18 seen it in that connection.
    19 asbestos and ovarian cancer prior to being               19           But, you know, this is a major
    20 contacted by plaintiffs' counsel in this case?           20 concern and a major source of -- of potential
    21     A.      I have read a lot of                         21 liability and litigation.   So, of course, as a law
    22 asbestos-related documents over the years in dribs       22 and medical school professor, I've seen
    23 and drabs as things came up. Most of them were           23 references.
    24 mesothelioma related. I don't recall any being on        24     Q.     As a medical student and then when



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     1 you finished law and medical school and did some               1      A.     Yes.
     2 clinical practice in medicine, did you ever read               2      Q.     As this letter shows, and as you
     3 anything or were you ever taught anything as it                3 know from your own analysis, FDA did receive two
     4 relates to talcum powder use and ovarian cancer?               4 Citizen Petitions asking that a warning be placed
     5     A.    Not that I recall.                                   5 on talc products, and they give a couple examples
     6     Q.    You -- first back up.                                6 of those types of warnings on the first page of
     7          Have you ever taught in any course                    7 this exhibit, right?
     8 of yours -- let me ask it a different way.                     8      A.     They don't give examples. They give
     9          Have you ever referenced in any                       9 the specific warnings that were requested in the
    10 course you have taught anything about talcum                  10 Citizen's Petitions.
    11 powder use and ovarian cancer or litigation                   11      Q.     Fair enough.
    12 involving talcum powder use and ovarian cancer?               12           And in 2014, FDA determined that the
    13     A.    Not that I recall.                                  13 data did not demonstrate a causal association
    14     Q.    You cite in your report to such                     14 between talcum powder use in the perineal area and
    15 organizations as IARC, Health Canada, and the FDA.            15 ovarian cancer, correct?
    16          Do you recall that?                                  16      A.     To quote from that letter, as I
    17     A.    Yes.                                                17 described in paragraph 150 of my opinion, the
    18     Q.    So do you agree that it was                         18 letter says:
    19 important for your methodology in this case to                19           "While the growing body of evidence
    20 consider what these health authorities have to say            20 to support a possible association ... is difficult
    21 about talc use and ovarian cancer, correct?                   21 to dismiss, the evidence is insufficient for FDA
    22             DR. THOMPSON: Object to form.                     22 to require as definitive a warning as you are
    23             THE WITNESS: Correct, with                        23 seeking."
    24     the addition that my opinion is                           24           It's not exactly what you had quoted
                                                          Page 151                                                   Page 153
     1      fundamentally about regulatory compliance                 1 there.
     2      and self-regulatory conduct and not about                 2     Q.      Well, on the first page of the -- of
     3      causation.                                                3 Exhibit No. 7, second last paragraph, last line,
     4 BY MR. HEGARTY:                                                4 it says:
     5     Q.     On page 11 -- let me not -- I don't                 5            "FDA did not find that the data
     6 need to reference your report. Let me just back                6 submitted presented conclusive evidence of a
     7 up.                                                            7 causal association between talc use and the
     8          You mentioned earlier when you went                   8 perineal area and ovarian cancer."
     9 through the materials that you had in front of you             9          Correct?
    10 that you -- the April 2014 FDA letter denying two             10     A.     Certainly with the emphasis on
    11 Citizen's Petitions seeking warnings about the                11 "conclusive" which is the only word that makes
    12 risk of ovarian cancer with talcum powder use,                12 that consistent with the language that I quoted to
    13 correct?                                                      13 you.
    14     A.     Correct.                                           14     Q.     And FDA did a comprehensive review
    15              MR. HEGARTY: I'm going to                        15 of the science in rejecting these opinions,
    16      mark as Exhibit No. 7 a copy of that                     16 correct? I'm sorry. These petitions, correct?
    17      April 1, 2014 letter.                                    17             DR. THOMPSON: Object to form.
    18              (Document marked for                             18             THE WITNESS: I don't know
    19      identification as Sage Exhibit 7.)                       19      exactly what the FDA did. There are
    20 BY MR. HEGARTY:                                               20      extraordinary gaps in time and
    21     Q.     So you've seen this before, correct?               21      extraordinary issues of resources between
    22     A.     I have.                                            22      1994 petition and the 2014 response.
    23     Q.     You comment about it in your report,               23 BY MR. HEGARTY:
    24 right?                                                        24     Q.     Are you an expert in the process by


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     1 which FDA reviews and responds to Citizen                 1 that's many years -- many years ago.
     2 Petitions?                                                2    Q.       Have you ever submitted materials in
     3             DR. THOMPSON: Object to form.                 3 connection with FDA considering a Citizen
     4             THE WITNESS: My expertise in                  4 Petition?
     5     how agencies communicate with public and              5     A.     No.
     6     industry is sufficient to make me an                  6     Q.     Have you ever drafted or been
     7     expert in evaluating this letter.                     7 involved in the drafting of FDA's responding to a
     8 BY MR. HEGARTY:                                           8 Citizen Petitions?
     9     Q.     Have you ever been involved in an              9     A.     No.
    10 FDA review of a Citizen Petition?                        10     Q.     Do you know who Steve Musser is at
    11     A.     No.                                           11 FDA?
    12     Q.     How many Citizen Petitions and FDA            12     A.     No.
    13 responses have you ever read?                            13     Q.     Do you know where he went to school?
    14     A.     Probably -- well, I certainly have            14     A.     No.
    15 read the response from the 1990s on urocanic acid        15     Q.     Do you know his educational
    16 because that one is highly relevant to this case.        16 background?
    17     Q.     On what? I'm sorry.                           17     A.     Well, he's got a PhD. So I can tell
    18     A.     Urocanic acid.                                18 you he didn't go to medical school; but, no, I
    19     Q.     Okay.                                         19 don't know where he went to school. I did not --
    20     A.     U-r-o-c-a-n-i-c.                              20 I did not look him up.
    21          Because that's rather relevant here             21     Q.     Did you try to talk to him about the
    22 because it includes the "safety not determined"          22 2014 letter?
    23 language.                                                23     A.     No.
    24          I have looked at the extent to which            24     Q.     Why not?
                                                     Page 155                                                 Page 157
     1 Citizen's Petitions are publicly available on a           1    A.      I don't know him and I would have no
     2 database.  The ones relating to cosmetics do not          2 reason to contact him.   I also, from perhaps lack
     3 appear to be. So I've become very interested in           3 of experience with serving as an expert witness,
     4 the Citizen Petition process.                             4 decided that my reviews and research should be
     5          But prior to considering these --                5 documentary and not involve individuals.
     6 these issues, no, I had not looked at Citizen             6     Q.     Did anybody instruct you as part of
     7 Petitions except in passing. You do see Citizen's         7 your work as an expert witness that you couldn't
     8 Petitions when you teach regulatory topics.               8 reach out to others and talk to them?
     9     Q.    And the urocanic acid Citizen                   9     A.     No one instructed me. It was my --
    10 Petition was something you reviewed after being          10 it was my working assumption. Seemed a prudent
    11 hired as an expert in this case, correct?                11 way to do a report.
    12     A.    Yes.                                           12     Q.     Do you contend that the doctors and
    13     Q.    Have you ever discussed with anyone            13 scientists at the FDA involved in responding to
    14 at FDA about FDA's handling of Citizen Petitions?        14 the two Citizen Petitions were not qualified to
    15     A.    No. It's very high on my list for              15 assess the safety of talc?
    16 when I am in contact again with FDA officials, and       16     A.     I --
    17 I am friends with a couple of former                     17              DR. THOMPSON: Object to form.
    18 commissioners, and should I run into them, it will       18              THE WITNESS: I express no
    19 be one of the things I will be interested in             19      opinions on their qualifications.
    20 discussing.                                              20              Again, I would point out that
    21     Q.    Who are you friends with?                      21      responses to Citizen's Petitions are not
    22     A.    I'm friends with Mark McClellan and            22      definitive responses on the underlying
    23 I'm acquaintances with Scott Gottlieb. And in the        23      scientific questions. They are responses
    24 old days, I was friends with Don Kennedy, but            24      to a specific request for a specific


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     1      action, in this case, for a specific              1      one thing I will opine is that there's
     2      warning statement.                                2      nothing in this letter that should
     3 BY MR. HEGARTY:                                        3      suggest to anyone that FDA thinks that
     4     Q.     Well, is it your contention that if         4      talcum powder products do not cause
     5 FDA believed a warning was needed beyond just what     5      ovarian cancer.
     6 was proposed that they would have taken -- they        6 BY MR. HEGARTY:
     7 would not have taken this action?                      7     Q.      I'm sorry. What did you just say in
     8              DR. THOMPSON: Object to form.             8 this last sentence? I didn't...
     9 BY MR. HEGARTY:                                        9     A.      Would you rather it read back?
    10     Q.     Let me ask it in a different way.          10               MR. HEGARTY: Yeah. Would you
    11           Is it your contention that FDA              11      read it back, the last part of that
    12 believed a warning was needed, just not the ones      12      response, please?
    13 that were requested in the Citizen Petitions?         13               (The reporter read the record
    14              DR. THOMPSON: Object to form.            14      on page 159 line 23 to page 160 line 5.)
    15              THE WITNESS: I have no basis             15 BY MR. HEGARTY:
    16      to know what FDA in some organizational          16     Q.      So is it your testimony in this case
    17      sense believes on that topic. What I             17 that FDA believes that talcum powder use causes
    18      have is the regulatory provisions under          18 ovarian cancer?
    19      which a Citizen's Petition is submitted,         19     A.      I don't know what they believe, but
    20      and I have this particular response.             20 this letter doesn't say that they believe that
    21 BY MR. HEGARTY:                                       21 there is no causal association. It is simply a
    22     Q.     Is it your contention that FDA             22 response, and a rather sloppily drafted response,
    23 believed that there is a risk of ovarian cancer       23 to two Citizen's Petitions issued 20 years after
    24 with talc use and chose to do nothing about it?       24 the first one. It says what it says, and I can't

                                                  Page 159                                                       Page 161
     1     A.    Again --                                     1 give you anymore insight into the dynamics of the
     2             DR. THOMPSON: Object to form.              2 final text and what we have in front of us.
     3             THE WITNESS: -- I do not know              3     Q.    Is it your opinion in this case that
     4     anything about FDA's belief.                       4 FDA failed to do its job with regard to responding
     5             I would repeat. What we see                5 to the two Citizen Petitions?
     6     in this letter, which if I were                    6              DR. THOMPSON: Object to form.
     7     supervising does not meet my standards             7              THE WITNESS: It's my opinion
     8     for clarity, is the sentence you cited,            8      that FDA is grossly underresourced with
     9     quoted, which was:                                 9      respect to cosmetics.
    10             "FDA did not find that the                10              It's my opinion the Citizen's
    11     data submitted" -- notice submitted, not          11      Petition process needs a significant
    12     all the data that might be available --           12      revision, and I think this -- these two
    13     "presented conclusive evidence."                  13      petitions and this particular response as
    14             And then the language that I              14      issued at this time, you know, supports
    15     quoted back, which says:                          15      my belief that -- that the Citizen's
    16             "Growing body of evidence to              16      Petition process is in need of
    17     support a possible association ... is             17      improvement.
    18     difficult to dismiss. Evidence is                 18 BY MR. HEGARTY:
    19     sufficient -- insufficient for FDA to             19     Q.     Well, my question wasn't very
    20     require as definitive a warning as you            20 specific.
    21     are seeking."                                     21           Is it your opinion in this case that
    22             I think this is a badly                   22 FDA failed to do its job that it was tasked to do
    23     drafted letter. I think it is hard to             23 by Congress with regard to responding to these two
    24     interpret and sounds rather evasive, but          24 Citizen Petitions?




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     1             MS. PARFITT: Objection.                     1     Johnson regarding the hazards of perineal
     2             DR. THOMPSON: Object to form.               2     application of talc.
     3             THE WITNESS: See, this will                 3 BY MR. HEGARTY:
     4     begin to move us into kind of the core of           4     Q.    And I'm still not sure you answered
     5     the opinions, which is that FDA has very            5 my question.
     6     limited authority over cosmetics. FDA               6          Is it, do you have an opinion that
     7     does not supervise the self-regulatory              7 FDA failed to do a proper job in responding to
     8     processes that cosmetics manufacturers in           8 these two Citizen Petitions?
     9     the cosmetics industry engage in, and the           9             MS. PARFITT: Objection.
    10     fundamental obligations remain on the              10             DR. THOMPSON: Object to form.
    11     manufacturers.                                     11     Asked and answered.
    12             This letter offered an                     12             THE WITNESS: All I can do on
    13     opportunity -- I should say, these two             13     this one, respectfully, is say, this
    14     Citizen's Petitions offered an                     14     process is one of the -- and this outcome
    15     opportunity for the FDA to devote more of          15     is one of the reasons that I strongly
    16     its resources to this particular                   16     support Congressional reform of the
    17     cosmetics-related concern, and FDA                 17     cosmetics regulatory process.
    18     declined to take that opportunity.                 18 BY MR. HEGARTY:
    19             But beyond that, I cannot                  19     Q.    You don't know who at FDA was
    20     opine as to their motivation as to the             20 involved in responding to these Citizen Petitions,
    21     pressures brought to bear on them, as to           21 correct?
    22     the competing uses of their resources.             22     A.    Correct.
    23     All the things that sort of go into why            23     Q.    You don't know what resources they
    24     this letter is issued at this time.                24 devoted to respond to these Citizen Petitions,

                                                   Page 163                                                     Page 165
     1 BY MR. HEGARTY:                                         1 correct?
     2    Q.        My question was very specific and I        2     A.      I think we have a supportable
     3 don't think you answered it.                            3 inference that resource constraints in the
     4         My question was: Is it your opinion             4 cosmetic area make it very difficult for FDA to --
     5 that FDA failed to do the job it was assigned to        5 to assess Citizen's Petitions and assess sua
     6 do by Congress in responding to these two Citizen       6 sponte actions that might be authorized by
     7 Petitions?                                              7 Congress but not facilitated.
     8            MS. PARFITT: Objection.                      8     Q.      My question, though, is very -- is
     9 BY MR. HEGARTY:                                         9 specific to this Citizen Petition response.
    10   Q.     It's whether you have that opinion.           10            Do you know the resources that FDA
    11            MS. PARFITT: Objection.                     11 devoted to respond to these two Citizen Petitions
    12            DR. THOMPSON: Object to form.               12 as reflected in Exhibit No. 7?
    13            MS. PARFITT: Question was                   13            DR. THOMPSON: Object to form.
    14    answered.                                           14            THE WITNESS: I don't know
    15            THE WITNESS: Let me -- let                  15     the resources, but I do know, as -- as I
    16    me try to convey accurately what my                 16     imagine you do also, that the history of
    17    opinion is.                                         17     the Citizen's Petitions, Citizen's
    18            My opinion is that this letter              18     Petitions are supposed to generate a
    19    is not exculpatory of Johnson & Johnson.            19     response within 180 days.
    20    FDA issued a response to a Citizen's                20            And the, you know, earliest
    21    Petition within its authorities, and its            21     response to the 1994 petition was
    22    response says what its response says.               22     basically, we're kind of busy, we don't
    23            It does not in any way alter                23     have a lot of resources, and we'll get
    24    the legal obligations of Johnson &                  24     back to you.


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     1             And then we have a 2008                    1 obtained since the 1994 Workshop further suggests
     2     petition and then we have a 2014                   2 a health hazard and that additional work for
     3     response, and I think simply from the              3 possible action is needed."
     4     time course you can very reasonably infer          4           So FDA has obviously been concerned
     5     that resources are insufficient to deal            5 about this for a while.   In terms of an FDA
     6     with these as they should be dealt with.           6 warning, again, the thing that -- one of the
     7 BY MR. HEGARTY:                                        7 things that distinguishes cosmetic oversight from,
     8     Q.    Is it your opinion that FDA believes         8 say, drug oversight is that FDA's ability to
     9 today that a warning with regard to the risk of        9 require a warning is far less self-executing.
    10 ovarian cancer is needed on talcum powder             10           FDA does not require -- does not
    11 products?                                             11 directly regulate the label or labeling of a lot
    12             DR. THOMPSON: Object to form.             12 of aspects of cosmetics; and if FDA wishes to
    13             THE WITNESS: I think it is                13 require a warning, it has legal authority to do
    14     clear that the -- that pending changes in         14 so, but it has to do it through notice and comment
    15     leadership or new statements from FDA             15 rulemaking at significant expense and a
    16     leadership that FDA believes that                 16 significant degree of legal uncertainty.
    17     cosmetics regulation needs to be                  17           So, you know, I am willing to
    18     improved, and which would support an              18 suggest that FDA institutionally sees some
    19     inference that the things that FDA has            19 significant concerns about causal relationships
    20     been involved in with cosmetics                   20 between perineal talc and ovarian cancer, but the
    21     regulation are things that they do not            21 regulatory system is not set up for FDA to
    22     think are adequate to protect the public.         22 vindicate those concerns, which is another reason
    23 BY MR. HEGARTY:                                       23 why your client should have.
    24     Q.    And my question is specific as it           24     Q.     You have not talked to anybody at
                                                  Page 167                                                     Page 169
     1 relates to talcum powder products and ovarian          1 FDA with regard to talcum powder use or talcum
     2 cancer risk.                                           2 powder products and ovarian cancer, correct?
     3           Is it your opinion that FDA believes         3      A.   I look forward to doing so.
     4 that a warning is needed today on talcum powder        4      Q.   Well, have you talked to anybody?
     5 products and ovarian cancer risk?                      5      A.   No.
     6               DR. THOMPSON: Object to form.            6      Q.   Paragraph 39 of your report, which
     7               THE WITNESS: So this -- may              7 is on page 6, the second sentence refers states
     8      I refer to a document we've previously            8 that:
     9      discussed?                                        9          "Asbestos when present in talcum
    10 BY MR. HEGARTY:                                       10 powder product is an adulterant because it is
    11     Q.      Does that answer the question?            11 hazardous to human health."
    12     A.      Yes.                                      12          Do you see where I'm reading?
    13     Q.      Sure.                                     13      A.   I do.
    14     A.      So if we -- if we go back to -- or        14      Q.   One of the materials you cite there
    15 did you hand it back or do you still have it? The     15 is a document, is an NIH document entitled
    16 1998 FDA internal review. That document includes      16 "Asbestos Worker and Employer Guide to Hazards and
    17 -- here it is. This one that we looked at             17 Recommended Controls."
    18 (indicates).                                          18          Do you see that?
    19           That document includes a statement          19      A.   I'm --
    20 upfront. Again, it's not a statement of FDA           20              DR. THOMPSON: What page are
    21 policy, but it is a statement specifically on talc    21      you on, please?
    22 that pointing out FDA's Workshop says:                22              MS. PARFITT: Page 6 of the
    23           "Perineal talc has been linked to           23      report.
    24 increased risk of ovarian cancer. Additional data     24              THE WITNESS: Sorry. I'm not



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     1      seeing that particular --                              1     workplace exposure documents, certainly.
     2             DR. THOMPSON: Okay.                             2 BY MR. HEGARTY:
     3             MS. PARFITT: Paragraph 39.                      3    Q.    You're, of course, familiar with
     4 BY MR. HEGARTY:                                             4 NIH, correct?
     5     Q.    Yeah, if you look at --                           5     A.     Yes.
     6     A.    I'm not seeing that particular                    6     Q.     And you're familiar with the NCI,
     7 paragraph.                                                  7 right?
     8     Q.    -- 39 at the end, footnote 9 says                 8     A.     Yes.
     9 NIOSH.                                                      9     Q.     And NCI is the federal government's
    10     A.    It's got the NIOSH and OSHA                      10 primary health agency on cancer research, correct?
    11 material, which is where why the Material Safety           11     A.     I would have -- that's -- that's a
    12 Data Sheets get revised --                                 12 strong statement, but for the federal government,
    13     Q.    Right. That document --                          13 yes.
    14     A.    -- to give talc exposure.                        14     Q.     Have you ever had any dealings with
    15     Q.    I'm sorry.                                       15 NCI?
    16          That document is "Workplace Exposure              16     A.     Institutionally, no. Indirectly, I
    17 to Asbestos," correct?                                     17 have a very wide circle of contacts, and I serve
    18     A.    Yes.                                             18 on a number of advisory committees, and
    19     Q.    Did you read that document?                      19 undoubtedly there's been overlap with -- with NCI
    20     A.    No. I read various things that                   20 over the years.
    21 referenced that document.                                  21     Q.     If you go back and look at this
    22     Q.    Do you understand that document is               22 Exhibit No. 5, the literature materials we've been
    23 about occupational exposure to asbestos?                   23 talking -- we were talking about earlier?
    24     A.    I understand that document is about              24     A.     Uh-huh.
                                                       Page 171                                                  Page 173
     1 occupational exposure to asbestos.    I don't recall        1    Q.      You look over at page 6 of that
     2 the details of all these documents, but I have              2 document.    Tell me when you're at page 6.
     3 noticed that several of the documents that discuss          3     A.     I'm at page 6.
     4 occupational exposure also at least have brief              4     Q.     You refer in that document to "NCI
     5 mention of nonoccupational exposure risks.                  5 Snapshot of Ovarian Cancer." It's the very top of
     6     Q.    Do you know that that document does               6 the page.
     7 not discuss talcum powder use?                              7           You see that?
     8     A.    I would -- I would have to -- I                   8     A.     Yes, and it doesn't have the
     9 would have to review that document to confirm               9 snapshot exactly. I have -- I have an NCI
    10 that; but, again, remember the assertion is about          10 document in front of me that is actually a D
    11 the dangers of asbestos.   To the extent that              11 exhibit. It's a defense exhibit.
    12 asbestos is present in talcum powder, it is by             12     Q.     We're going to get to that.
    13 FDA's own statement and by other sources                   13           But in terms of the document you
    14 conclusively an adulterant.                                14 reference in your materials, it's this "Snapshot
    15     Q.     But you're not -- I'm sorry.                    15 of Ovarian Cancer," right?
    16     A.     It's not dose-dependent. It's not               16     A.     Yes.
    17 dose-dependent. It's not route-dependent. It is            17     Q.     Did you read that document?
    18 simply an adulterant.                                      18     A.     It was made available. I don't
    19     Q.     But you understand that the support             19 recall I read your defense exhibit word for word.
    20 you're citing for that statement is a document             20     Q.     You don't cite that defense exhibit
    21 that refers to "Workplace Exposure to Asbestos,"           21 in your materials?
    22 one of the supporting documents?                           22     A.     You're right.
    23              DR. THOMPSON: Object to form.                 23     Q.     Did you look at it in preparing your
    24              THE WITNESS: I have seen                      24 report?




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     1      A.     Did I look at the?                       1     A.     I will take your word for that.
     2      Q.     The document -- well, did you look       2     Q.     Do you recall referencing it in the
     3 at the NCI PDQ that you reference as a defense       3 body of the report?
     4 exhibit in preparing your report?                    4     A.     I don't think I did.
     5      A.     It may have been brought to my           5     Q.     And do you recall any -- do you see
     6 attention. Oh, yes. I did look at it in              6 any reference in the list of materials that you
     7 preparing my report, yes.                            7 reviewed to this document?
     8      Q.     And why didn't you reference it?         8     A.     No. I do remember it well and I've
     9      A.     I don't know. If that -- if that         9 looked at it several times, and I have, you know,
    10 was an oversight, I apologize.                      10 I have evaluated it and did not think it warranted
    11      Q.     You agree you didn't even reference     11 direct inclusion in the report.
    12 it in the materials that you reviewed, right?       12     Q.     So you didn't -- is it your
    13               MS. PARFITT: Objection.               13 testimony that you do not believe this document,
    14       Form.                                         14 the NCI PDQ and what it says about talc and
    15               THE WITNESS: Again, I don't           15 ovarian cancer, is a relevant document to your
    16       -- I would have to verify that but...         16 opinions in this case?
    17               MR. HEGARTY: I'll mark as             17     A.     I believe --
    18       Exhibit No. 8 what I think is the same --     18              DR. THOMPSON: Object to form.
    19               THE WITNESS: I saw -- I saw           19              THE WITNESS: I believe it is
    20       a reference to -- to that defense exhibit     20      relevant and I considered it. I did not
    21       perhaps in this other more general            21      think it was sufficiently important to
    22       document, and I specifically requested        22      reference directly. Be happy to discuss
    23       the defense exhibit.                          23      why.
    24               (Document marked for                  24 BY MR. HEGARTY:

                                                Page 175                                                         Page 177
     1     identification as Sage Exhibit 8.)               1     Q.      Well, did you find this document on
     2 BY MR. HEGARTY:                                      2 your own or did plaintiffs' counsel provide it to
     3      Q.   I've marked as Exhibit 8 I think is        3 you?
     4 the same document you've been looking at. It's       4     A.      I asked for this document because I
     5 the --                                               5 believed it was either -- either I saw it or it
     6      A.   Yes.                                       6 was referenced in that Facts About Talc document
     7      Q.   -- July 8, 2021 NCI Physician Data         7 collection that we were talking about before.
     8 Query.                                               8 Because I remember specifically asking, as I was
     9          Is this the same document you were          9 asking for things that appeared to support the
    10 referencing before?                                 10 defense's arguments, I asked specifically about
    11      A.   Yes. Yours is printed two-sided so        11 the NCI document, and that's how I got the NCI
    12 it seems smaller.                                   12 document.
    13      Q.   Again, then you think -- strike           13     Q.      Prior to reading something about the
    14 that.                                               14 NCI PDQ document, Exhibit No. 8, had you ever been
    15          Your testimony is that you did             15 aware that NCI puts out Physician Data Query
    16 review this document prior to completing your       16 documents like this?
    17 expert report; is that correct?                     17     A.      In passing, probably, but I wouldn't
    18      A.   I believe so.                             18 have had a need for them in clinical practice.
    19             DR. THOMPSON: Object to form.           19     Q.      If you turn over to page 19 of 20 in
    20             THE WITNESS: I believe so.              20 this document and the pages that are at the
    21 BY MR. HEGARTY:                                     21 bottom --
    22      Q.   And you also agree you make no            22     A.     Yes.
    23 reference to it anywhere in your expert report,     23     Q.     -- that reference 19 of 20, it says
    24 right?                                              24 that this PDQ in the -- let me back up.




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     1          Under the purpose of this summary at               1 20, under section --
     2 the top, it says that this is a summary for health       A. 2   Hold on.
     3 professionals -- let me read it specifically.            Q. 3   I'm sorry.
     4          "This PDQ cancer information summary      4     A.     I have to go back to that. Yeah.
     5 for health professionals provides comprehensive    5     Q.     Under the section Factored with
     6 peer-reviewed evidence-based information about     6 Inadequate Evidence of Association Risk of
     7 ovarian, fallopian tube, and primary peritoneal    7 Ovarian, Fallopian Tube, and Primary Peritoneal
     8 cancer."                                           8 Cancer, they specifically refer to perineal talc
     9          Did I read that correctly?                9 exposure, correct?
    10     A.     Peritoneal cancer prevention but...    10     A.     Correct.
    11     Q.     Peritoneal cancer prevention.          11     Q.     The first line of that summary says:
    12          And it goes on to say:                   12           "The weight of evidence does not
    13          "It is intended as a resource to         13 support an association between perineal talc
    14 inform and assist clinicians who care for cancer  14 exposure and an increased risk of ovarian cancer."
    15 patients."                                        15           Correct?
    16          Correct?                                 16     A.     Yes, that's their view expressed in
    17     A.     Correct.                               17 this particular --
    18     Q.     Then it goes down under the section    18     Q.     And they --
    19 Reviewers and Updates that says:                  19     A.     -- summary.
    20          "This summary is reviewed regularly      20     Q.     They don't -- they say there's not
    21 and updated as necessary by the PDQ Screening and 21 even association in this statement, correct?
    22 Prevention Editorial Board, which editorial       22     A.     Now --
    23 independent of the National Cancer Institute      23              DR. THOMPSON: Object to form.
    24 (NCI)."                                           24              THE WITNESS: -- again you are
                                                       Page 179                                            Page 181
     1           Correct?                                          1
                                                                          correctly saying. They say in slightly
     2     A.     Yes.                                             2
                                                                          stylized form, the weight of evidence
     3     Q.     Then it goes on to say:                          3
                                                                          does not support an association and that
     4           "This summary reflects an                         4
                                                                          results from the various case-controlled
     5 independent review of literature and does not               5
                                                                          and cohort studies are inconsistent, and
     6 represent a policy statement of NCI or the                  6
                                                                          then they argue the points back and
     7 National Institutes of Health (NIH)."                       7
                                                                          forth.
     8           Correct?                                          8
                                                                                  It is -- this is to me
     9     A.     Correct.                                         9
                                                                          representative of much of the discussion
    10     Q.     Then it goes on to describe that:               10
                                                                          that I have seen in other sources. There
    11           "The board members review recently               11
                                                                          are, you know, several studies here that
    12 published articles each month to determine whether         12
                                                                          they cite that show confidence intervals
    13 an article should" and then it describes what              13
                                                                          that are all above 1.
    14 their -- they can do with it, with the article,            14
                                                                                  Their, you know, so, again,
    15 discussing it, citing the text, replacing it with          15
                                                                          their conclusion and their categorization
    16 an updated article, correct?                               16
                                                                          is based on what they consider
    17     A.     Certainly. It reminds me very much              17
                                                                          inconsistencies and how they weight
    18 of loosely electronic scientific American medicine         18
                                                                          particular sort of dose-response style
    19 chapters that were published for many years and I          19
                                                                          associations, or lack thereof.
    20 subscribed to. I don't subscribe anymore, but the          20
                                                                                  There's nothing in this that
    21 notion is that you want to have some current               21
                                                                          is sort of new information to me beyond
    22 clinical guidance and you provide a mechanism              22
                                                                          the other studies and syntheses that I
    23 for -- for updates periodically.                           23
                                                                          have -- I've read and from the language
    24     Q.     Then if we turn over to page 13 of              24
                                                                          you yourself quoted.


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     1              This is an editorial exercise                 1      information it does not currently
     2      with an NIH-funded publication resource.              2      provide.
     3      It is not an official clinical guideline.             3 BY MR. HEGARTY:
     4      It is not an official policy statement.               4      Q.     And what would that information be
     5              One could speculate if you ask                5 if this statement is true?
     6      the authors of this what they would                   6      A.     At a minimum, the statement -- the
     7      advise their own patients regarding                   7 statement that safety has not been determined.
     8      perineal application of talcum powder, I              8 Because, again, this is, you know, a weight of
     9      don't know it would be that "don't worry              9 evidence, inconsistencies, and things that they
    10      about it" is the response that you'd get.            10 cite certainly do not substantiate the safety
    11              This is exactly the sort of                  11 of -- of talcum powder products.
    12      material that I think is highly relevant,            12            Moreover, you know, the exact
    13      but is also, first of all, embedded in --            13 contents of talcum powder products are not really
    14      in a whole set of professional                       14 dealt with in this particular report, and I don't
    15      relationships and traditions between                 15 really know what assumptions they've made.
    16      clinical physician practice and                      16      Q.     Have you told me in your responses
    17      government bodies that is really                     17 to the last few of my questions why you don't --
    18      tangential to my opinions about a                    18 did not cite this document in your report?
    19      manufacturer's self-regulatory                       19      A.     I --
    20      obligations for cosmetics.                           20               DR. THOMPSON: Object to form.
    21 BY MR. HEGARTY:                                           21               THE WITNESS: Yes. I've told
    22     Q.      Assume for purposes of my                     22      you that I reviewed it, and I did not
    23 question -- and it's a hypothetical -- that this          23      find that it added information in ways
    24 statement is true that the weight of evidence does        24      that would modify my opinion.
                                                      Page 183                                                 Page 185
     1 not support an association between perineal talc           1 BY MR. HEGARTY:
     2 exposure and an increased risk of ovarian cancer.          2    Q.       Is that what your standard was for
     3 So assume that's true.                                     3 citing material is whether it would modify your
     4          Would it still be your opinion that               4 opinions?
     5 talcum powder is unsafe?                                   5     DR. THOMPSON: Object to form.
     6               DR. THOMPSON: Object to form.                6     THE WITNESS: One's -- one
     7               THE WITNESS: It would still           7    formulates one's opinions and modifies
     8      be my opinion that Johnson & Johnson has       8    one's opinions in light of new evidence.
     9      not complied with its regulatory               9            If this is a piece of evidence
    10      obligations regarding information, and        10    I'm being presented with, if it is
    11      there's a whole lot of ambiguities in         11    information that I think needs to be
    12      this particular statement.                    12    conveyed to the audience of my report on
    13 BY MR. HEGARTY:                                    13    its own, I might include it.
    14     Q.      Again, assume for purposes of my       14            But in terms of, is it
    15 question that this -- that the statement I just    15    altering my then present analysis, if it
    16 read to you is true.                               16    doesn't alter it, I have no other reason
    17            Is it still your opinion that talcum    17    to cite it, and that is simply a Bayesian
    18 powder products should contain a warning about the 18    approach to formulating and modifying
    19 risk of ovarian cancer?                            19    conclusions.
    20               DR. THOMPSON: Object to form.        20            If you're suggesting that
    21               THE WITNESS: If this                 21    somehow I had decided in advance what my
    22      statement were true as written, it is         22    conclusions are, I would strongly
    23      still my opinion that Johnson & Johnson       23    disagree.
    24      is required to provide consumers with         24 BY MR. HEGARTY:




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     1     Q.      Well, I think the reader will                 1 report that are not policy statements, right?
     2 interpret that, but let me point this out.                2
                                                                 A.     Yes.
     3            You did cite to IARC in your report,           3
                                                                 Q.     You cite to medical literature,
     4 correct?                                            4 right?
     5     A.     Yes.                                     5     A.     Yes.
     6     Q.     And what it said about talcum powder     6     Q.     Not a policy statement, is it?
     7 use and ovarian cancer, correct?                    7     A.     No.
     8     A.     Yes.                                     8     Q.     So this document, though, you chose,
     9     Q.     You did cite to FDA in your report       9 unlike some other articles that you cited, not to
    10 and what it said about talcum powder use and       10 cite, correct?
    11 ovarian cancer, correct?                           11              DR. THOMPSON: Object to form.
    12     A.     Yes.                                    12              THE WITNESS: I didn't
    13     Q.     Those -- and you do cite to NIOSH       13      affirmatively decide not to cite it. It
    14 and what it says about asbestos exposure and risk, 14      did not rise to the level where I felt
    15 correct?                                           15      induced to cite it.
    16     A.     Indirectly in the footnote that you     16              MR. HEGARTY: Let me show you
    17 read. I don't -- I don't emphasize a discussion    17      what I've marked as Exhibit No. 9.
    18 of the occupational hazards here, though I -- I do 18              (Document marked for
    19 think that the NIOSH conclusions and the way in    19      identification as Sage Exhibit 9.)
    20 which the talc mining companies responded to them 20 BY MR. HEGARTY:
    21 in terms of worker protection are informative in   21     Q.     This is the PDQ Screening and
    22 this case.                                         22 Prevention Editorial Board for the PDQ that we
    23     Q.     So you cite to IARC, you cite to        23 marked as Exhibit No. 8.
    24 FDA, you cite to NIOSH, but you don't cite to NCI, 24           Have you seen this list of board
                                                     Page 187                                                  Page 189
     1 correct?                                                  1 members?
     2     A.     Again --                                       2     A.    I have not. I have a medical school
     3             DR. THOMPSON: Object to form.                 3 classmate on the list.
     4             THE WITNESS: Again, I really                  4      Q.     Who is that?
     5     have to be clear that this is a                       5      A.     Joann Elmore.
     6     NCI-supported journal that follows a                  6      Q.     She's got a Master of Public Health,
     7     perfectly reasonable clinical update                  7 right?
     8     process. It is not a statement of the                 8      A.     Yes, she does.
     9     NCI, and the language that you read                   9      Q.     You do not have a Master of Public
    10     confirmed that.                                      10 Health, right?
    11 BY MR. HEGARTY:                                          11      A.     I do not.
    12     Q.     So it's your opinion that a reader            12      Q.     And Joann Elmore, do you respect her
    13 looking at your report would not be interested in        13 as an epidemiologist?
    14 what the NCI PDQ has to say about talcum powder          14      A.     As an epidemiologist? I would have
    15 use and ovarian cancer?                                  15 to go back and talk to her in a few years, but I
    16             MS. PARFITT: Objection.                      16 would have to go back and see what her work is.
    17             DR. THOMPSON: Object to form.                17 But, yes, I respect her. I respect everybody on
    18             THE WITNESS: It's my opinion                 18 this list.
    19     that I might be misleading a reader of my            19            But that's not the same thing as
    20     report to suggest that an NCI -- that                20 saying that this particular statement of the
    21     this particular NCI document is a policy             21 literature is in any sense definitive, in any
    22     statement of NCI, which it's not.                    22 sense a policy statement, and I think on its own
    23 BY MR. HEGARTY:                                          23 terms an informed reader would -- would not simply
    24     Q.     You cite to other material in your            24 take their categorization at face value.




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     1          As I said, I suspect that if you                 1     Q.     Do you know who the CDC is?
     2 asked the individuals who actually wrote this             2     A.     I do.
     3 article what they would advise their own patients,        3     Q.     Do you know who the SGO is, the
     4 I don't think "don't worry about it" would be the         4 Society of Gynecologic Oncologists?
     5 answer from all of them, but that's just my               5     A.     I never heard it with the acronym.
     6 professional opinion.                                     6 I've heard of the Society of Gynecologic
     7     Q.    Do you know any of the other                    7 Oncologists.
     8 individuals on this list?                                 8     Q.     Do you know who ACOG is, the
     9     A.     Hmm.                                           9 American College of --
    10          (Reviews document.)                             10     A.     I know who ACOG --
    11          I suspect I know who David                      11     Q.     -- Obstetricians and Gynecologists?
    12 Ransohoff's father was but, no.                          12     A.     Sorry to interrupt you.
    13     Q.     Did you contact any of these                  13          Yes, I know who ACOG is.
    14 individuals about the NCI PDQ?                           14     Q.     Did you review their list of risk
    15     A.     No.                                           15 factors for ovarian cancer?
    16     Q.     Did you even look at this editorial           16     A.     It's possible I did. I don't -- I
    17 board before preparing your report?                      17 don't recall. If I -- if I had been looking
    18     A.     No.                                           18 casually in my very initial investigations before
    19     Q.     And the board members, as it says in          19 deciding whether or not to offer an opinion in
    20 this document, represents -- represent the field         20 this case, ACOG would have been the household name
    21 of oncology, cancer prevention, cancer screening,        21 for me, and if I went to one place, that's where I
    22 hematology, radiology, urology, statistics,              22 would have gone. But I don't know that I found
    23 epidemiology, and economics, correct?                    23 anything.
    24     A.     That's what it says.                          24     Q.     Do you know that ACOG does not list
                                                     Page 191                                                  Page 193
     1     Q.    You don't represent any of those                1 talc as a risk factor for ovarian cancer?
     2 fields, correct?                                          2              DR. THOMPSON: Object to form.
     3              DR. THOMPSON: Object to form.                3              THE WITNESS: Again, I can't
     4              THE WITNESS: I certainly                     4      recall. All of this, you know, is in
     5      have expertise in cancer prevention from             5      some sense tangential to, you know, the
     6      the work I've done. I have expertise in              6      fundamental questions in my opinion.
     7      cancer screening from the work I've done.            7 BY MR. HEGARTY:
     8      I have some statistical expertise, some              8     Q.      Before being hired by the
     9      epidemiological expertise, and a whole               9 plaintiffs' lawyers to work on this case, you had
    10      lot of economic expertise.                          10 never written anything about talc, correct?
    11 BY MR. HEGARTY:                                          11     A.      Correct.
    12     Q.     Okay.                                         12     Q.      You never commented on talc,
    13     A.     Do I practice any of these as my              13 correct?
    14 dominant profession? No.                                 14     A.      Correct.
    15     Q.     Is it your contention that the                15     Q.      Before being hired by plaintiffs'
    16 editorial board members did not properly review          16 lawyers in this case, you had never written
    17 the medical literature to come to the statements         17 anything about any cosmetic product, correct?
    18 that they set out in the PDQ we marked as Exhibit        18              DR. THOMPSON: Object to form.
    19 No. 8?                                                   19              THE WITNESS: Anything that
    20              DR. THOMPSON: Object to form.               20      was solely a cosmetic product?
    21              THE WITNESS: I have no such                 21 BY MR. HEGARTY:
    22      opinion, and I think it is tangential to            22     Q.      Correct.
    23      my opinions in this case.                           23     A.      No.
    24 BY MR. HEGARTY:                                          24     Q.      Before being hired to testify on


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     1 behalf of plaintiffs in this case, you had never       1
                                                             activities and disclosure obligations,
     2 written anything about asbestos, correct?              2
                                                             and also about First Amendment claims
     3             DR. THOMPSON: Object to form.      3      involved in government regulation of
     4             THE WITNESS: That's probably       4      information.
     5     correct. I'd have to go see. I suspect     5 BY MR. HEGARTY:
     6     that in articles that I've written, I've   6      Q.    And my question is specifically as
     7     made references or comparative references 7 it relates to a cosmetic product.
     8     to asbestos litigation. It would be        8      A.    Again, it's not that I can recall in
     9     unavoidable given how much regulatory      9 the sense it would have been in passing.
    10     health and safety work I've done.         10      Q.    Have you ever written anything in
    11 BY MR. HEGARTY:                               11 the published medical literature or the literature
    12    Q.     I think we did a search for your    12 -- let me -- let me ask it a different way.
    13 name and asbestos and didn't come up with     13           Have you ever published an article
    14 anything.                                     14 or anything, any published document that talks
    15    A.     Good to know. Thank you. (Laugh). 15 about ovarian cancer?
    16    Q.     Do you recall ever talking about    16      A.    Hmm.
    17 asbestos in any article you've ever written?  17              DR. THOMPSON: Object to form.
    18    A.     I don't.                            18              THE WITNESS: Again, not that
    19             DR. THOMPSON: Object to form.     19      I can recall and probably not.
    20             THE WITNESS: I'm pretty sure      20 BY MR. HEGARTY:
    21     I've done it in passing because, as I     21      Q.    Have you ever spoken to an audience
    22     said, you know, if you're writing about   22 about talcum powder?
    23     sort of major product-related personal    23      A.    No.
    24     injury litigation, chances are you made   24      Q.    Have you ever spoken to an audience
                                                   Page 195                                               Page 197
     1      reference to asbestos. But if you can't           1 about asbestos?
     2      find it, then it may not exist.                   2      A.      No.
     3 BY MR. HEGARTY:                                        3      Q.      Have you ever spoken to an audience
     4     Q.     Have you ever written anything in            4 about heavy metals?
     5 the published literature about fragrance?               5     A.      No.
     6     A.     No.                                          6     Q.      Fragrances?
     7     Q.     How about heavy metals?                      7     A.      I have never spoken to an audience
     8     A.     No.                                          8 about fragrances.
     9     Q.     Have you ever written anything in            9     Q.      Have you ever spoken to an audience
    10 the published literature about the manufacturers       10 about ovarian cancer?
    11 who make cosmetic products? As it relates to           11     A.      In passing, yes.
    12 their manufacture of cosmetic.                         12     Q.      How have you done so in passing?
    13     A.     Oh. No.                                     13     A.      About -- so I would use ovarian
    14              DR. THOMPSON: Object to form.             14 cancer often as an example for my regulatory
    15 BY MR. HEGARTY:                                        15 theory classes on risk framing issues, and
    16     Q.     Have you ever written anything on           16 specifically telling the story of Gilda Radner's
    17 the development, manufacture, marketing, or sale       17 ovarian cancer and the misperception that many --
    18 of any cosmetic product?                               18 that the general public took away from that that
    19              DR. THOMPSON: Object to form.             19 ovarian cancer was somehow preferentially a
    20              THE WITNESS: Not that I can               20 disease of younger women when it's actually a
    21      recall. I have to answer it that way              21 disease of older women. So it would have been a
    22      because when we're talking about                  22 common anecdote I would use.
    23      marketing activities, I write a whole lot         23           I actually teach a whole lot about
    24      about relationship between marketing              24 cancer prevention and -- and cancer screening




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     1 tests in my regulatory theory classes every time I     1 but ovarian cancer, no.
     2 teach them.                                            2    Q.     You never treated a patient for
     3      Q.    Have you ever spoken to an audience         3 ovarian cancer, correct?
     4 about the causes of ovarian cancer?                    4    A.     I'm not sure of that, but it
     5      A.    No.                                         5 wouldn't have been the primary diagnosis.   I
     6      Q.    Have you ever taught any courses            6 probably have treated a patient who had prior --
     7 where talc was discussed?                              7 previously been diagnosed with ovarian cancer.
     8      A.    No.                                         8    Q.     My question, though, is: Have you
     9      Q.    Where asbestos was part of the              9 ever treated a patient for her ovarian cancer?
    10 course?                                               10     A.     No.
    11      A.    Again, not that I can recall, but          11     Q.     Have you ever treated a patient for
    12 it's a common example of, you know, I think           12 mesothelioma?
    13 probably in discussing Stephen Jay Gould's            13     A.     No.
    14 non-asbestos mesothelioma.                            14     Q.     Have you ever treated a patient for
    15      Q.    You're not an oncologist, correct?         15 peritoneal mesothelioma?
    16      A.    Correct.                                   16     A.     No.
    17      Q.    You're not a gynecologist, correct?        17     Q.     Have you ever diagnosed a patient
    18      A.    Correct.                                   18 with an asbestos-related disease?
    19      Q.    You're not an expert in the overall        19     A.     That's really interesting.
    20 field of ovarian cancer, correct?                     20          I did a lot of work at the Palo Alto
    21      A.    I'm not a clinical or molecular            21 VA hospital, and it was a World War II era patient
    22 expert, cellular expert in ovarian cancer, no.        22 base.
    23      Q.    You're not an expert on the risk           23          Not that I can recall.
    24 factors for ovarian cancer, correct?                  24     Q.     Do you know what asbestosis is?
                                                  Page 199                                                  Page 201
     1     A.     I evaluate risk factors in -- for           1     A.     Yes.
     2 cancer in a lot of the work I do.   So I haven't       2     Q.     Do you know what pleural plaques
     3 applied that expertise to ovarian cancer; but,         3 are?
     4 again, I reiterate that I'm not offering a medical     4     A.     I can -- I can imagine what pleural
     5 opinion or epidemiological opinion on causation.       5 plaques are. I don't -- don't know if I've used
     6     Q.     Can you cite for me the risk factors        6 that term in a clinical setting.
     7 for serous invasive ovarian cancer?                    7     Q.     Do you know what ferruginous bodies
     8              DR. THOMPSON: Object to form.             8 are?
     9              THE WITNESS: Off the top of               9     A.     Apparently not because I'll need you
    10      my head, no. I, you know, can suggest            10 to --
    11      that some of them have to do with parity.        11     Q.     Ferruginous bodies. Do you not?
    12      Some of them have to do with various             12     A.     Ferruginous? I do not.
    13      exposures. Some of them probably have to         13     Q.     If a woman needed to be evaluated
    14      do with family history.                          14 for a possible case of ovarian cancer, no one
    15              But I would have to look them            15 would refer them to you, right?
    16      up, as I would look up risk factors for          16     A.     That would be correct.
    17      pretty much anything.                            17     Q.     If someone did, you would refer them
    18 BY MR. HEGARTY:                                       18 to someone else, right?
    19     Q.     You never performed any research on        19     A.     With alacrity.
    20 ovarian cancer, correct?                              20     Q.     No one has ever sought out your
    21     A.     No.                                        21 consultation regarding a patient with ovarian
    22     Q.     You've never been the doctor who           22 cancer, correct?
    23 diagnosed a patient's ovarian cancer, correct?        23     A.     No one -- as we've established
    24     A.     I have diagnosed patients' cancers,        24 repeated -- repeatedly, I do not have an active




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     1 clinical practice.   I do not have sort of subfield     1     Q.    When is the last time you went to a
     2 specialization in gynecology or obstetrics or in        2 meeting of a medical society?
     3 oncology; but in the course of my teaching and          3     A.    Probably about three years ago and
     4 research and scholarly work, I encounter all of         4 sat in on a whole variety of interesting
     5 these diseases and tests, symptoms, risk factors        5 radiologic sessions, in addition to the one that I
     6 and, frankly, access to and cost of treatment.          6 spoke out on on policy issues.I have a basic
     7     Q.     You never came to the opinion that       7 principle that I don't just go in and out when I
     8 asbestos caused any patient's ovarian cancer,       8 speak, and I always sit and listen to things.
     9 correct?                                            9     Q.     Have you ever been involved in any
    10     A.     In this -- in this instance, I will     10 published article related to the female
    11 rely on multiple statements about asbestos as a    11 reproductive tract?
    12 risk factor for ovarian cancer, as for other       12     A.     No.
    13 cancers.                                           13             DR. THOMPSON: Object to form.
    14     Q.     No. My question is very specific.       14 BY MR. HEGARTY:
    15           You never came to the opinion that       15     Q.     In fact, you never published a
    16 asbestos caused any particular patient's ovarian   16 medical article, correct?
    17 cancer, correct?                                   17     A.     Not correct. I have published
    18     A.     That would follow directly from not     18 medical articles.
    19 having treated a patient for ovarian cancer.       19     Q.     You published medical article about
    20     Q.     You've never discussed the risk         20 the clinical practice of medicine?
    21 factors of ovarian cancer with a patient, correct? 21     A.     Yes. When I -- when I was in
    22     A.     Correct.                                22 medical school, I was lead author on articles
    23     Q.     You've never talked to a patient        23 about intensive care practice and about urologic
    24 about talcum powder use, correct?                  24 practice. They emphasized the outcomes and the

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     1     A.    Not -- not that I can recall.                 1 cost-related care choices.
                                                                                          They weren't
     2     Q.    Have you ever recommended to any          2 generating clinical practice guidelines, if you
     3 physician that they advise against talcum powder    3 will; but, yes, they are -- they were
     4 use?                                                4 fundamentally clinical articles.
     5     A.    No.                                       5     Q.     And none of those articles had
     6     Q.    Have you ever told anybody to stop        6 anything to do with the reproductive tract, female
     7 using talcum powder?                                7 reproductive tract, correct?
     8     A.    I certainly would now.                    8     A.     That's correct. I mean, obviously
     9     Q.    My question is: Prior to today,           9 the urologic article had to do with male
    10 have you ever told any person to stop using talcum 10 reproductive tract or reproductive organs.
    11 powder?                                            11     Q.     You're not an expert in talc,
    12     A.    No. I have evaluated mentally my         12 correct?
    13 own brief talcum powder use wondering.             13              DR. THOMPSON: Object to form.
    14     Q.    You don't belong to any medical          14              THE WITNESS: Could you ask
    15 organizations currently, do you?                   15      that in a way that I know what -- what
    16     A.    Yes.                                     16      piece of the discipline you're interested
    17     Q.    What medical organization do you         17      in?
    18 belong to?                                         18 BY MR. HEGARTY:
    19     A.    I'm an AMA member and have been          19     Q.     Well, would you call yourself an
    20 forever. I'm trying to think what else that would  20 expert in talcum powder?
    21 qualify as a medical organization. But, I mean,    21     A.     No.
    22 again, I'm a -- I'm an elected member of the       22              DR. THOMPSON: Object to form.
    23 National Academy of Medicine. So I think I have 23                 THE WITNESS: No.
    24 medical bona fides.                                24 BY MR. HEGARTY:




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     1    Q.       Would you call yourself an expert in        1    Q.      Have you ever conducted an
     2 asbestos?                                               2 epidemiologic study?
     3            DR. THOMPSON: Object to form.                3    A.      A lot of the research that I do uses
     4            THE WITNESS: No.                             4 the quantitative techniques that are common in
     5 BY MR. HEGARTY:                                         5 epidemiology.    I haven't done -- I haven't been an
     6    Q.     Can you name the 6 types of                   6 author or coauthor of something that is sort of a
     7 regulated asbestos?                                     7 primary epidemiological study.
     8            DR. THOMPSON: Object to form.                8    Q.      Have you ever published a review of
     9            THE WITNESS: Offhand, no. I                  9 epidemiologic evidence?
    10     can pronounce them, I believe, you know.           10     A.      No.
    11 BY MR. HEGARTY:                                        11     Q.      You're not an expert on the testing
    12    Q.     Can you tell me the difference               12 of -- of talc for the presence of asbestos,
    13 between an amphibole and a serpentine form of          13 correct?
    14 asbestos?                                              14              DR. THOMPSON: Object to form.
    15            DR. THOMPSON: Object to form.               15              THE WITNESS: Correct.
    16            THE WITNESS:                                16 BY MR. HEGARTY:
    17     Mineralogically, no. I know those are              17     Q.      You're not an expert in geology,
    18     two of the forms.                                  18 correct?
    19 BY MR. HEGARTY:                                        19     A.      Again, I have preparation and
    20    Q.     You know what the most commercially          20 interest in geology. So there are areas of
    21 used asbestos was?                                     21 geology that I have far more than lay credentials
    22            DR. THOMPSON: Object to form.               22 with respect to.
    23            THE WITNESS: I have read --                 23     Q.      Would you call yourself a geologist?
    24     read that. I don't recall.                         24     A.      No.
                                                   Page 207                                                   Page 209
     1 BY MR. HEGARTY:                                         1    Q.      You're not an industrial hygienist,
     2    Q.       Did you analyze the toxicities of           2 correct?
     3 asbestos across the various forms?                      3    A.      Correct, but, again, there is
     4              DR. THOMPSON: Object to form.              4 considerable overlap; but I have experience with
     5              THE WITNESS: No, but nothing               5 OSHA regulations and practices.
     6      in my opinion relates to my having done            6    Q.      You're not an expert in Johnson's
     7      any of this personally.                            7 Baby Powder, are you?
     8 BY MR. HEGARTY:                                         8             DR. THOMPSON: Object to form.
     9     Q.     You're not a toxicologist, correct?          9             THE WITNESS: I believe it
    10     A.     I am -- correct.                            10     was applied to me in early childhood but,
    11     Q.     You're not an expert in fragrances,         11     no.
    12 correct?                                               12 BY MR. HEGARTY:
    13     A.     Correct.                                    13     Q.    Do you know where Johnson & Johnson
    14     Q.     You're not a genesis -- geneticist,         14 has mined its talc for its Johnson's Baby Powder
    15 correct?                                               15 over the years?
    16     A.     I'm not a geneticist.                       16     A.    I have read that in connection
    17     Q.     Not a mineralogist, correct?                17 with -- with these issues. I had no prior
    18     A.     I took two geology classes in               18 knowledge of that.
    19 college, but I'm not a mineralogist.                   19     Q.    Do you know where Johnson & Johnson
    20     Q.     You've had no formal epidemiologic          20 currently obtains its talcum powder for its baby
    21 training, correct?                                     21 powder products?
    22     A.     I've had some epidemiologic training        22     A.    For the products it doesn't sell
    23 in medical school as, you know, consequence to         23 here? I don't know.
    24 receiving a medical school.                            24     Q.    Well, you understand that Johnson's


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     1 Baby Powder is sold outside the United States and    1 don't think I've ever spoken at one at the request
     2 Canada --                                            2 of a plaintiff's lawyer.
     3     A.     Correct.                                 3     Q.     Have you ever been personally
     4     Q.     -- correct?                              4 involved in litigation?
     5     A.     Correct.                                 5     A.     No.
     6     Q.     Do you know where Johnson & Johnson      6     Q.     Have you ever had any disciplinary
     7 sources its talc for those products?                7 action initiated against you?
     8     A.     Again, I read this in passing in the     8     A.     No.
     9 materials here.                                     9             MR. HEGARTY: You want to go
    10     Q.     Do you know what Johnson & Johnson's    10      ahead and take that break.
    11 testing protocols are for testing talc?            11             DR. THOMPSON: Sure.
    12     A.     I have read in the course of            12             MR. HEGARTY: Take a break.
    13 preparing this report a lot regarding testing      13      Let's go off the record.
    14 protocols and history of testing protocols and the 14             (Whereupon, at 12:03 p.m., a
    15 different methods and the different thresholds for 15      luncheon recess was taken.)
    16 detection, for sensitivities, you know, going --   16
    17 going back to the CIR J4-1 standard.               17
    18           This has all been very interesting       18
    19 to read and I've learned a lot about it, you know. 19
    20 So I -- I am glad to have that knowledge now and   20
    21 to use that as part of, you know, the material     21
    22 I've considered -- I've considered for these       22
    23 opinions.                                          23
    24           Before -- before becoming involved       24

                                                 Page 211                                               Page 213
     1 in this case, no, I had no knowledge about how       1             AFTERNOON SESSION
     2 Johnson & Johnson tested for asbestos.               2                         (12:52 p.m.)
     3     Q.     And do you still -- do you currently     3           WILLIAM M. SAGE, MD, JD
     4 today, as of today, do you know the protocols that  4 called for continued examination and, having been
     5 Johnson & Johnson uses in testing its baby powder 5 previously duly sworn, was examined and testified
     6 for the presence of asbestos?                       6 further as follows:
     7     A.     Again, I've seen references to these     7              EXAMINATION (CONTINUED).
     8 that were interesting to read. I couldn't --        8              MR. HEGARTY: We're back on
     9 couldn't tell you.                                  9      the record.
    10     Q.     With regard to ovarian cancer, are      10              (Document marked for
    11 you able to cite for me the subtypes besides       11      identification as Sage Exhibit 10.)
    12 serous?                                            12 BY MR. HEGARTY:
    13     A.     Again, no. I would look them up.        13      Q.    Dr. Sage, over the break there was a
    14 That would be true for most cancers.               14 copy made of your current curriculum vitae, which
    15     Q.     Do you know what the incidence rate     15 I marked as Exhibit No. 10.
    16 is of ovarian cancer in this country?              16           Would you tell me if Exhibit No. 10
    17     A.     I would only be guessing. Again,        17 is a copy  of your current curriculum vitae?
    18 this is sort of a fundamental aspect of expertise  18      A.    I will look to see if it has the
    19 is you don't really memorize a lot of things. You  19 current visiting positions on it.
    20 look things up.                                    20           Well, now we have the problem that
    21     Q.     Have you ever spoken at a seminar at    21 it only has the odd numbered pages in it.
    22 the request of a plaintiff's lawyer?               22              MS. PARFITT: Oh, great.
    23     A.     Hmm. I've spoken at many                23      Well, that was --
    24 conferences at the request of defense lawyers. I   24              MR. HEGARTY: All right.



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     1     Well, we'll -- we'll go ahead and replace              1 a copy in front of you.
     2     it at a break.                                         2            So do you have your report in front
     3              THE WITNESS: That could be a                  3 of you?
     4     yes.                                                   4     A.    I do.
     5 BY MR. HEGARTY:                                            5     Q.    If we look at paragraph 10 of your
     6     Q.     Okay.                                           6 report, you say in the middle of the paragraph as
     7     A.     Would it help you to work with the              7 far as what you -- your research included and what
     8 one I have?                                                8 your review included were "relevant corporate
     9     Q.     No. We'll go ahead. We need to                  9 documents requested of counsel."
    10 mark it for the -- for the record. The next break         10          Do you see that phrase?
    11 we'll get to it.                                          11     A.    Yes.
    12           Now, you mentioned the notice of                12     Q.    Are you saying that you specifically
    13 deposition.                                               13 asked for certain documents that were requested of
    14           Do you have a copy of that?                     14 counsel for plaintiff?
    15     A.     I do.                                          15     A.    I'm saying that apart from Facts
    16     Q.     What is the exhibit sticker on                 16 About Talc and other easily accessible corporate
    17 there?                                                    17 documents from public websites, I didn't have
    18     A.     The exhibit sticker is 6.                      18 access to corporate documents from the litigation
    19     Q.     No. 6.                                         19 that were relevant to the report; and I asked for
    20           You said you now had a chance to                20 as many of those as was feasible to be produced to
    21 read the 18 paragraphs in that exhibit?                   21 me.
    22     A.     I have.                                        22     Q.    And as best as you can, can you
    23     Q.     Did you provide to your counsel for            23 reconstruct for me the language you were -- you
    24 purposes of that notice all the materials that you        24 would have -- that you used in making that

                                                      Page 215                                                  Page 217
     1 have that are described in those paragraphs?               1 request?
     2    A.       Yes, absolutely.                               2     A.      I would have asked for -- sure, I
     3              DR. THOMPSON: And --                          3 can tell you.  Let me categorize that for you.
     4              THE WITNESS: I had -- I had                   4           So category 1, as I've said
     5      gone through this orally. I just had not              5 repeatedly, was making sure I had both sides of
     6      seen the document before.                             6 the litigation story. So if I had been receiving,
     7              MR. HEGARTY: And Dr. Thompson                 7 say, scientific studies that were generally
     8      had something to say.                                 8 supportive of the plaintiffs' case, I wanted to
     9              DR. THOMPSON: And just for                    9 know what was generally supportive of the
    10      the record, we filed objections to the               10 defendants' case, etc., etc., and the big picture
    11      production request.                                  11 of the litigation.
    12              MR. HEGARTY: And you've --                   12           Point 2 would be information related
    13      this is directed to Dr. Thompson.                    13 to Johnson & Johnson's regulatory compliance, or
    14              You produced the documents                   14 attitudes towards regulatory compliance, or
    15      that you considered were not                         15 contacts between the sort of drug side of the
    16      objectionable to the deposition notice?              16 business in a regulatory sense and the people who
    17              DR. THOMPSON: Correct.                       17 were responsible for decisions regarding
    18 BY MR. HEGARTY:                                           18 cosmetics.
    19     Q.      Doctor, I want to talk in more                19           And point 3 would have been because
    20 detail about your expert witness report.                  20 so much of my report is about the informational
    21           So I'm going to start walking                   21 environment and informational obligations, you
    22 through the paragraphs. So you might want to have         22 know, the sort of marketing strategy, branding
    23 that available. That's previously been marked as          23 strategies, changes in that, those sorts of
    24 Exhibit No. 4. Although I know you have your own          24 things. Some of which were provided to me in the




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     1 form of deposition transcripts.     Some of which may    1 end of the day I had everything I needed.
     2 have been, you know, exhibits to depositions.    I       2    Q.       In terms of the materials you do
     3 didn't track them in a formal way.                       3 have in front of you today, did you put any notes
     4     Q.      As you mentioned earlier, though,            4 or make any markings on any of them?
     5 you don't know the methods by which the attorneys        5     A.     In preparation for the deposition,
     6 for the plaintiffs went about selecting documents        6 yes.  In preparation of the report, no.
     7 in response to those requests, correct?                  7     Q.     I'm talking about specifically on
     8     A.      Correct.                                     8 materials you have in front of you.
     9     Q.      And you indicated previously that            9           Did you put any handwritten notes
    10 you have not done any type of quality control           10 into them?
    11 analysis yourself as to whether you did get all         11     A.     What I'm saying is -- so my own
    12 the documents that you were thinking you would get      12 report, in preparation for talking to you today,
    13 pursuant to these requests, correct?                    13 as you can see I have, you know, underlined things
    14              DR. THOMPSON: Object to form.              14 as reminders to myself --
    15              THE WITNESS: I felt I had                  15     Q.     Okay.
    16      the quality control analysis I needed to           16     A.     -- in particular areas. I have not
    17      do, which really had to do with issues             17 annotated any of the other materials.
    18      that appeared to be incompletely handled           18     Q.     We're on, I think, Exhibit No. 11.
    19      or issues that seemed to be not                    19 We'll designate for purposes of the deposition as
    20      documented at all.                                 20 Exhibit No. 11 the notebook we have in front of
    21              I didn't feel like I was, you              21 you. So we'll -- why don't we go ahead and make a
    22      know, looking for some type of smoking             22 copy of that after the deposition, okay?
    23      gun documents. Not the type of report              23     A.     Sure.
    24      that I'm producing.                                24              (Notebook marked for
                                                    Page 219                                                     Page 221
     1 BY MR. HEGARTY:                                          1        identification as Sage Exhibit 11.)
     2     Q.       Did you do any sort of formal task          2 BY MR. HEGARTY:
     3 where you intentionally looked for documents             3     Q.      And that would include any mark --
     4 yourself that thought you should have to see             4 the copies of any -- the copy of your report that
     5 whether you did get those?                               5 has some markings of yours on it, right?
     6            Do you follow my question where you           6     A.     Yeah.
     7 did some sort of quantitative or qualitative             7     Q.     Okay. I want to next look at
     8 analysis of the documents you were -- you received       8 paragraph 11 of your report. You say in paragraph
     9 to make sure that the methods used captured what         9 11 or paragraph 11 you reference -- you make a
    10 you were expecting to get?                              10 reference to highly profitable cosmetic -- "a
    11     A.       I follow your question.                    11 highly profitable cosmetic industry."
    12            I actually found that the deposition         12          Can you cite for me any information
    13 transcripts were in some ways a good guide to the       13 you have on the profits of companies making
    14 full scope of available information. I didn't try       14 cosmetics over the 80 years you talk about in
    15 to document them. I sort of made a practice of          15 paragraph 11?
    16 not doing marks and highlights and notes on             16     A.     So -- so if -- if I may just in
    17 things. It didn't seem practical to do so as            17 terms of how I organized the report because it
    18 opposed to just drafting the report as, you know,       18 would facilitate the conversation.
    19 in sections and leaving areas of it for further         19          The bolded unnumbered statements in
    20 development.                                            20 the discussion are how I organized the key points
    21            But I was -- I was quite                     21 of the report. Those are the major categories,
    22 comfortable. This was, again, you know, this            22 major insights, major conclusions and opinions. I
    23 skill of litigation is unfamiliar to me, and I was      23 just used the paragraph numbering sort of for
    24 working as best I could; but I felt like at the         24 convenience for the elaboration of those major




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     1 points.                                                1 published in a 1995 article by Carr.
     2           I asked whether any particular               2        Do you recall that?
     3 format was required by the court or by convention,     3  A.      If you could refresh my --
     4 and I was told no. So this was the approach that   4      Q.      Sure.
     5 I -- that I adopted. Just so in case if you        5      A.      -- recollection on that one.
     6 wanted to talk about the major points, they'll be  6                MR. HEGARTY: I'm going to
     7 in bold but not in numbered paragraphs.            7       show you what I've marked as Exhibit
     8            With respect to profitability and       8       No. 12.
     9 change in the industry, this statement was a       9                (Document marked for
    10 general statement consistent with statements that 10       identification as Sage Exhibit 12.)
    11 were made in sort of the FDA's own documents over 11 BY MR. HEGARTY:
    12 the last couple of years talking about the need   12      Q.      This is a 1995 article author C.
    13 for a more structured approach to cosmetic        13 Jeffrey Carr in the Journal of Regulatory
    14 regulation.                                       14 Toxicology and Pharmacology that summarizes a 1994
    15      Q.     So ultimately the reason I ask that   15 Workshop attended by FDA personnel, industry
    16 question is there's no citation to authority at   16 personnel, scientists, and academics.
    17 the end of this paragraph.                        17            Do you recall reading this article?
    18            So my question is: What authority      18 It is referenced in your materials.
    19 did you -- do you rely on for the statement --    19      A.      Yeah, that's what I was just going
    20 statements in paragraph 11?                       20 to take a look to see where -- where it is
    21               DR. THOMPSON: Object to form.       21 referenced.
    22               THE WITNESS: Again, I will          22            It is referenced.
    23       reiterate that there is no standard         23      Q.      So my question --
    24       citation protocol that I'm aware of for     24      A.      Yes, I recall --
                                                   Page 223                                               Page 225
     1      this type of report.                              1  Q.     -- do you recall reading this?
     2              This is a statement that              2      A.     Yes, I recall seeing this.
     3      synthesizes things that I have read from      3      Q.     And that article reported on a
     4      the FDA and from other commentators. All      4 two-day meeting that looked at the safety of talc
     5      of which has been produced to you as          5 in 1994, correct?
     6      material to be considered.                    6      A.     Correct.
     7 BY MR. HEGARTY:                                    7      Q.     You were not at this meeting, right?
     8     Q.     In making that statement, you did       8      A.     Correct.
     9 not look at any specific profitability statements  9      Q.     If you look at page 213 of this
    10 by any company, correct?                          10 article.
    11     A.     Correct.                               11      A.     Yes.
    12     Q.     Turning next to paragraph 13, you      12      Q.     On the -- in the right-hand column,
    13 refer to a list of 100, as you call, dangerous -- 13 first full paragraph beginning with the word --
    14 as is quoted "dangerous, deceptive, or worthless  14 the name "Dr. Gilbertson."
    15 products."                                        15            Do you see that paragraph?
    16           Talc was not on that list of hundred    16      A.     Yes.
    17 products, correct?                                17      Q.     The last line of that paragraph
    18     A.     I don't believe it was. This is a      18 says:
    19 historical reference, and I certainly wouldn't be 19            "In their joint evaluation, talc was
    20 stating that talc was. I don't know why it would  20 proven to be among the safest of all consumer
    21 have been.                                        21 products."
    22     Q.     You have referenced in your report     22            Do you see where I'm reading?
    23 and you made reference earlier to an FDA Workshop 23      A.     I do. That language jumps out at me
    24 in 1994 that ultimately whose results were        24 as -- as language that is often included in




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     1 Johnson & Johnson's marketing materials.             1    interesting for its value as scientific
     2     Q.     But do you dispute that as of the         2    truth.
     3 time of this meeting, 1994, that talc has proven   3               I tend to look at all of this
     4 to be among the safest of all consumer products? 4        type of material in any regulatory
     5             DR. THOMPSON: Objection.               5      context as telling a story. It's usually
     6      Form.                                         6      a very rich story about how regulators or
     7             THE WITNESS: I have no                 7      potential regulators and regulated
     8      particular reason to credit or doubt this     8      industries interact, including in such
     9      particular statement in this particular       9      workshops.
    10      journal at this time.                        10               So it is interesting and
    11             It -- as a statement, it              11      relevant,   but it is not going to be a
    12      carries no particular authority for me,      12      major aspect of my conclusion or reliance
    13      but I have no basis for doubting the         13      regarding the safety of talc.
    14      sincerity of the people who wrote it.        14 BY MR. HEGARTY:
    15 BY MR. HEGARTY:                                   15      Q.     If you would next turn over to page
    16     Q.     You agree that this article is         16 215 and look at the last line in the left-hand
    17 relevant to the analysis -- your analysis in your 17 column carried over to the top of the right-hand
    18 report, correct?                                  18 column. In particular, the sentence reads:
    19             DR. THOMPSON: Objection.              19           "Following the many issues raised by
    20      Form.                                        20 all presenters, the ensuing discussion generally
    21             THE WITNESS: I would -- I             21 agreed that, while some weak association between
    22      would agree in -- I would agree -- well,     22 talc and ovarian tumors has been reported, it was
    23      let me -- let me go back and begin that      23 not sufficient warning for concern."
    24      answer again.                                24           Do you see where I'm reading?
                                                 Page 227                                               Page 229
     1               I would reiterate that I'm not         1      A.     I do.
     2      offering an opinion as to causation. If         2      Q.     Again, that is a statement that's
     3      you are pointing to this as, at the time,        3 relevant to the safety of talc as of the time of
     4      a casual synthesis of international              4 this workshop, correct?
     5      standards with respect to the regulation         5              DR. THOMPSON: Object to form.
     6      of talc in consumer products, I would            6              THE WITNESS: Not
     7      say, yes, it's relevant.                         7      necessarily. It's -- it's a summary of
     8 BY MR. HEGARTY:                                       8      attendees' impressions of a particular
     9     Q.      You do -- you do address in your          9      workshop conversation. It carries the
    10 report within the context of your focus safety of    10      way that one would give that, which is
    11 talcum powder, correct?                              11      that at least in the opinion of the
    12     A.      Yes.                                     12      person writing this summary I don't
    13     Q.      The statement I just read concerns       13      know -- and we could, I guess, look up,
    14 the safety of talcum powder, correct?                14      you know -- the discussion was generally
    15               DR. THOMPSON: Objection.               15      -- generally not -- the discussions were
    16      Form.                                           16      generally unconcerned about talc safety
    17               THE WITNESS: Yes. It is in             17      at the time, but it's the discussions at
    18      an executive summary. It carries exactly        18      a conference.
    19      the weight that an executive summary of a       19 BY MR. HEGARTY:
    20      conference proceeding carries for me in         20     Q.     You said the discussions were
    21      all my work, which is, it is relevant.          21 generally unconcerned, or what did you say? I
    22      It is interesting. It may be more               22 didn't hear you.
    23      interesting for its presence in this            23     A.     Yes. I was actually giving you the
    24      particular document than it is                  24 answer that I suspect you wanted in that instance




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     1 is, yes, for the -- as reported by this observer               1 dispute that as of the time this publication was
     2 and published in this unreviewed executive summary             2 made, 1995, concerning a meeting in 1994, that
     3 of one conference that I'm sure was, you know,                 3 these were proper conclusions to draw from the
     4 convened with -- with decent scientific                        4 evidence, the two conclusions we read from this
     5 intentions, the discussions appeared to not be                 5 paper?
     6 terribly concerned about toxicity.                             6             DR. THOMPSON: Objection.
     7     Q.    You say "unreviewed."                                7     Form.
     8          You understand this is peer-reviewed                  8             THE WITNESS: These
     9 publication, right?                                            9     conclusions strike me as telling an
    10     A.    Executive --                                        10     incomplete story, and I wouldn't attach
    11             DR. THOMPSON: Objection.                          11     any particular scientific weight to
    12             THE WITNESS: -- summary --                        12     those, again, in the way that I would
    13             DR. THOMPSON: Whoa.                               13     sort of read a regulatory history and
    14     Objection.                                                14     make sort of expert judgments about a
    15             THE WITNESS: In my                                15     regulatory process.
    16     experience, executive summaries of                        16             I would say that as far as
    17     conference proceedings are not                            17     this particular conference goes, it
    18     peer-reviewed.                                            18     appears that the discussion did not
    19 BY MR. HEGARTY:                                               19     result in inducing a sudden regulatory
    20     Q.    Do you know with regard to this                     20     change. This was a conference, as I --
    21 document specifically whether it was                          21     as I recall, jointly sponsored by the FDA
    22 peer-reviewed?                                                22     by industry and by an International
    23     A.    I do not know, but it would be my                   23     Society of Regulatory Toxicology and
    24 professional view that anybody reading this                   24     Pharmacology, which I'm afraid I don't
                                                          Page 231                                                Page 233
     1 summary would not expect it to have been reviewed.             1      know anything about.
     2     Q.      Are you aware that there's a                       2              And, you know, in terms of
     3 transcript of the two-day proceedings?                         3      whether this particular topic -- whether
     4     A.      I hope so, yes. I am not aware of                  4      this particular topic, you know,
     5 that but...                                                    5      promoted, you know, sort of prompted
     6     Q.      Did you make a request for such a                  6      action that would dislodge the then
     7 transcript?                                                    7      prevalent regulatory standards, it
     8     A.      No.                                                8      appears not.
     9     Q.      You don't cite to this -- this                     9              But that's more what I would
    10 article substantively in your expert report,                  10      read this for. I don't -- I don't read
    11 correct?                                                      11      this document as, you know, authoritative
    12     A.      Correct.                                          12      science. It's a conference proceeding.
    13     Q.      Okay. From your analysis in this                  13 BY MR. HEGARTY:
    14 case, do you dispute that as of the time of this              14      Q.    Let's look at paragraph 15 of your
    15 conference the statements that we looked at on                15 report.
    16 these two different pages?                                    16           In that paragraph, you say a central
    17               DR. THOMPSON: Object to form.                   17 aspect of the federal cosmetics regulations are
    18               THE WITNESS: I don't think I                    18 "reliance on manufacturer and industry
    19      understood that question.                                19 self-regulation."
    20 BY MR. HEGARTY:                                               20           Where in the regulations for
    21     Q.      Sure.                                             21 cosmetics is the phrase "self-regulation"?
    22           In your analysis of what you did for                22      A.    It is clear from FDA's website. It
    23 purposes of this case, do you dispute -- or from              23 is clear from every major address that has been
    24 your analysis that you did in this case, do you               24 given either by the agency or, for that matter, by




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     1 representatives of the cosmetic industry that the              1      A.    Yes.
     2 principal form of governance of cosmetics is                   2      Q.    FDA may seek a seizure of cosmetics
     3 self-governance assigned to industry often in some             3 not in compliance with the law, correct?
     4 fairly -- I should say the manufacturers and                   4      A.    Yes.
     5 sellers -- often in very specific ways.                        5      Q.    FDA may initiate criminal action
     6          But, no, the word "self-regulation"                   6 against a person violating the law, correct?
     7 doesn't appear in the statute or the regulation.               7      A.    Through the Department of Justice,
     8 It does, interestingly, appear in the remarks and              8 yes.
     9 the characterization of the regulatory process                 9      Q.    FDA can also issue a warning letter
    10 from both the, you know, from the FDA and from the            10 if they think a product is adulterated or
    11 CFTA or successor organizations.                              11 misbranded, correct?
    12          This does not seem to be something                   12      A.    Yes.
    13 that is seriously contested by any party.                     13      Q.    FDA can also request that the
    14     Q.    You also state that FDA "lacks                      14 manufacturer recall a product, right?
    15 routine authority to assure the safety of cosmetic            15      A.    The recall, a voluntary recall,
    16 products or ingredients."                                     16 indeed, the FDA can request it. I could request
    17          That's not true, is it?                              17 it just as much.
    18             DR. THOMPSON: Object to form.                     18      Q.    If FDA asks for a recall of the
    19             THE WITNESS: That is true.                        19 product, most manufacturers comply with that
    20     They do -- they do not have routine                       20 request, correct?
    21     authority. There are foundational                         21      A.    Correct.
    22     pillars of food, drug, and cosmetic                       22              DR. THOMPSON: Objection.
    23     regulation in terms of adulteration and                   23 BY MR. HEGARTY:
    24     misbranding. There are some subsidiary                    24      Q.    FDA can also issue something called
                                                          Page 235                                                Page 237
     1      authorities.                                              1 a guidance document, right?
     2              But comparing FDA's drug                          2     A.     Yes.
     3      regulatory regime to what it would have                   3     Q.     And a guidance document is, like it
     4      to do in order to make a significant                      4 sounds, it sets forth FDA's thinking about a type
     5      effort to -- to verify the safety of                      5 of product or an ingredient, correct?
     6      cosmetics to prevent injuries, or even to                 6     A.     Yes. The resources available to do
     7      address injuries that would occur, is not                 7 this in the cosmetics domain are a tiny fraction
     8      what I would call routine authority.                      8 of the resource available to issue guidance
     9 BY MR. HEGARTY:                                                9 documents in, say, drug or device domains.
    10     Q.     Well, FDA can issue regulations that               10     Q.     And guidance document, while not
    11 require there to be a warning on a cosmetic,                  11 having the force of regulation, but it does tell
    12 correct?                                                      12 the industry very clearly what it should do in
    13     A.     Indeed.                                            13 regard to an ingredient, including what the
    14     Q.     If FDA makes a determination that a                14 contents of a warning should be, correct?
    15 cosmetic product is adulterated or misbranded FDA             15     A.     Not necessarily. The -- the FDA
    16 can take action, correct?                                     16 could issue a regulation that requires a warning.
    17     A.     Yes.                                               17 That would go through an extensive procedure
    18     Q.     FDA can work through the Department                18 regarding both issuance and evaluation and would
    19 of Justice to remove adulterated or misbranded                19 be subject to both formal and informal challenges.
    20 products from the market, correct?                            20           All of this -- all of these
    21     A.     Yes.                                               21 statements with which you've had me agree, some to
    22     Q.     FDA may request a federal court to                 22 having residual authority to having some strong
    23 issue a restraining order against the sale of a               23 pillars of obligation under the 1938 Act, which
    24 cosmetic, correct?                                            24 really I will, you know, convey as my expert




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     1 opinion are essentially informational obligations.       1                And I think this is something
     2 And there is a lot really -- and they really fall        2       that both FDA and the industry
     3 exclusively on the manufacturers with very                3      acknowledge and each of them alters their
     4 little -- with very little advanced safeguards,           4      feelings about it from time to time based
     5 with very little continuing oversight, and with           5      on familiar and predictable factors, and
     6 almost no self-executing recourse.                        6      that's one reason we have another major
     7          I would characterize the sort of                 7      bill in Congress at the moment.
     8 post-1938 cosmetic regime as very similar to the          8 BY MR. HEGARTY:
     9 pre-1938 drug regime.                                     9     Q.      The FDA has not issued any guidance
    10     Q.    Are you aware of situations where              10 document with regard to talcum powder products,
    11 FDA has issued a guidance document regarding             11 correct?
    12 warnings as it relates to a cosmetic?                    12     A.      I have not seen any -- any final
    13     A.    I believe I have seen those. None              13 guidance documents. You've shown me, you know,
    14 is immediately springing to mind, but, yes.              14 responses to Citizen's Petitions. I have shown
    15     Q.    In particular, do you recall FDA               15 you internal -- internal evaluations from the
    16 issuing a guidance document regarding certain            16 1990s.
    17 warnings that should be used on a product called         17     Q.      And you would expect that FDA knows
    18 alpha hydroxy acids?     Do you recall seeing it?        18 about lawsuits brought over the use of talcum
    19     A.     I recall seeing it. I don't recall            19 powder products, correct?
    20 the details right now.                                   20     A.      Of course.
    21     Q.     But using a guidance document in              21     Q.      And FDA knows about allegations of
    22 this sense is FDA's way of telling an industry           22 finding asbestos in talc, right?
    23 that a warning should be put on a label without          23               DR. THOMPSON: Object to form.
    24 going through the entire process of issuing a            24               THE WITNESS: Yes.
                                                     Page 239                                               Page 241
     1 regulation, correct?                                     1 BY MR. HEGARTY:
     2              DR. THOMPSON: Object to form.               2      Q.      FDA knows about epidemiology?
     3              THE WITNESS: If I may -- if                 3      A.      FDA has found -- let me supplement.
     4      I may make an analogy.                               4 I'm sorry to interrupt.
     5              The Federal Trade Commission                 5           FDA has found asbestos in talc and
     6      engages in competition advocacy all the              6 has requested voluntary recalls that have been
     7      time where it sends letters to state                 7 complied with by your client and others.
     8      legislatures and to state regulators and             8     Q.      And we'll get to that.
     9      to other parties suggesting that                     9           FDA knows about epidemiologic
    10      something they're doing is                          10 studies and toxicology studies involving talc and
    11      anticompetitive, attempting to influence            11 ovarian cancer, correct?
    12      them without the extreme measure of                 12              DR. THOMPSON: Object to form.
    13      filing an administrative action or a                13              THE WITNESS: Yes. I mean,
    14      federal lawsuit for a preliminary                   14      this -- we are kind of
    15      injunction.                                         15      anthropormophasizing FDA a little bit
    16              I do not think that FDA's                   16      here. I mean, we are -- FDA's cosmetic
    17      authority over cosmetics is that much               17      oversight function is an office within a
    18      greater than FTC's authority over                   18      Center that also deals with food safety.
    19      potentially anticompetitive, you know,              19              And in terms of rising to the
    20      state laws and practices.                           20      level where FDA will expend resources
    21              Yes, it carries a lot of                    21      given its relatively limited and -- and
    22      weight. It will be taken seriously.                 22      tentative regulatory authorities, you
    23      Sometimes it will be acted on, but the              23      know, I don't really know how to say what
    24      whole point is, it's not self-executing.            24      FDA knows.


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     1               FDA may know a lot of things            1 correct?
     2      in that it's on notice, but there may be         2     A.      Exact --
     3      many obstacles to FDA action.                    3              DR. THOMPSON: Objection.
     4 BY MR. HEGARTY:                                        4     Form.
     5     Q.      FDA has never issued a regulation          5             THE WITNESS: I exactly
     6 requiring that talcum powder products contain a        6     agree, but that is my point. These are
     7 warning about the risk of ovarian cancer, correct?     7     the two pillars of FDA authority.
     8     A.      Correct.                                   8     Because there is so little other
     9     Q.      FDA has never declared talc-based          9     authority conferred on FDA on the
    10 slide patterns to be adulterated or misbranded,       10     cosmetic side of the FDCA and such that,
    11 correct?                                              11     indeed, if FDA is committed to reaching a
    12               MS. PARFITT: Objection.                 12     result in case of something like asbestos
    13      Form.                                            13     being found in talcum-based baby powder,
    14               THE WITNESS: Correct.                   14     yes, it will make those findings because
    15 BY MR. HEGARTY:                                       15     that's how it goes to court and get the
    16     Q.      FDA has never --                          16     results it seeks.
    17     A.      I should -- may I correct that            17 BY MR. HEGARTY:
    18 statement?                                            18     Q.     You're aware that FDA has never
    19     Q.      Sure.                                     19 declared Johnson & Johnson talcum powder product
    20     A.      So in connection with finding             20 as being adulterated or misbranded?
    21 asbestos in talcum powder products, FDA has           21             DR. THOMPSON: Objection.
    22 stated, if not formalized, a conclusion that those    22 BY MR. HEGARTY:
    23 products are adulterated.                             23     Q.     You know that, right?
    24     Q.      Well, there's a particular                24             DR. THOMPSON: Object to form.
                                                  Page 243                                               Page 245
     1 formalized finding or statement that FDA makes if     1            THE WITNESS: Again, I would
     2 it finds a product adulterated or misbranded,         2    like to know what the statements were
     3 correct?                                            3      made in 2019. I've read this, without --
     4     A.     It makes such statements in              4      without reviewing those materials.
     5 anticipation of a judicial procedure that would     5      Because I know that there were statements
     6 result in the outcome it wants. If it can obtain    6      made that asbestos by the FDA or by FDA
     7 that outcome less formally, it will not go to       7      senior officials that asbestos in talcum
     8 those lengths.                                      8      powder would be an adulterant.
     9     Q.     FDA has never made the statement         9              Did they -- did the FDA make a
    10 that any talcum powder product manufactured by     10      formal declaration? I don't believe they
    11 Johnson & Johnson is adulterated or misbranded -- 11       did.
    12              DR. THOMPSON: Objection.              12 BY MR. HEGARTY:
    13      Form.                                         13     Q.     Has FDA ever issued a guidance
    14 BY MR. HEGARTY:                                    14 document suggesting that products containing talc
    15     Q.     -- correct?                             15 have a warning on them regarding ovarian cancer?
    16     A.     I'm not sure of that insofar as the     16     A.     Not to my knowledge.
    17 2019 voluntary recall was -- was made with a clear 17     Q.     If you look at paragraph 17 of your
    18 signal from the FDA that an unrecalled product     18 report, you say in paragraph 17 that "FDA itself
    19 would be considered adulterated and further steps 19 recognizes its limitations in effectively
    20 would be taken. That was certainly my -- my        20 regulating cosmetics."
    21 reading of what -- of the documents that I saw.    21           And those are your words, not FDA's
    22     Q.     You know that the terms                 22 words, correct?
    23 "adulterated" and "misbranded" are terms of art    23     A.     In paragraph 18, all of the quoted
    24 that FDA must use in order to take further action, 24 testimony, which is what continues to paragraph 17




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     1 thoughts, are FDA's words.                             1              (Document marked for
     2      Q.    My question is specifically as it           2      identification as Sage Exhibit 13.)
     3 relates to 17.                                         3 BY MR. HEGARTY:
     4           You cannot cite for me anyone from           4     Q.     And the first statement I want to go
     5 FDA stating that it has limitations -- using the       5 to that you left out of your report is over on
     6 words you use "limitations effectively regulating      6 page 1 at the bottom, and in particular,
     7 cosmetics"?                                            7 Ms. Mayne's testimony in this document that you
     8      A.    Both the Susan -- the Susan Mayne           8 did not cite says:
     9 testimony here, various statements from my             9           "We believe that most cosmetics on
    10 acquaintance, Scott Gottlieb, as commissioner have    10 the market of the United States are indeed safe,
    11 all been, you know, in -- consistent with that        11 and in our experience, most firms are responsible
    12 statement.                                            12 actors - they care about consumer safety and the
    13      Q.    Well, let's talk about what you say        13 reputation of their brands, and in those rare
    14 in paragraph 18 where you purport to provide          14 cases when safety issues do arise, many firms work
    15 relevant selected excerpts of the testimony of        15 with us cooperatively to address them."
    16 Susan Mayne, and I disagree that you did that and     16           You didn't include that statement,
    17 I'll show you why I disagree that you did that.       17 did you?
    18           And let me ask you first.                   18     A.     I completely -- I think that is a
    19           Is it your methodology -- was it            19 very well-crafted statement. I saw no reason to
    20 your methodology in your report to just cite          20 include that in this part of my report.
    21 portions of a document that help your subjective      21     Q.     The next statement you didn't
    22 review, your subjective view and not give the         22 include is the one that is right after that:
    23 reader an objective summary?                          23           "We also understand that most
    24              DR. THOMPSON: Objection.                 24 ingredients used in cosmetic products have been

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     1     Form.                                              1 used in cosmetics for many decades, and we are not
     2              THE WITNESS: The answer to           2 aware of safety concerns regarding most
     3     that accusation is, of course not. The        3 ingredients."
     4     elaborate -- the elaboration is that my       4          You didn't include that statement?
     5     point is the FDA recognizes its               5     A.    I did not.
     6     limitations.                                  6     Q.    If you look over to page 4 at the
     7              I would also comment that no         7 bottom of that page, second to last paragraph.
     8     head of an agency stands up and gives a       8          "FDA evaluates concerns about
     9     blanket condemnation of her or his own        9 ingredients or products based on currently
    10     work. It's simply not done.                  10 available science and data, much of which is
    11 BY MR. HEGARTY:                                  11 publicly available as FDA does not have authority
    12    Q.       Well, there are portions of          12 to require companies to provide it with safety,
    13 Ms. Mayne's testimony that are relevant that you 13 compositional and other relevant information about
    14 didn't tell the reader, aren't there?            14 cosmetics. FDA also supports and conducts
    15              MS. PARFITT: Objection.             15 research related to cosmetics safety to support
    16     Form.                                        16 our regulatory activities, as allowed by our
    17              DR. THOMPSON: Objection.            17 resources. What we have safety concerns about
    18     Form.                                        18 ingredients we will act swiftly to inform and
    19              THE WITNESS: If you would           19 advise consumers of any identified public health
    20     like to show me something, which I think     20 risks."
    21     you would.                                   21          You did not include that statement
    22              MR. HEGARTY: I'll show you.         22 in your report, did you?
    23     I marked next as Exhibit No. 13 the          23     A.    I did not. Though I do not think
    24     statement you cited from Susan Mayne.        24 anything you read is inconsistent with my




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     1 statement in paragraph 17 regarding limitations              1   THE WITNESS: Yes. Yes, its
     2 and effectively regulated cosmetics.                         2
                                                                2019 recall of talcum powder -- talcum
     3     Q.      And in the last line of that          3      powder products containing asbestos.
     4 paragraph -- I'm sorry -- page 4 says that:       4 BY MR. HEGARTY:
     5            "Ensuring the safety of cosmetics is   5     Q.     Besides that 2019 statement?
     6 a high priority for us."                          6     A.     Direct -- directly consumer -- to
     7            You didn't include that statement,     7 consumers, not to my knowledge.
     8 did you?                                          8     Q.     So you in your previous answer
     9     A.      I did not.                            9 indicated that there's somehow -- that this
    10     Q.      FDA has never identified any health 10 statement should somehow be taken with a grain of
    11 -- any public health risks with talcum powder    11 salt because she's a political appointee.
    12 products. True?                                  12           Is that what you're saying?
    13               DR. THOMPSON: Objection to         13              DR. THOMPSON: Object to form.
    14      form.                                       14              THE WITNESS: No, I'm sorry.
    15               THE WITNESS: Again, if we go       15      I was  thinking  out loud.
    16      to that internal guidance document, there   16              I concluded -- again, this is
    17      is concerning language there. And if we     17      verifiable.  I know that Susan Mayne
    18      go to the 2014 Citizen's Petition           18      retains the director -- directorship of
    19      response that we discussed earlier today,   19      the Center at present. I said I do not
    20      there's concerning language there.          20      know whether she's a political appointee
    21               So indeed FDA has expressed        21      or a career official. Could be either.
    22      its -- its doubts regarding safety.         22              No, that does not matter to my
    23 BY MR. HEGARTY:                                  23      answer.
    24     Q.      Well, FDA says in this document that 24 BY MR. HEGARTY:
                                                         Page 251                                                Page 253
     1 I just read that it will "act swiftly to inform              1     Q.    You just admitted that and FDA found
     2 and advise consumers of any identified public                2 a public health risk through the finding -- its
     3 health risk," right?                                         3 finding of asbestos -- in what it believes was
     4           And it has not done so with regard        4 finding of asbestos in a talcum powder bottle, it
     5 to talcum powder products.      True?               5 took action, correct?
     6     A.      With respect, this is a speech that     6              DR. THOMPSON: Object to form.
     7 a senior -- I'm not sure -- I would imagine -- I    7              THE WITNESS: I think -- I
     8 don't know if she's a career political appointee.   8      think we're -- we're diving down into the
     9 I would imagine she's career, but a senior          9      weeds when the essence of the opinions I
    10 official director of -- of an FDA Center is making 10      offer, you know, really -- really have to
    11 in Congressional testimony. This statement is      11      do with -- with the big picture.
    12 crafted to serve that role very effectively.       12              Everything that I have seen
    13           I have no basis in giving my expert      13      and read from a number of sources,
    14 opinions on Johnson & Johnson's lack of compliance 14      including sources from industry over a
    15 with the its regulatory and self-regulatory        15      large number of years, identifies
    16 obligations regarding why particular lines are in  16      cosmetics regulation as having very
    17 this statement. It strikes me as eminently         17      limited statute -- statutory authority,
    18 suitable and professional and appropriate for its  18      having very few directly self-executing
    19 moment.                                            19      regulations, having very little FDA
    20     Q.      Well, has FDA done anything to         20      supervisory oversight, and placing the
    21 inform and advise consumers of any public health   21      vast majority of the burden, really the
    22 risks with talcum powder products?                 22      exclusive burden, on manufacturers and
    23              DR. THOMPSON: Objection.              23      sellers.
    24      Form.                                         24              Such that I reject your


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     1      suggestions that FDA taking occasional           1   statements are not the relevant support
     2      action shows that they will take all          2      for the statement in paragraph 17.
     3      necessary action or that them refraining      3 BY MR. HEGARTY:
     4      from action means that there are no           4     Q.     Let's look paragraph 19.
     5      problems.                                     5           What is your reliance materials for
     6              That said, I am happy to              6 the statements that you make in that paragraph?
     7      support the notion that most consumer         7     A.     Most of the reliance materials come
     8      products that are sold in America are         8 from the collection of important, well-edited,
     9      sold by reputable companies trying to do      9 well-selected historical materials on cosmetics
    10      the best they can and turn out to be         10 regulation that are in the Hutt, Merrill, and
    11      safe. I certainly hope and expect that       11 Grossman legal casebook, which is the leading
    12      to be the case.                              12 casebook, you know. And I did some, you know,
    13 BY MR. HEGARTY:                                   13 subsequent, as we've discussed, you know,
    14      Q.     Let me go back to sort of where we    14 exploration of some of the things that are cited.
    15 started.                                          15 Some of the controversies that are described.
    16           You purported to say that you cited     16           Others come from statements that
    17 relevant excerpts of the testimony of Susan Mayne 17 have been made in the Congressional hearings that
    18 as it relates to any limitations on FDA's ability 18 are also cited more recently, but that postdate
    19 to regulate the industry, but you didn't cite the 19 the last edition of that casebook.
    20 portion of the statement that we just read that   20           And it's been -- as a -- as an
    21 says, if FDA has safety concerns, it will act.    21 expert in regulatory design and the regulatory
    22           Is it your testimony that that's not    22 process, I can say that the forces that have
    23 relevant to the points you were making in this    23 induced the cosmetics industry at different times
    24 part of your -- your report?                      24 to take different positions on the extent of

                                                 Page 255                                                    Page 257
     1             DR. THOMPSON: Objection.                  1 federal government oversight are familiar and
     2     Form.                                             2 predictable, and I would be happy to enumerate
     3             THE WITNESS: I will defend                3 them for you.
     4     not only the contents, but the structure          4    Q.      You in your report, as it relates to
     5     of what I wrote here. I have a paragraph          5 this paragraph, cite from no one at Johnson &
     6     that says the "FDA recognizes its                 6 Johnson commenting on federal safety regulations,
     7     limitations" and then I have quotes that          7 correct?
     8     support the recognition of the                    8              DR. THOMPSON: Object to form.
     9     limitations.                                      9              THE WITNESS: I cannot
    10             There might be another section           10      recall. Though I did observe when I
    11     of this or another report that talked            11      looked at the companies that are
    12     about the things that FDA does well or           12      supportive of the current
    13     right, but this is exactly what I think          13      Feinstein-Collins legislation that
    14     it should be to support the statements I         14      Johnson & Johnson is supportive of that
    15     made.                                            15      legislation.
    16 BY MR. HEGARTY:                                      16 BY MR. HEGARTY:
    17     Q.    You read the statements and I read         17     Q.     In looking at paragraph number 20,
    18 to you, and you intentionally chose to leave them    18 you cite the statements by the PCPC president.
    19 out of your report, correct?                         19           Do you know that he's not authorized
    20             MS. PARFITT: Objection.                  20 to speak for Johnson & Johnson, correct?
    21     Form.                                            21     A.     Well, he's --
    22             DR. THOMPSON: Objection.                 22              DR. THOMPSON: Object to form.
    23     Form.                                            23              THE WITNESS: I assume he's
    24             THE WITNESS: Those                       24      the former president because this is


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     1      historical material. If he's the current         1           What is the current number of FDA
     2      president, I was not aware of that.              2 personnel working in the Office of Cosmetics and
     3             Again, sort of following the              3 Colors?
     4      way that I construct -- constructed this         4     A.     I do not know.
     5      report, 19 is a general statement that is        5     Q.     What was -- what were the numbers of
     6      then documented in 20 and 21 and 22,             6 personnel working there between 2015 and 2020?
     7      showing changes of position.                     7     A.     I do not know. It is still a small
     8             But, yes, I would assume that             8 office.
     9      the president of the industry trade              9     Q.     What is the current budget for this
    10      association has never been authorized to        10 office for 2021?
    11      speak for Johnson & Johnson.                    11     A.     I have seen that number in passing.
    12 BY MR. HEGARTY:                                      12 But if we go -- go back to paragraph 18, the
    13     Q.     And he talks about and makes              13 direct quote from Susan Mayne, "our program for
    14 reference to "no unnecessary or burdensome           14 cosmetics is approximately $10 million," which is
    15 regulation." That's what you cite in your -- in      15 about 3 percent of just that one Center's annual
    16 your paragraph.                                      16 budget of $327 million. And, undoubtedly, if we
    17           Are you advocating in your report          17 were going to compare this to the drug or device
    18 that there should be unnecessary or burdensome       18 oversight budget, it would be a pittance.
    19 regulation on the cosmetic industry?                 19          I would also note in that connection
    20             DR. THOMPSON: Objection.                 20 if we want to talk about budgets, which I'm more
    21      Form.                                           21 than happy to do, that a major aspect of the
    22             THE WITNESS: No. (Laugh).                22 current Senate proposal is to institute user fees
    23 BY MR. HEGARTY:                                      23 on cosmetics companies, which is one way of
    24     Q.     Okay. So is it your testimony that        24 addressing the -- the budgetary challenges, very

                                                 Page 259                                                     Page 261
     1 it is wrong to not want unnecessary or burdensome     1 similar to what happened in the prescription drug
     2 regulation?                                           2 domain in the early 2000s.
     3               DR. THOMPSON: Objection.                3    Q.     In this part of your report, is it
     4     Form.                                             4 your contention that FDA has not brought
     5              THE WITNESS: I am citing his             5 regulatory action regarding talcum powder products
     6      position expressed in 1995, which differs        6 because its resources are limited?
     7      from the industry's position in 1998             7    A.      Would you ask that again, please?
     8      described in paragraph 21, which differs         8    Q.      Sure.
     9      from the 2012 position described in              9           Is it your contention as part of
    10      paragraph 22, and which almost certainly        10 this part of your report that FDA has not brought
    11      would differ from the position today as         11 regulatory action regarding talcum powder products
    12      representing the industry's equivocations       12 because its resources are limited?
    13      regarding a more aggressive federal             13              DR. THOMPSON: Objection.
    14      regulatory role.                                14      Form.
    15              I would also note that the              15              THE WITNESS: My contention
    16      1975 position regarding self-regulation         16      in this part of the report is to
    17      is that we will do this or perhaps give         17      emphasize the twin responsibilities of
    18      the appearance of doing this in order to        18      information disclosure and manufacturer
    19      forestall regulations, which in 1995            19      self-governance, substantiation of safety
    20      Mr. Kavanaugh, on behalf of the industry,       20      for products and for cosmetic products
    21      you know, in general opposed.                   21      and ingredients.
    22 BY MR. HEGARTY:                                      22              In this particular part of
    23     Q.     In paragraph 21, you make reference       23      this report, I'm not using this language
    24 to statements made as it relates to 1998.            24      to make a specific suggestion about



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     1      action or inaction regarding talc, but                 1 on Johnson's Baby Powder and Shower to Shower that
     2      indeed budgetary shortfalls causes             2 Johnson & Johnson has produced in this litigation,
     3      relatively little action in any cosmetic       3 correct?
     4      domain.                                        4     A.     Correct.
     5              MR. HEGARTY: Do you mind if            5     Q.     We've also established that you're
     6      we take a quick break?                         6 not an expert on the testing procedures for talc,
     7              DR. THOMPSON: Sure.                    7 correct?
     8              (Recess: 1:42 p.m. -                   8     A.     Correct.
     9              1:51 p.m.)                             9     Q.     In particular, there's a test that
    10              MR. HEGARTY: Okay. Let's go           10 is conducted on talc called XRD.
    11      back on the record.                           11           Do you know what XRD is? X-ray
    12 BY MR. HEGARTY:                                    12 diffraction?
    13     Q.      Okay. We are back on the record,       13     A.     If you take it away from the
    14 Doctor, and next paragraph I want to look at is    14 acronym, I understand what x-ray diffraction is.
    15 paragraph 26 of your report.                       15     Q.     You're not an expert in x-ray
    16     A.      Certainly.                             16 diffraction, correct?
    17     Q.      Actually, it's paragraph 27.           17     A.     No.
    18     A.      Okay.                                  18     Q.     You're not an expert in transmission
    19     Q.      You make the statement at the end      19 electron  microscopy,  correct?
    20 that Johnson's Baby Powder -- "Johnson & Johnson's 20     A.     Again, I know the difference between
    21 talcum powder products include other potentially   21 transmission and scanning electron microscopy;
    22 hazardous substances in varying amounts."          22 but, no, I'm not a transmission microscopist.
    23           What was your methodology for --         23     Q.     You're not an expert in polarized
    24 well, first of all, before I ask that.             24 light microscopy, correct?

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     1            What potentially hazardous                       1     A.     Correct.
     2 substances are you referring to in that paragraph?          2     Q.     You're not an expert in scanning
     3       A.    Again, just forgive me because I                3 electron microscopy?
     4 guess this should -- this should be evident, but,           4     A.     As I just said, no.
     5 again, to go to the structure of the report,                5     Q.     And before being contacted by
     6 there's a bolded statement about paragraph 27.              6 counsel for plaintiffs in this case, you had never
     7 Paragraph 27 basically introduces a series of               7 considered any of those testing procedures that we
     8 paragraphs that provide the detail on paragraph             8 just talked about, correct?
     9 27.                                                         9              DR. THOMPSON: Object to form.
    10            So those were the categories of                 10              THE WITNESS: I had never
    11 additional or incompletely specified or                    11      considered any of those testing
    12 potentially hazardous or hazardous substances that         12      procedures for talc. I have seen those
    13 either are or may be contained in talcum powder            13      testing procedures in use or read about
    14 products.                                                  14      them in use in various contexts over the
    15       Q.    And your methodology for making that           15      decades.
    16 conclusion was the review of the documents that we         16 BY MR. HEGARTY:
    17 talked about earlier in the deposition?                    17     Q.     If we look at -- well, let me back
    18       A.  Exactly.                                         18 up.
    19            DR. THOMPSON: A late object                     19           You had never prior to being
    20     to form.                                               20 contacted by plaintiffs' counsel commented in any
    21            MR. HEGARTY: That's okay.                       21 publication of yours or in any lecture or in any
    22 BY MR. HEGARTY:                                            22 class of yours on XRD, TEM, PLM, or SEM, correct?
    23    Q.     And we've already established that               23     A.     That is correct.
    24 you have not analyzed all of the testing documents         24     Q.     If we look at the next paragraph 28,



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     1 in that paragraph you refer to something called         1 consider asbestos, but geologically related in
     2 "platy talc" (indicates).                               2 terms of often being in the same deposits and at
     3           Do you know where that phrase is              3 least based on the IARC conclusions having similar
     4 ever cited -- can you cite to me where that phrase      4 health hazards to asbestos.
     5 is cited in any publication?                            5     Q.      You did not do a comprehensive
     6              DR. THOMPSON: Object to form.              6 analysis of the literature on talc fibers and
     7              THE WITNESS: I can't -- I                  7 ovarian cancer risk, correct?
     8      can't right now. I have seen                       8             DR. THOMPSON: Object to form.
     9      descriptions of it in various of the               9             THE WITNESS: I don't know
    10      documents that I have reviewed.                   10     that anybody has done a lot of that
    11              The attempt here was not to be            11     research because I think it's very hard
    12      exhaustive regarding terminology, but             12     to do given that talc has not been
    13      where there were a couple of phrases that         13     systematically assayed for fibrous
    14      seemed to be in common use for the same           14     content.
    15      substance, to put them in the same                15             But I think my -- my belief
    16      paragraph.                                        16     would be -- I guess my opinion would be
    17 BY MR. HEGARTY:                                        17     that to the extent that fibers are an
    18      Q.    Do you consider yourself an expert          18     inevitable component of a talc deposit,
    19 in IARC's processes and procedures for its review      19     that there can be some very significant
    20 of substances?                                         20     associations between talc fibers and
    21      A.    No.                                         21     ovarian cancer.
    22      Q.    You've never been involved in an            22 BY MR. HEGARTY:
    23 IARC proceeding, correct?                              23     Q.    You said that talc fibers are an
    24      A.    Correct.                                    24 inevitable component of talc. I think that's what

                                                   Page 267                                                       Page 269
     1     Q.    You've never before this report               1 you said.
     2 cited to an IARC Monograph in any document you          2A.    That's my --
     3 prepared, correct?                                      3Q.    What's your source -- what's your
     4              DR. THOMPSON: Object to form.         4 source for that statement?
     5              THE WITNESS: Not that I               5     A.    That's my understanding based on the
     6      recall.                                       6 documents. I, you know, can't say, you know, the
     7 BY MR. HEGARTY:                                    7 prevalence fiber count, the assays for talc
     8     Q.     You had not read the IARC monographs 8 fibers. In fact, the assays for asbestos seem to
     9 for talc not containing asbestiform fibers and     9 be contested and in flux, and there seems to be a
    10 asbestos prior to being contacted by counsel for  10 consensus, at least within the FDA, that there
    11 plaintiffs, correct?                              11 needs to be some improvement to those standards.
    12     A.     That is correct.                       12     Q.    You cite in this paragraph, that is
    13     Q.     Next paragraph 29 begins by            13 paragraph 29, to IARC's 2012 monograph.
    14 referring to something called "fibrous            14          That 2012 monograph nowhere uses the
    15 (asbestiform) talc."                              15 phrase "fibrous talc," does it?
    16           What is your definition of "fibrous     16             DR. THOMPSON: Object to form.
    17 (asbestiform) talc"?                              17             THE WITNESS: I would -- I
    18     A.     So my understanding is that talc       18     would have to review it. The -- the
    19 that doesn't have the flat morphology that makes  19     monograph on talc not containing
    20 it hydrophobic and generally, you know, useful in 20     asbestiform fibers -- hold on, figure out
    21 something like baby powder can exist in various   21     where we are -- is an evaluation of the
    22 fiber forms. And my review of the documents we 22        platy talc.
    23 described refers to that as often "fibrous" or    23             I reviewed all of this to see
    24 "asbestiform talc" distinct from what we would    24     how they were cabining the questions they


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     1     were asked, and I made sort of note of           1 asbestiform fibers?
     2     all of that for purposes of the report.          2     A.    It's the asbestiform fibers in talc
     3             I am not giving either geology           3 containing asbestiform fibers, to be precise.
     4     opinions or opinions on causation, but I         4     Q.    So you're defining for purposes of
     5     noted the conclusions in the later IARC          5 this paragraph talc containing asbestiform fibers
     6     regarding asbestos that -- that its              6 or -- I'm sorry.
     7     conclusions regarding asbestos would             7          You're defining in this paragraph
     8     equally apply to -- to what we'll call           8 asbestiform talc as talc containing asbestiform
     9     "fibrous talc" but to non-asbestos fibers        9 fibers, correct?
    10     occurring in otherwise platy talc.              10     A.    Those fibers in talc, yes. Again,
    11 BY MR. HEGARTY:                                     11 for my expert report, which we'll -- which draws
    12     Q.     You say in this paragraph 29 that:       12 regulatory obligation and self-regulatory conduct
    13          "Asbestiform talc is classified            13 conclusions from the presence in talcum powder
    14 alongside asbestos in a 2012 IARC Monograph as      14 products of asbestos and asbestiform fibers, I am
    15 carcinogenic to humans (Group 1) and causing        15 using the terms "asbestiform fibers," "talc
    16 ovarian cancer."                                    16 containing asbestiform fibers," and "fibrous talc"
    17             MR. HEGARTY: I marked as                17 to mean essentially the same thing.
    18     Exhibit No. 14 a copy of that 2012              18          If that is incorrect, I apologize,
    19     monograph. I didn't bring an extra              19 but it's also something that's much more relevant
    20     copy --                                         20 to, you know, a different expert's report than to
    21             DR. THOMPSON: That's all                21 mine.
    22     right.                                          22     Q.    For purposes of this part of your
    23             MR. HEGARTY: -- because I               23 report, you made reference to the expert report of
    24     couldn't carry it.                              24 Longo and Rigler that we mentioned earlier.

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     1              THE WITNESS: That was mine              1           Do you see that in paragraph -- in
     2      (indicates).                                    2 footnote 7?
     3              (Document marked for                    3     A.      Yes.
     4      identification as Sage Exhibit 14.)             4     Q.      Are you aware that they are paid
     5 BY MR. HEGARTY:                                      5 plaintiffs' experts?
     6     Q.     If you look over at page 219 of that      6              MS. PARFITT: Objection.
     7 monograph?                                           7      Form.
     8     A.     Uh-huh.                                   8              DR. THOMPSON: Objection.
     9     Q.     It says in the first paragraph            9      Form.
    10 towards the bottom:                                 10              THE WITNESS: Yes, I am.
    11           "The conclusions reached in this          11 BY MR. HEGARTY:
    12 Monograph about asbestos and its carcinogenic       12     Q.      Are you aware that they've been paid
    13 risks apply to these six types of fibres wherever   13 millions of dollars by the plaintiffs' lawyers in
    14 they are found, and that includes talc containing   14 the talc litigation?
    15 asbestiform fibres."                                15              DR. THOMPSON: Objection.
    16           Do you see that?                          16      Form.
    17     A.     Yes.                                     17              THE WITNESS: I do not know
    18     Q.     Are you equating or are you saying       18      their compensation.
    19 that what you're saying referring to in this        19 BY MR. HEGARTY:
    20 paragraph is talc containing asbestiform fibers?    20     Q.      Are you aware that they have not
    21              DR. THOMPSON: Object to form.          21 published their findings in any peer-reviewed
    22 BY MR. HEGARTY:                                     22 journal?
    23     Q.     In other words, are what you're          23              DR. THOMPSON: Objection.
    24 calling asbestiform talc, talc containing           24      Form.


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     1              THE WITNESS: I was not aware            1 report?
     2      of that.                                        2     A.     I don't recall, honestly.
     3 BY MR. HEGARTY:                                      3     Q.     Would you like to have seen such
     4     Q.     What did you do, if anything, to          4 expert reports if they exist?
     5 assess the validity of the findings of Drs. Longo    5     A.     I would be happy to consider them.
     6 and Rigler?                                          6     Q.     Did you ask for any defense expert
     7              DR. THOMPSON: Objection.                7 reports commenting on the processes and procedures
     8      Form.                                           8 and reliability of the findings of Drs. Longo and
     9              THE WITNESS: With reference             9 Rigler in their report?
    10      to asbestiform fibers in talc, the -- the      10     A.     On those, I don't believe I saw the
    11      way I approached a lot of the medical and      11 defense perspective. Though it may have been
    12      scientific evidence in formulating my          12 covered in the Health Canada submission from
    13      opinions involve looking for multiple          13 Johnson & Johnson or in similar documentation.
    14      consistent sources of the same                 14 Obviously, there was a lot of back and forth about
    15      information.                                   15 testing standards and the reliability of results,
    16              And certainly with respect to          16 and to the extent I needed to consider those to
    17      the presence of asbestos in talc, I saw        17 formulate my own regulatory opinions, I considered
    18      multiple consistent sources, of which the      18 them.
    19      Longo reports were only one.                   19     Q.     In paragraph 30, you refer to a
    20 BY MR. HEGARTY:                                     20 document you call "Hopkins 28."
    21     Q.     Do you have the expertise to             21           Do you see that?
    22 evaluate the testing that they did for its          22     A.     Yes.
    23 reliability?                                        23              MR. HEGARTY: I'm going to
    24              DR. THOMPSON: Objection.               24      mark as Exhibit No. 15 the Hopkins 28
                                                Page 275                                                Page 277
     1     Form.                                            1     document.
     2             THE WITNESS: I have the                  2             (Document marked for
     3      expertise to read descriptions of testing      3      identification as Sage Exhibit 15.)
     4      approaches, and insofar as there's             4 BY MR. HEGARTY:
     5      information presented about the                5     Q.     Does that look familiar to you?
     6      advantages or disadvantages compared to        6     A.     Yes, it does.
     7      other testing approaches, I can reach a        7     Q.     Do you know who created this
     8      general conclusion that would be at a          8 document?
     9      higher level than a layperson.                 9     A.     I believe I was told, but I can't
    10 BY MR. HEGARTY:                                    10 recall right now.
    11     Q.     Did you do anything independently to    11     Q.     Do you know that this document was
    12 assess the reliability of the findings reported in 12 created by plaintiffs' counsel in this case?
    13 the report by Drs. Longo and Rigler you cite here? 13              DR. THOMPSON: Objection.
    14     A.     Independently, no.                      14      Form. Misstates.
    15             DR. THOMPSON: Objection.               15              THE WITNESS: I don't know
    16      Form.                                         16      this. I mean, it's a -- it's a synthesis
    17             THE WITNESS: But they were             17      and it is an exhibit. It doesn't have
    18      consistent with -- at least specifically      18      any other markings on it that would tell
    19      with respect to asbestos content, they        19      me where it comes from.
    20      were consistent with other sources.           20 BY MR. HEGARTY:
    21 BY MR. HEGARTY:                                    21     Q.     Who is Hopkins?
    22     Q.     Were you provided with any expert       22     A.     I was told that, and right now at
    23 reports by Johnson & Johnson's experts as it       23 this point in this deposition I'm afraid I can't
    24 relates to commentary on Drs. Rigler and Longo's 24 -- I can't remember.




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     1           What I -- what I do remember about               1      independently confirm. This compilation
     2 this is that this was one of the confirmatory              2      was something that I looked at and
     3 sources of information about asbestos risk in --            3     thought about and discussed and saw the
     4 in baby powder products, and there was a                    4     defendants' position on.
     5 back-and-forth between, I guess, Mr. Hopkins and            5 BY MR. HEGARTY:
     6 defense experts as to whether these internal                6     Q.    You took this document at face
     7 Johnson & Johnson reports were actually asbestos            7 value, correct?
     8 or were not asbestos, using the standards that              8             DR. THOMPSON: Object to form.
     9 Johnson & Johnson applied.                                  9             THE WITNESS: I took this
    10           And I was also shown a subsequent                10     document as being an accurate list of
    11 document where I imagine it was Mr. Hopkins who            11     dates and internal testing and results.
    12 went back and responded to the defense's                   12 BY MR. HEGARTY:
    13 objections to certain characterizations, and I'm           13     Q.    If this document is inaccurate, you
    14 afraid that's the best I can do today in                   14 agree that that can affect your opinions in this
    15 remembering this particular document.                      15 case, correct?
    16     Q.     Did you cite that other document                16             DR. THOMPSON: Objection.
    17 that you called a responsive document in your              17             THE WITNESS: No, I don't
    18 report?                                                    18     think my -- my opinions, again,
    19     A.     No. I believe I was shown that                  19     considering the totality of the opinions
    20 responsive document subsequently to final --               20     and the other sources of evidence of
    21     Q.     Shown by -- I'm sorry.                          21     asbestos adulteration in baby powder
    22     A.     -- to finalizing the report.                    22     products, I don't think my opinions stand
    23     Q.     Shown by whom?                                  23     on or fall on this or any other single
    24     A.     Shown -- shown my plaintiffs'                   24     document.
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     1 counsel in a discussion about asbestos content.            1 BY MR. HEGARTY:
     2     Q.     This document makes reference to                2     Q.    Again, you make reference in this
     3 other exhibits.                                            3 paragraph to what we talked about earlier, the
     4           Did you review the documents that                4 report of Drs. Longo and Rigler.
     5 this exhibit references, the actual documents              5          Did you do any analysis yourself as
     6 themselves?                                                6 far as where they obtained the product that they
     7     A.     No.                                      7 tested and whose results they reported in this --
     8           It was evident that such documents        8 in this report?
     9 would exist because this was a compilation of       9     A.     No.
    10 documents.                                         10     Q.     You also make reference in this
    11     Q.     Do you see on the very first line of    11 paragraph, as you mentioned earlier, to FDA's 2019
    12 Exhibit or -- I'm sorry -- the line in Exhibit     12 testing.
    13 No. 28 that's dated a 5/9/1958?                    13           Do you see that?
    14           Do you see that line?                    14     A.     I'm sorry. I was taking a drink of
    15     A.     (Laugh). Unless we want to declare      15 water. Hold on.
    16 a brief recess for me to get a magnifying glass    16     Q.     That's all right.
    17 from my briefcase, I'm having trouble reading this 17     A.     Yes, of course.
    18 particular document.                               18     Q.     And did you actually review the
    19     Q.     Needless to say, though, you did not    19 testing document from the lab that FDA relied upon
    20 independently confirm whether any of the documents 20 to report that finding?
    21 that are referenced here actually show asbestos in 21     A.     I believe that document was
    22 Johnson's Baby Powder, correct?                    22 available. I most remember reviewing FDA's press
    23              DR. THOMPSON: Object to form.         23 releases and other public statements at the time
    24              THE WITNESS: I did not                24 of their testing and -- and their findings and




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     1 what became, thankfully, voluntary recalls of the        1 this being reported, correct?
     2 products involved.                                       2     A.    I am aware of -- of some of this
     3     Q.       Do you recall what type of asbestos         3 being reported, yes.
     4 FDA claimed to have found pursuant to its testing        4     Q.    Do you agree that the testing that
     5 results --                                               5 was done calls -- by Johnson & Johnson calls into
     6     A.     No.                                           6 question the accuracy of the FDA testing results?
     7     Q.     -- testing procedures?                        7             DR. THOMPSON: Objection.
     8     A.     No, I don't at the moment.                    8     Form.
     9              MR. HEGARTY: I'm going to                   9               THE WITNESS: I don't have a
    10      mark as Exhibit No. 16 a statement by              10      basis to agree with that.
    11      Johnson & Johnson of December 3, 2019.             11               If the FDA had retracted its
    12              (Document marked for                       12      findings, then I would have a basis; but,
    13      identification as Sage Exhibit 16.)                13      again, the core of my analysis is a
    14 BY MR. HEGARTY:                                         14      regulatory analysis, and I'm not offering
    15     Q.     Is this the first time you've ever           15      an expert opinion as to causation or as
    16 seen this?                                              16      to any particular set of -- of product
    17     A.     I was aware that Johnson & Johnson           17      tests.
    18 had done its own testing of a number of samples         18 BY MR. HEGARTY:
    19 and had found no asbestos using its standards. I        19     Q.      You did not make any reference to
    20 do think this is the first time I've seen this          20 any follow-up testing done by Johnson & Johnson in
    21 press release.                                          21 your report, correct?
    22     Q.     Do you see in this document                  22     A.      I don't believe so.
    23 number -- Exhibit No. 16 the third paragraph says       23     Q.      You also did not make reference to
    24 that:                                                   24 testing done by FDA in 2009 and 2010 of Johnson's

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     1          "The Company's investigation                    1 Baby Powder finding no asbestos, did you?
     2 included that the most probable root causes for          2         DR. THOMPSON: Object to form.
     3 the FDA's reported results were either test sample       3         THE WITNESS: My recollection
     4 contamination and/or analyst error at the AMA       4      of that -- and, you know, bear with me
     5 lab."                                               5      complicated topic -- is that those were
     6          Do you see where I'm reading from?         6      tests of a rather small number of
     7      A.    I just -- just one moment. I'm           7      samples; and, no, I did not make
     8 seeing -- I'm seeing a similar statement in the     8      reference to those.
     9 "Over the course of the investigation" paragraph.   9 BY MR. HEGARTY:
    10 Is that where you're reading from?                 10     Q.     Well, you made reference to the 2019
    11      Q.    I was reading from the third            11 testing by FDA.
    12 paragraph.                                         12           Why did you not make reference to
    13      A.    Oh.                                     13 the 2009 testing by FDA?
    14      Q.    The first page.                         14              DR. THOMPSON: Object to form.
    15      A.    Oh, I'm sorry, yes. Yes.                15              THE WITNESS: Because the
    16      Q.    Okay. And then do you see a couple      16      2019 testing resulted in regulatory
    17 paragraphs down where the statement notes that 155 17      action and rose to the level that was
    18 tests conducted by two different third-party labs  18      something widely reported and in my
    19 confirmed that there is no asbestos in that        19      opinion reliable.
    20 product?                                           20 BY MR. HEGARTY:
    21          Do you see that?                          21     Q.     Well, you mentioned a moment ago
    22      A.    I see that assertion.                   22 that you recall that the 2009 test results were of
    23      Q.    And you said prior to seeing this       23 a small number of samples.
    24 statement that you were aware at least of some of  24           Do you understand that the 2019 test


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     1 result was from a single bottle of Johnson's Baby    1          I'm not expressing an expert opinion
     2 Powder?                                              2 as -- as to who wins that particular argument; but
     3             DR. THOMPSON: Object to form.            3 if there is asbestos in baby powder in one bottle,
     4             THE WITNESS: I understand                4 it is unlikely that there is no asbestos in any
     5     that the positive result was a single            5 other bottle in an entire global production.
     6     bottle, but recall that if you're trying         6     Q.      That's not my question.
     7     to prove a negative and you test -- I'm          7            My question is: If -- under your
     8     making up a number -- five bottles of             8 standard if every test that has been done on
     9     baby powder and don't find asbestos,              9 Johnson's Baby Powder showed no asbestos, you
    10     that's not going to be evidence that no          10 would still not believe that that was sufficient
    11     bottle has asbestos.                             11 to prove that Johnson's Baby Powder doesn't have
    12             I suspect with regard to the             12 asbestos in it, correct?
    13     2019 testing that if we multiplied one           13             MS. PARFITT: Objection.
    14     asbestos-laden bottle out to the full            14             DR. THOMPSON: Object to form.
    15     number of bottles of baby powder that            15             THE WITNESS: My belief in
    16     Johnson & Johnson sold that year, I doubt        16      some sense is irrelevant here.
    17     that your client would -- would decide           17             I have documentary evidence of
    18     that, you know, we'd have to see how many        18      asbestos in baby powder and that is
    19     bottles -- was it 50 some that Johnson &         19      highly relevant to my regulatory
    20     Johnson -- that FDA tested?                      20      conclusions.
    21             But, I mean, if we -- if we              21             I have seen many documents
    22     divide your total production by 50 and           22      that cast doubt on the sufficiency of a
    23     multiply that number by 1 and said               23      long-time testing standard for asbestos
    24     that's -- that's how many asbestos-laden         24      in terms of actually determining whether
                                                 Page 287                                                    Page 289
     1       bottles of baby powder in the market, I        1      there is asbestos or, for that matter,
     2       don't think your client would be               2      asbestiform fibers in baby powder
     3       comfortable with that. You know, this is        3     products or has been over the years,
     4       not scientifically comparable, a negative       4     which has understandably produced in me
     5       finding in three bottles.                       5     some skepticism around negative findings.
     6               If we want to do positive               6             May not be applicable to these
     7       predictive value and negative predictive        7     particular assays because I can't weight
     8       value calculations, these two are not           8     the details on short notice, but I think
     9       comparable pieces of logic.                     9     I am no more demanding of Johnson &
    10 BY MR. HEGARTY:                                      10     Johnson than the law and the regulations
    11      Q.     Well, according to your analysis, a      11     expect me to be.
    12 negative finding in every bottle tested would        12 BY MR. HEGARTY:
    13 still not be enough under your standard to prove     13    Q.     You do not have the expertise to
    14 that talcum powder products don't contain            14 comment on how much asbestos exposure can cause
    15 asbestos, correct?                                   15 ovarian cancer, correct?
    16      A.     That --                                  16             DR. THOMPSON: Object.
    17               DR. THOMPSON: Object to form.          17             THE WITNESS: I do not, but
    18               THE WITNESS: That's                    18     there is a consensus among experts and
    19       incorrect.                                     19     regulatory authorities that the presence
    20 BY MR. HEGARTY:                                      20     of asbestos in consumer products is an
    21      Q.     How is that incorrect?                   21     adulterant and is hazardous to health.
    22      A.     The FDA used its laboratories and        22 BY MR. HEGARTY:
    23 its laboratory standards. Johnson & Johnson used     23    Q.     If you look at paragraph 31, you
    24 others and disagreed with the FDA's finding.         24 comment on fragrances.




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     1             And before being hired by                         1 BY MR. HEGARTY:
     2 plaintiffs, have you ever commented on fragrances             2     Q.     Does that exhibit look familiar to
     3 in a consumer product?                                        3 you?
     4     A.       I have never commented on                        4     A.     In passing, yes. I don't think I
     5 fragrances.                                                   5 spent much time looking at this.
     6     Q.       Your entire -- your sole reference               6     Q.     Did you look at the individual
     7 in this paragraph is to an expert report of                   7 documents from which this document was prepared?
     8 Dr. Crowley.                                                  8     A.     No. I just looked at the list of,
     9             Did you read that report in its                   9 you know, as presented here in the substances that
    10 entirety?                                                    10 were -- that were present in -- in these samples
    11     A.       In its entirety, no. I did look at              11 as a confirmation that indeed there are materials
    12 it, and the purpose of this is that consistent               12 here that in some instances, in some doses, in
    13 with current FDA requirements, fragrance-related             13 some exposures are known to have health hazards.
    14 disclosures for cosmetics are limited as a                   14           But I'm not making -- the same way
    15 fragrance being something that is often of great             15 I'm not offering an opinion as a scientific
    16 proprietary value to the company making the                  16 expert as to whether, you know, talcum powder
    17 product.                                                     17 exposure causes ovarian cancer, I'm not offering a
    18          I have -- I would have preference                   18 scientific opinion on the causal connection
    19 for greater disclosure of fragrance-related                  19 between any one of these particular ingredients
    20 ingredients, but the purpose of including                    20 and any particular health injury.
    21 paragraph 31 is that there are many ingredients in           21     Q.     Do you know who prepared this
    22 talcum powder products beyond what's listed on the           22 document?
    23 label.                                                       23     A.     I would assume this is also a --
    24     Q.     You did not do your own independent               24 well, actually, no, I don't know. I would
                                                         Page 291                                                      Page 293
     1 assessment of any risk associated with any of the             1 assume -- I would assume this is also a
     2 fragrances in Johnson's Baby Powder, correct?                 2 plaintiffs' exhibit or a plaintiffs' document, but
     3     A.    Correct.                                            3 I don't know.
     4     Q.    If you look over at paragraph 32 of                 4     Q.     And plaintiffs' lawyers provided you
     5 your report, you cite in that paragraph to a Pier             5 with this Exhibit Pier 47 and Hopkins 28, correct?
     6 Exhibit 47.                                                   6     A.     Yes, and this was, you know, in
     7          Do you see that?                                     7 response to my request about having metal content
     8     A.    Yes.                                                8 and other -- other potential contaminants or
     9     Q.    Who is Pier?                                        9 adulterants of -- of baby powder products.
    10     A.    I cannot recall.                                   10     Q.     Did you independently investigate
    11     Q.    What's her name? Do you know what                  11 any or independently assess the literature as it
    12 her name is? First name?                                     12 relates to heavy metals and the risk of ovarian
    13     A.    No.                                                13 cancer?
    14     Q.    Is she employed by Johnson &                       14     A.     I did not. I considered these risks
    15 Johnson?                                                     15 worth mentioning in light of the regulatory
    16     A.    I would have to go back and -- and                 16 obligations, but less certain in their hazardous
    17 look at the exhibits.                                        17 consequences than asbestos, which is why I would
    18     Q.    Did you read her deposition?                       18 sort of go back to the bold heading above all of
    19     A.    I can't recall.                                    19 these paragraphs which says "Contain or may
    20             MR. HEGARTY: I'm going to                        20 contain ingredients that pose health hazards to
    21     mark as Exhibit 17 the Pier exhibit that                 21 consumers."
    22     you cite in this paragraph.                              22     Q.     You did no independent assessment as
    23             (Document marked for                             23 far as whether there are heavy metals in Johnson's
    24     identification as Sage Exhibit 17.)                      24 Baby Powder, correct?




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     1      A.    Correct.                                      1     Q.    Does EPA allow levels of asbestos in
     2      Q.    You did no assessment, to the extent          2 drinking water?
     3 there are any such materials in Johnson's Baby           3              DR. THOMPSON: Object to form.
     4 Powder, as far as the extent of any such                 4              THE WITNESS: I do not know.
     5 materials, correct?                                      5 BY MR. HEGARTY:
     6      A.    In terms of concentrations and                6      Q.    If we look next at --
     7 overall prevalence and likelihood of exposure, no.       7      A.    I would say that, you know,
     8      Q.    You did not read any medical                  8 ingestation of asbestos has never been a root of
     9 literature as it relates to exposure to these            9 exposure that I have seen to be frequently
    10 heavy metals and cancer risk, correct?                  10 associated with a health hazard. It doesn't mean
    11              DR. THOMPSON: Object to form.              11 it couldn't be. Very similar in some ways to
    12              THE WITNESS: I can't -- I                  12 radon exposure.
    13      can't recall. It wouldn't have been --             13      Q.    If you look next at paragraph 42.
    14      it wasn't the focus of any of the                  14      A.    Yes.
    15      scientific literature that I reviewed.             15      Q.    What is your authority for the
    16      It might well have been mentioned in               16 definition of risk that you have in that
    17      passing.                                           17 paragraph?
    18 BY MR. HEGARTY:                                         18      A.    This is -- this is from my
    19      Q.    You reference -- or strike that.             19 longstanding expertise in risk regulation and risk
    20           There are monographs that refer to            20 assessment, and this -- this is a, I would say,
    21 these heavy metals.                                     21 majority view makes a distinction between risk and
    22           Did you review the monographs for             22 uncertainty. It is, again, a distinction that is
    23 these heavy metals by IARC?                             23 made for purposes of analysis and purposes of
    24      A.    Did I review an IARC heavy metal             24 regulatory action.

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     1 monograph?      Not in any detail and perhaps not at     1          It is -- it's not a matter of
     2 all. I can't recall.                                     2 scientific fact.  Most of this comes out of the
     3     Q.     If you look over next at paragraph            3 economics literature. Some economists use the
     4 39, you say that:                                        4 umbrella term "risk" to describe both known
     5           "Current literature suggests that              5 probabilities and unknown aspects of those
     6 there is no safe level of asbestos."                     6 probabilities.
     7           Do you see where I'm reading?                  7          I would say more economists do what
     8     A.     Yes.                                          8 I have done here and make a distinction for
     9     Q.     Do you understand that there are              9 discussion purposes between risk and uncertainty,
    10 background levels of asbestos in urban and other        10 and I think that that distinction is essential to
    11 areas of the United States?                             11 these opinions because there's a specific
    12              DR. THOMPSON: Object to form.              12 regulatory requirement, as you know, that
    13              THE WITNESS: I did not know                13 uncertainty be disclosed in connection with
    14      that. It would not surprise me.                    14 cosmetic safety.
    15 BY MR. HEGARTY:                                         15     Q.     If we look at paragraph 45, you say:
    16     Q.     In your -- I'm sorry. Go ahead.              16          "Both the risk and the uncertainty
    17     A.     I'm done.                                    17 must be disclosed under law."
    18     Q.     In your opinion, do background               18          First, to what law are you
    19 levels of asbestos in the air cause ovarian             19 referring?
    20 cancer?                                                 20     A.     So -- so with respect to cosmetics,
    21              DR. THOMPSON: Object to form.              21 you have these statutory pillars of adulteration
    22              THE WITNESS: I have no basis               22 and misbranding because you don't have that much
    23      for giving an opinion on that.                     23 more.
    24 BY MR. HEGARTY:                                         24          And then in terms of FDA regulation


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     1 that's in the CFR, you have both 740.1 part A in         1     A.     If you just give me a moment.
     2 terms of warning labels.  "Labels shall bear a           2           Yes.
     3 warning statement wherever necessary or                  3     Q.     Can you cite for me any Johnson &
     4 appropriate to prevent the health hazard that may        4 Johnson employee who has ever expressed the view
     5 be associated with the product." You know, "may          5 that there is risk and uncertainty regarding talc
     6 be associated" clearly encompasses risks.                6 and ovarian cancer?
     7           And then you have this really belt             7              DR. THOMPSON: Object to form.
     8 and suspenders and, I think, extremely important         8              THE WITNESS: I believe I
     9 provision of 740.10(a), which -- which emphasizes        9      have seen some documentation regarding to
    10 the manufacturer's independent obligation to            10      use a nonscientific term "queasiness" on
    11 adequately substantiate safety of -- of cosmetic        11      the part of Johnson & Johnson employees
    12 products and ingredients prior to marketing.            12      regarding the possibility that baby
    13           And then says that anything that has          13      powder is not safe applied perineally in
    14 not been adequately substantiated -- meaning we         14      terms of ovarian cancer risk.
    15 don't know what the -- the risks, or lack of            15              Is that a description of risk
    16 risks, are or the warnings or instructions that         16      and uncertainty? I think so, but you
    17 might accompany them -- has to bear this                17      might not.
    18 additional specified statement that the safety of       18 BY MR. HEGARTY:
    19 this product has not been determined.                   19     Q.     Do you cite that document in this
    20     Q.     Have you ever in any written                 20 report?
    21 document of yours prior to your expert report made      21     A.     No. In terms of corporate -- I make
    22 the statement that with regard to the cosmetic          22 no claims about corporate motive. And when I use
    23 statutes and regulations both the risk and              23 corporate knowledge, I'm really talking about
    24 uncertainty must be disclosed?                          24 notice, and there has been, you know, 50 years of

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     1             DR. THOMPSON: Object to form.                1 scientific literature raising concerns about
     2             THE WITNESS: No.                        2 various aspects of talc and its potential or
     3 BY MR. HEGARTY:                                     3 actual adulterants and cancer risk.
     4     Q.     Can you cite for me a statement by       4     Q.     You've never spoken to anyone at
     5 anyone in any publication prior to you writing      5 Johnson & Johnson regarding talcum powder
     6 your expert report where they said that with        6 products, correct?
     7 regard to the cosmetic statutes and regulations     7     A.     Correct.
     8 both the risk and uncertainty must be disclosed?    8     Q.     If we look over at paragraph 47, you
     9             DR. THOMPSON: Object to form.           9 state in the first line:
    10             THE WITNESS: Using those               10           "Johnson & Johnson's resistance to
    11      terms?                                        11 the presence in talcum powder products of fibrous
    12 BY MR. HEGARTY:                                    12 constituents that pose risk to human health is
    13     Q.     Correct.                                13 strikingly at odds with the factual history."
    14     A.     No, but those concepts, absolutely.     14           You say "Johnson & Johnson's
    15 The notion of a health hazard is a probabilistic   15 resistance." To whom at Johnson & Johnson are you
    16 determination and that is a risk, and the 740.10   16 referring to?
    17 obligation, which has been referenced in many      17     A.     I'm referring to the persistent
    18 settings over the years since the 1970s when it    18 unwillingness in the context that I have examined,
    19 was put into regulation, is uncertainty.           19 including this litigation, of Johnson & Johnson to
    20     Q.     You make the statement over on page     20 make any concession whatsoever regarding the lack
    21 7 that "Johnson & Johnson has known about risk and 21 of evidence of safety for its legacy product.
    22 uncertainty regarding talc and ovarian cancer for  22     Q.     Are you able to -- strike that.
    23 decades."                                          23           Are you commenting on any individual
    24          Do you see where I'm reading?             24 person's view or opinion at Johnson & Johnson in




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     1 your report?                                         1     that might be resulting from powder on
     2     A.     If we were to look at Facts About         2     gloves. One could have granulomatosis
     3 Talc, either the depository of documents or the     3      and other types of inflammation.
     4 consumer-facing reassurances, it makes no           4 BY MR. HEGARTY:
     5 concession even to uncertainty, which I actually    5     Q.      But you're also aware that the FDA
     6 find disappointing, frankly shocking, and directly  6 action was not based on any concern about cancer
     7 at odds with its regulatory obligations.            7 risk from particles on surgical gloves, correct?
     8     Q.     That didn't answer my question.          8               DR. THOMPSON: Object to form.
     9           Do you rely on any individual             9               THE WITNESS: I would be
    10 person's statements at Johnson & Johnson for any 10        interested in reviewing the details of
    11 of the statements in your report?                  11      that determination. I don't know for a
    12              DR. THOMPSON: Object to form.         12      fact that cancer was not a consideration,
    13              THE WITNESS: I would -- do I          13      but it certainly wasn't the most pressing
    14      -- again, I have considered statements of     14      consideration for surgical gloves.
    15      many employees. Do I cite any particular      15 BY MR. HEGARTY:
    16      individual or today do I recall the           16     Q.      Does corn starch present a risk of
    17      individual as being particularly              17 cancer?
    18      important to my conclusions? No.              18     A.      To my knowledge, no.
    19 BY MR. HEGARTY:                                    19           I believe the difference is that
    20     Q.     In paragraph 48, you state:             20 corn starch can cause acute but not chronic
    21           "Johnson & Johnson Laboratories          21 inflammation, and typically it's a chronic
    22 recognized the inflammatory effects of talcum      22 inflammatory process that's considered a
    23 powder in the peritoneal cavity."                  23 contributor to carcinogenesis.
    24           And you cite as support an article       24     Q.      If you look over at paragraph 52 of
                                                Page 303                                                Page 305
     1 by Eberl.                                            1 your report, you make reference there to the "J4-1
     2          Do you see that?                            2 method of asbestos detection."
     3     A.    Yes.                                       3           Do you see that?
     4     Q.    Did you find this article yourself         4      A.    I do.
     5 through any search you did?                          5      Q.    What is the J4-1 method?
     6     A.    No.                                        6      A.    The J4-1 method, based on the
     7     Q.    You know that that article makes no        7 documents I've reviewed, was an industry-based
     8 reference to cancer risk, correct?                   8 standard that was developed in part to forestall a
     9     A.    I do know. It has to do with talcum        9 more direct governmental or quasi-governmental
    10 powder on gloves and surgical inflammation.         10 standard setting process for asbestos testing.
    11     Q.    Are you aware that FDA has banned         11 And it has been apparently controversial in this
    12 any type of powder, including corn starch, on       12 litigation and other contexts of determining
    13 gloves?                                             13 whether something that is undetectable asbestos is
    14     A.    I am aware that those -- that powder      14 actually no asbestos.
    15 is not used on gloves. Again, surgical gloves are   15      Q.    What testing methods should be used
    16 not cosmetics and, yes, I do believe that was an    16 under the J4-1 method?
    17 FDA decision.                                       17              DR. THOMPSON: Object to form.
    18     Q.    And you know that Eberl and the FDA       18              THE WITNESS: I remember this
    19 decision was based on the potential for powder on   19      was light microscopy and some other
    20 gloves to cause adhesions or fibrosis               20      things. I don't remember the details
    21 post-surgery, right?                                21      right now. I've read the specifications,
    22             DR. THOMPSON: Object to form.           22      but I can't recall.
    23             THE WITNESS: I believe                  23 BY MR. HEGARTY:
    24      adhesions are one of several conditions        24      Q.    What's the level of detection


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     1 under -- of asbestos under the J4-1 method?           1 BY MR. HEGARTY:
     2              DR. THOMPSON: Object to form.            2     Q.    As far as what documents you did
     3              THE WITNESS: That was hard               3 review, those were documents provided to you by
     4      to assess from what I read because I read        4 plaintiffs' counsel, correct?
     5      correspondence with FDA and I believe            5     A.     Yes.
     6      some internal perhaps corporate documents        6     Q.     Did you make any specific requests
     7      that -- that talked about sort of one            7 for particular documents about the development of
     8      percent thresholds and half percent              8 the J4-1 method to plaintiffs' counsel?
     9      thresholds.                                      9     A.     No.
    10              And it was never actually               10     Q.     Paragraph 54 refers to or you make
    11      clear to me exactly what was being --           11 -- you make the statement in paragraph 54 that:
    12      what was being measured in those; but           12           "Condom manufacturers voluntarily
    13      there was, it seemed, some debate about         13 removed talc from their products because of
    14      whether those sensitivities were actually       14 ovarian cancer concerns."
    15      sufficient to declare some -- a talc --         15           And you cite in that at the end of
    16      talcum powder product asbestos-free with        16 that paragraph footnote 19, which is a document
    17      industry asserting that they were               17 PCPC MDL00062175.
    18      sufficient and others asserting they were       18           Do you see that?
    19      not.                                            19     A.     I see that.
    20 BY MR. HEGARTY:                                      20              MR. HEGARTY: I'm going to
    21     Q.     How does the J4-1 method compare to       21      mark as Exhibit 18 that very document you
    22 the method Johnson & Johnson employs to test its     22      cited there.
    23 talcum powder products?                              23              (Document marked for
    24              DR. THOMPSON: Object to form.           24      identification as Sage Exhibit 18.)
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     1              THE WITNESS: I do not -- I               1 BY MR. HEGARTY:
     2      do not know.                                     2     Q.    Can you show me in that document to
     3 BY MR. HEGARTY:                                       3 what you're referring to as support for the
     4     Q.     Is it your belief that Johnson &           4 statement you make in paragraph 54?
     5 Johnson uses only the J4-1 method to test its baby    5     A.     (Reviews document.)
     6 powder?                                               6           This is, as you know, a compilation
     7              MS. PARFITT: Objection.                  7 of papers. So it's -- unlike a single paper, it's
     8              DR. THOMPSON: Object to form.            8 very hard for me to review it quickly.
     9              THE WITNESS: I would assume              9     Q.     Okay.
    10      that Johnson & Johnson has advanced its         10     A.     So I would have to look through this
    11      detection methods beyond the J4-1 method        11 extensively for -- for that information.
    12      today.                                          12     Q.     Well, if you look over at page 15
    13 BY MR. HEGARTY:                                      13 and 16 and 17, there are references there to the
    14     Q.     Have you investigated that issue?         14 year of 1995, and you make reference to the year
    15     A.     Have I investigated that? No.             15 1995 in paragraph 54.
    16 Again, the discussion of the J4-1 method related     16           So which of those documents there
    17 for purposes of my opinion mostly to the             17 that include a date of 1995 did you rely upon to
    18 regulatory climate.                                  18 make the statement in paragraph 54?
    19     Q.     Do you believe you reviewed all the       19     A.     I can't identify one now. I can --
    20 documents that have been produced by all the         20 I can say that I discussed this particular
    21 companies in this litigation as it relates to the    21 statement and particular issues of the motivations
    22 development of the J4-1 method?                      22 and concerns with respect to talcum powder on
    23     A.     No.                                       23 condoms with plaintiffs' counsel to -- to verify
    24              DR. THOMPSON: Object to form.           24 that I had the correct information, but I can't




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     1                                                        1 obligations.
       say -- I can't find the cite for you right now.
     2                                                        2            It is my opinion that this website,
           Q.      Is your authority for that statement
     3                                                        3 which is very much consumer-facing and consumer
       plaintiffs' counsel?
     4                                                        4 reassuring, is part of the labeling, if not the
                     MS. PARFITT: Objection.
     5                                                        5 label, of talc containing baby powder.     Much of
            Form.
     6                                                        6 this being mooted by the fact that talc containing
                     DR. THOMPSON: Objection.
     7                                                        7 baby powder is no longer manufactured or sold in
            Form.
     8                                                        8 the United States and Canada, but, of course,
                     THE WITNESS: It did not
     9                                                        9 people outside there could access this website.
            occur to me that this was a controversial
    10                                                       10     Q.       My question is a little bit
            statement. I did my best to verify
    11                                                       11 different.
            through plaintiffs' counsel that it was
    12                                                       12            And my question is: Do you intend
            accurate because I want to make sure that
    13                                                       13 to testify in this lawsuit about the veracity,
            anything that I am putting in the report
    14                                                       14 which you know the definition of veracity, of
            is accurate. But --
    15                                                       15 Johnson & Johnson?
       BY MR. HEGARTY:
    16                                                       16     A.       I don't know the definition of
           Q.      Would you agree --
    17                                                       17 veracity for the purpose of this question.
           A.      -- in retrospect, I would certainly
    18                                                       18     Q.       Well, you know the definition of
       prefer to be citing a direct voluntary
    19                                                       19 veracity is the truthfulness, correct? You're a
       reformulation document or a scientific study
    20                                                       20 lawyer?
       rather than this particular footnoted timeline.
    21                                                       21     A.     Yes. Yes, if we were to say
           Q.      If we look over at paragraph 70.
    22                                                       22 (laugh).  I am a lawyer.
           A.      Are we back in my report?
    23                                                       23    Q.      Right. You are a lawyer. Let me
           Q.      Back in your report, paragraph 70.
    24                                                       24 back -- let me start my question again.
           A.      Sure.
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     1    Q.     You make several claims of Johnson &         1            You know as a lawyer what the word
     2 Johnson being untruthful.                              2 "veracity" means?
     3           Are you saying that Johnson &                3     A.      If are we using veracity as a
     4 Johnson is lying on the talc -- the safety -- the      4 synonym for accuracy?      It appears to me that your
     5 Facts About Talc website?                              5 question allies distinctions between Johnson &
     6     A.      I was not comfortable with the             6 Johnson's motivation and character and the
     7 representations to consumers that Johnson &            7 accuracy of information presented.
     8 Johnson made on that website with respect to           8           I am -- it would be part of my
     9 safety and purity, particularly the content and        9 testimony that the information presented is at
    10 tone that suggests that these questions about         10 odds with the required consumer-facing labeling of
    11 potential health hazards have been definitively       11 these products to be compliant with FDA
    12 resolved.                                             12 regulations.
    13           And my objections in the report are         13     Q.      Do you intend to testify about the
    14 most relevant to my conclusion that Johnson &         14 intent of Johnson & Johnson in regards to any
    15 Johnson has not complied with its disclosure          15 document and, in particular, the Facts About Talc
    16 obligations regarding safety not being                16 website?
    17 substantiated.                                        17     A.      No.
    18     Q.      Well, do you intend to testify in         18     Q.      Do you intend to talk about the
    19 this litigation about the veracity of Johnson &       19 motives of anyone at Johnson & Johnson as it
    20 Johnson as it relates to this website?                20 relates to talcum powder products?
    21     A.      I would testify about the content of      21     A.      No.
    22 this website and the ways in which this content is    22     Q.      Do you intend to testify that
    23 at odds with Johnson & Johnson's self-regulatory      23 Johnson & Johnson in setting up the Facts About
    24 obligations and their specific regulatory             24 Talc website did so to lie to the public about the




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     1 safety of talc?                                               1 contention that the Facts About Talc website
     2     A.     I am a student of institutions both                2 failed to provide a balanced discussion of the
     3 governmental and corporate in these regulatory                3 medical and scientific literature on the subject
     4 contexts. I am extremely interested in how a                  4 of talcum powder use and ovarian cancer?
     5 company as large and as experienced and as                    5              DR. THOMPSON: Object to form.
     6 accomplished as Johnson & Johnson has been in many            6              THE WITNESS: It's my opinion
     7 domains could, in my opinion, fall so far short of            7      that the Facts About Talc website,
     8 its obligations in this respect.                              8      insofar as it is accessible to and easily
     9           So would I offer a conclusion about                 9      findable by someone who's using Johnson's
    10 corporate motivation? No.                                    10      Baby Powder and wondering whether there
    11           Were I to be questioned on it, might               11      is risk or uncertainty, it is my position
    12 I offer thoughts about how this type of thing                12      that in that connection, the website
    13 might happen? I'm really shocked that this could             13      provides information that is at odds with
    14 happen and that at this juncture between what is             14      Johnson & Johnson's regulatory
    15 presented to consumers as a pure and proved safe             15      obligations.
    16 product and the science and the regulatory                   16 BY MR. HEGARTY:
    17 obligation is very disturbing to me, and indeed              17     Q.      Do you have any opinion as to -- is
    18 that's part of my report and would be part of my             18 it your opinion that the Facts About Talc website
    19 testimony.                                                   19 is not valid, fair and balanced?
    20     Q.     You state that the website omits any              20              DR. THOMPSON: Objection.
    21 suggestion of uncertainty with respect to the                21              THE WITNESS: We're not
    22 overall safety or carcinogenic risk of talcum                22      discussing Fox News. I do not see what
    23 powder products.                                             23      -- "fair and balanced" is not a phrase
    24           Do you see where I'm reading?                      24      that I think relates to --
                                                         Page 315                                                  Page 317
     1      A.      Yes. That was my read of the                     1 BY MR. HEGARTY:
     2 website as I encountered it personally.                       2     Q.     Okay. Let me use a different
     3     Q.     So your position is that a proper                  3 phrase.
     4 analysis of the issues of talc and ovarian cancer             4           That's not -- by the way, Fox News
     5 must include a discussion of all authorities on               5 doesn't own the term "fair and balanced," right?
     6 the issue, correct?                                           6     A.      They think they do, but we can leave
     7             MS. PARFITT: Objection.                           7 that aside.  (Laugh).
     8             DR. THOMPSON: Object to form.                     8      Q.     Well, is it your contention that the
     9             THE WITNESS: Would you                            9 Facts About Talc website is misleading because it
    10      repeat that?                                            10 doesn't include contrary scientific and medical
    11 BY MR. HEGARTY:                                              11 literature as it relates to the safety of talcum
    12     Q.     Sure.                                             12 powder products?
    13           So it's your position that a proper                13              DR. THOMPSON: Object to form.
    14 analysis of the issues of talc and ovarian cancer,           14              THE WITNESS: I'm doing my
    15 including as it relates to the Facts About Talc              15      best to answer the questions you're
    16 website, should include a discussion of all the              16      asking.
    17 authorities on the issue, correct?                           17              My -- my position is that,
    18             DR. THOMPSON: Object to form.                    18      first of all, the Facts About Talc
    19             THE WITNESS: I am failing to                     19      website omits any disclosure of
    20      see the connection between this question                20      uncertainty, which is a specific
    21      and prior questions. So I think I don't                 21      regulatory obligation, and, frankly, is
    22      know how to answer it.                                  22      so conclusory that it might even negate
    23 BY MR. HEGARTY:                                              23      some other statement about an uncertainty
    24     Q.     Well, is it your statement --                     24      that Johnson & Johnson might make.


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     1 BY MR. HEGARTY:                                               1      uncertainty.
     2     Q.     Have you read the JAMA O'Brien 2020                2              The only way to -- the only
     3 article on talcum powder and ovarian cancer?                  3      disagreement -- well, the only difference
     4     A.     I am pretty sure I have, but I would               4      of opinion in terms of risk and
     5 love to be refreshed on any one of these.                     5      uncertainty is whether uncertainty is
     6     Q.     You don't comment about that in your               6      subsumed in risk in the -- in the
     7 report, do you?                                               7      economics literature.
     8     A.     Again, presumably, you're asking me                8              Once one teases the two things
     9 this because I -- because I don't.                            9      out, I mean, if we could put it in the
    10           My -- my comments on the -- on the                 10      national defense context and talk about
    11 scientific literature go through a timeline and              11      the known unknowns and the unknown
    12 looking at key studies, but I do believe I've seen           12      unknowns, but the uncertainty is the
    13 that. I'd love to see it again if you want to                13      central regulatory obligation of 740.10.
    14 show it to me.                                               14              So I don't need more authority
    15     Q.     If you look at paragraph 71 of your               15      than it's explicit in the regulation.
    16 report, is your only authority for the statements            16 BY MR. HEGARTY:
    17 you make what you cite at the end "21 CFR 740.1 et           17     Q.     My question is a little bit
    18 seq."?                                                       18 different. Listen to my question, Doctor.
    19     A.     So it is a combination of the nature              19           Is the word "uncertainty" used
    20 of cosmetics regulation compared to, say, the                20 anywhere within 21 CFR 740.10 or anywhere in the
    21 nature of drug regulation, and a central aspect of           21 cosmetic regulations?
    22 my analysis and opinions is that these two                   22              MS. PARFITT: Objection.
    23 regulatory regimes are quite different.                      23              DR. THOMPSON: Objection.
    24           Mostly because in the -- in terms of               24      Form.
                                                         Page 319                                                  Page 321
     1 drug authorities, FDA's role, its preventive role             1            THE WITNESS: No.
     2 and all of its regulatory authorities are far more            2 BY MR. HEGARTY:
     3 detailed, far more self-executing, and are much               3    Q.     For Johnson's Baby Powder, when
     4 more consistent with a compliance mind-set among              4 should it have carried a risk of a warning -- when
     5 the regulated entities.                                       5 should it have carried a warning of a risk of
     6           Whereas, for cosmetics regulation,                  6 ovarian cancer?
     7 the principal obligations are informational and               7              DR. THOMPSON: Object to form.
     8 virtually all of the requirements are for                     8              THE WITNESS: I think, at a
     9 self-regulation that results in safe products.                9      minimum, by the early 1970s, it should
    10     Q.     Can you cite for me any authority                 10      have carried a -- a warning of a
    11 saying that there is a low threshold for                     11      potential health hazard. That was
    12 disclosure risk?                                             12      informed by what was already worrisome
    13     A.     That is my conclusion based on the                13      literature on ovarian cancer risk.
    14 lack of offsetting benefit for cosmetic, and that            14 BY MR. HEGARTY:
    15 is -- and that's an established position in the              15     Q.      Should a cosmetic manufacturer warn
    16 literature, but I don't cite specifically.                   16 of a risk that does not exist?
    17     Q.     And you already told us that you                  17              DR. THOMPSON: Object to form.
    18 cannot cite any authority in the regulatory                  18              THE WITNESS: Again, a risk
    19 setting that uses the word "uncertainty" when it             19      is a known probability. If the known
    20 comes to the labeling of cosmetics, correct?                 20      probability is zero, then there is no
    21              DR. THOMPSON: Object to form.                   21      risk and there's no warning obligation.
    22              THE WITNESS: Disagree in                        22 BY MR. HEGARTY:
    23      that the 740.10 obligation is about                     23     Q.      Likewise, is a cosmetic -- is a
    24      safety not being determined, which is                   24 cosmetic manufacturer required to warn about a




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     1 health hazard that does not exist?                       1
                                                                       discussing and the reason we're here,
     2             DR. THOMPSON: Object to form.                2
                                                                       there are many, many scientific studies
     3             THE WITNESS: So to answer                    3
                                                                       that show non- -- non-1 confidence
     4     these questions, best -- best to use the             4
                                                                       intervals that -- that raise, I think,
     5     actual regulatory language. So we can --             5
                                                                       indisputable concerns about possible
     6 BY MR. HEGARTY:                                          6
                                                                       health hazards which means
     7     Q.     Well, do you need regulatory                  7
                                                                       nonsubstantiation for safety.
     8 language to say?                                         8
                                                                               Is there a definitive
     9     A.     Yes. Actually, when one is                    9
                                                                       hierarchy? No, and it's going to be
    10 paraphrasing an obligation, yeah.                       10
                                                                       depend on context. But, you know,
    11           So, you know, talks about "necessary          11
                                                                       something that has never been
    12 or appropriate to prevent a health hazard that may      12
                                                                       studied that nobody is really thinking,
    13 be associated with the product."                        13
                                                                       much substantiation -- and there's no
    14           So if you are saying that there is            14
                                                                       suggestion that there's an injury,
    15 no probability, no possibility that a health            15
                                                                       substantiation for safety may be
    16 hazard may be associated with a product, then           16
                                                                       accomplished in a relatively
    17 there is no warning obligation.                         17
                                                                       straightforward way.
    18     Q.     Okay. If you look over at paragraph          18
                                                                               But when we have good science
    19 77.                                                     19
                                                                       that shows a possible increased risk of a
    20     A.     Uh-huh.                                      20
                                                                       substantial degree for a fatal disease
    21     Q.     You talk about 740.1 in that                 21
                                                                       and we have this repeatedly over decades,
    22 paragraph, correct?                                     22
                                                                       I don't think it's seriously in doubt
    23     A.     Correct.                                     23
                                                                       that -- that talcum powder products
    24     Q.     Can you cite for me any published            24
                                                                       haven't been substantiated for safety.
                                                    Page 323                                                      Page 325
     1 authorities that identify the studies that must be       1 BY MR. HEGARTY:
     2 done to adequately substantiate the safety of a          2     Q.    Listen to my question. That's not
     3 product?                                                 3 what I asked you, Doctor.
     4             DR. THOMPSON: Object to form.                4          You make reference to the 740.10(a)
     5             THE WITNESS: I'm sorry. I                    5 and talk about that "each ingredient used in a
     6     think -- I think that the paragraph -- I             6 cosmetic and each finished cosmetic product shall
     7     thought you said paragraph 77, which is              7 be adequately substantiated for safety prior to
     8     about --                                             8 marketing."
     9 BY MR. HEGARTY:                                          9          My question is: Is there a written
    10     Q.    I'm sorry. 78.                                10 published standard for what a manufacturer must --
    11     A.    All right.                                    11 for what tests a manufacturer of a cosmetic must
    12     Q.    Look at paragraph 78.                         12 do to substantiate the safety of that product
    13     A.    Sorry about that.                             13 before marketing?
    14     Q.    Can you cite for me any published             14     A.    My opinion is that substantiation
    15 authority that identifies the study that must be        15 for safety is contextual, and that there have been
    16 done to adequately substantiate the safety of a         16 statements from time to time in particular
    17 cosmetic product?                                       17 contexts, but nothing that I regard as definitive.
    18             DR. THOMPSON: Object to form.               18     Q.    The manufacturer must assess the
    19             THE WITNESS: There are, I                   19 studies and determine if the cosmetic safety is
    20     believe, documents that nondefinitively             20 substantiated, correct?
    21     and nonexclusively and noncomprehensively           21    A.    Correct.
    22     suggest the sorts of things that could              22    Q.    You understand that Johnson &
    23     build into substantiation for safety.               23 Johnson has repeatedly done so as to Johnson's
    24             But remember what we've been                24 Baby Powder, Shower to Shower, correct?




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     1              DR. THOMPSON: Object to form.                 1            DR. THOMPSON: Object to form.
     2              THE WITNESS: I understand                     2            THE WITNESS: I don't believe
     3      those are Johnson & Johnson's conclusions             3     Johnson & Johnson has done that.
     4      from the studies that it has done.                    4 BY MR. HEGARTY:
     5              It is also my understanding                   5     Q.    You disagree with Johnson & Johnson,
     6      that Johnson & Johnson has not                        6 correct?
     7      participated actively in efforts to                   7     A.    Correct.
     8      further study its product.                            8            DR. THOMPSON: Object to form.
     9              If we're just talking -- if                   9 BY MR. HEGARTY:
    10      we're talking only about asbestos, that's            10     Q.    You're making your own subjective
    11      one piece of this. If we're talking                  11 judgment on whether safety has been substantiated,
    12      about the overall connections between                12 correct?
    13      talc -- perineal use of talcum powder                13            DR. THOMPSON: Object to form.
    14      products and ovarian cancer, it goes way             14            THE WITNESS: No. I am making
    15      beyond asbestos testing.                             15     an expert determination based on many
    16 BY MR. HEGARTY:                                           16     scientific determinations and compendia
    17     Q.      Well, you have reviewed, as we                17     and other regulatory judgments that raise
    18 talked earlier, about the 2020 Johnson's Baby             18     persistent and serious questions about
    19 Talcum Powder: A Comprehensive Review document            19     substantiation for safety, such that, no,
    20 dated March 17, 2020, correct?                            20     I do not believe that substantiation for
    21     A.      Yes.                                          21     safety has occurred.
    22     Q.      That's the last document in the               22            And I conclude that the 740.10
    23 notebook you have in front of you, correct?               23     obligation of disclosure of uncertainty
    24     A.      Correct.                                      24     is operative.
                                                      Page 327                                                    Page 329
     1     Q.    And you -- have you reviewed the                 1 BY MR. HEGARTY:
     2 testimony of Johnson & Johnson's chief medical             2     Q.    And you think that a jury should
     3 officer, Dr. Kuffner?                                      3 believe you over Johnson & Johnson where you first
     4     A.    I did not read that -- if that was               4 started looking at this issue three months ago; is
     5 deposition testimony, I did not read that                  5 that correct?
     6 deposition in detail.                                      6            DR. THOMPSON: Objection.
     7      Q.     You understand that Johnson &          7             THE WITNESS: I think juries
     8 Johnson currently and has always concluded that 8        are entitled to conclude what juries
     9 its talcum powder products are safe and that the   9     conclude.
    10 safety is substantiated?                          10             I think the existence of this
    11              DR. THOMPSON: Object to form.        11     regulatory   obligation and its connection
    12              THE WITNESS: I clearly               12     to the information environment that
    13       understand that is the company's            13     Johnson & Johnson has created around this
    14       position. I do not understand the basis     14     one legacy product is something from
    15       for that judgment.                          15     which juries may draw exactly the
    16 BY MR. HEGARTY:                                   16     conclusion that I have.
    17      Q.     The regulations and authorities you   17 BY  MR.   HEGARTY:
    18 cite all provide that the manufacturer is to make 18     Q.    You have never in any publication of
    19 this determination.                               19 yours cited to 21 CFR 740.1, correct?
    20            You understand that, right?            20     A.    Are we on .1 or .10? But the answer
    21      A.     That's not a statement of deference.  21 would be for both of them, no.
    22 That's a statement of obligation.                 22     Q.    And you've never given a
    23      Q.     Johnson & Johnson has done so.        23 presentation where you have talked about 21 CFR
    24            You understand that?                   24 740.1 or 740.10, or any cosmetic regulation that




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     1 you're talking about in this report, correct?               1           What was it about the '70s from your
     2     A.     Correct.                                         2 standpoint would have triggered the need to
     3              MR. HEGARTY: Let's go ahead                    3 provide a warning with regard to health risk with
     4      and take a break.                                      4 talcum powder products?
     5              (Recess: 3:02 p.m. -                           5     A.       So as you know, in the 1970s, cancer
     6              3:17 p.m.)                                     6 risks from asbestos became, you know, of general
     7              MR. HEGARTY: We are back on                    7 concern, but environmental cancer risks became a
     8      the record.                                            8 general concern.    Going into the history of
     9 BY MR. HEGARTY:                                             9 cancer, this is the period, and it's no
    10     Q.     I wanted to look at next -- look                10 coincidence that this is, you know, the Nixon
    11 next at paragraph 81 of your expert report.                11 Administration's, you know, the EPA, motor vehicle
    12     A.     Uh-huh.                                         12 safety.   There's a whole bunch of sort of kind of
    13     Q.     In the first line of that paragraph             13 post-NASA investments in scientific-based health
    14 you say that:                                              14 and safety regulations, the OSHA Act, the
    15           "Johnson & Johnson has a legal duty              15 Occupational Safety and Health Act.
    16 to account -- to take account of 'new information'         16           So, you know, this is a period when
    17 putting the safety of its talcum powder products           17 people are looking at potential environmental
    18 in question, even if the information is itself not         18 triggers for various cancers, and that's when many
    19 conclusive."                                               19 of these studies are done.   And more of them are
    20           What is the authority for or what is             20 being done, and they're not motivated by anything
    21 the legal duty? Where -- what statute, what                21 other than genuine scientific curiosity on about
    22 regulation where that legal duty found?                    22 environmental exposure and its health
    23     A.     Okay. So that -- that authority                 23 consequences.
    24 comes -- comes right out of 740.10(b), you know,           24     Q.       Assume for purpose of my question
                                                       Page 331                                                      Page 333
     1 it's in the appendix on page 39 of the report that          1 that there is no asbestos in talcum powder
     2 says "An ingredient or product may at any time              2 products.
     3 have its safety brought into question by new                3           Would that change your opinions in
     4 information that is itself not conclusive."                 4 this case?
     5     Q.     Okay.                                    5              DR. THOMPSON: Object to form.
     6     A.     And that's intended to convey an         6              THE WITNESS: If, in fact,
     7 ongoing duty of the manufacturer to substantiate    7      there were zero fibers of asbestos or of
     8 safety. We're not talking about a one-shot, and     8      asbestiform talc in products, it would
     9 meaning specifically that new information that      9      change some, but not all, of my opinions;
    10 might suggest that -- that the prior assumed       10      and it certainly would not change my
    11 substantiation was inaccurate needs to be taken    11      opinions regarding nonsubstantiation for
    12 account of and a decision, again, made whether to  12      safety.
    13 disclose that safety hasn't been determined.       13 BY MR. HEGARTY:
    14           And this is exactly the sorts of         14      Q.    In paragraph 85, you make reference
    15 thing you would expect to become operative in a    15 to the IARC Monograph 100C, which we marked and is
    16 situation like ovarian cancer developing from --   16 sitting to your right, and you make the statement
    17 from -- from talcum powder in that we have latency 17 in that paragraph that says that:
    18 and a relatively uncommon condition and, you know, 18           "The Monograph provides a detailed
    19 something that might have appeared safe in, you    19 discussion of occupational exposures to asbestos
    20 know, 1950 might not appear safe by, you know,     20 and talc in which inhalation presents the primary
    21 1975.                                              21 exposure, but this is not the only purpose."
    22     Q.     And you made reference earlier to       22           That's not correct, is it? That
    23 the fact, according to you, that warning would     23 monograph makes no reference to occupational
    24 have been required in the '70s.                    24 exposure -- studies of occupational exposure to




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     1 talc, does it?                                              1
                                                             exposure. I've seen the back-and-forth
     2               DR. THOMPSON: Object to form.                 2
                                                             about the advantages and disadvantages of
     3               THE WITNESS: I would have to     3      various designs and whether occupational
     4     -- I would have to go back and look if I   4      exposure to asbestos is relevant to
     5     -- if I'm incorrect about -- well, no, in  5      assessment of the studies regarding
     6     the sense that it covers both asbestos     6      talcum powder use exposure to whatever
     7     and fibrous product, I would have to       7      the things are in talcum powder that
     8     stand by that because that's all I meant   8      predispose to -- to ovarian cancer.
     9     by the statement. It was -- it was talc    9             I've seen all of that
    10     fibers on a par with asbestos.            10      discussion. I don't think any of it
    11               So that is correct.             11      changes my views.
    12 BY MR. HEGARTY:                               12             My views are, you know,
    13    Q.       Are you aware that with regard to 13      fundamentally    based on what I conclude is
    14 IARC's findings as it relates to asbestos and 14      the presence of asbestos and asbestiform
    15 ovarian cancer that none of the studies they  15      particles in talc and on the failure of
    16 evaluated involved exposure to talcum powder? 16      Johnson & Johnson to meet its regulatory
    17               DR. THOMPSON: Object to form.   17      obligations regarding uncertainty.
    18               THE WITNESS: Would you          18 BY MR. HEGARTY:
    19     repeat that?                              19     Q.     Did you read the individual studies
    20 BY MR. HEGARTY:                               20 on asbestos exposure and ovarian cancer cited by
    21    Q.       Sure.                             21 the IARC Monograph 100C?
    22    A.       I couldn't tell.                  22     A.     On asbestos exposure and ovarian
    23    Q.       Are you aware that with regard to 23 cancer? I'd have to go look and see which those
    24 IARC's findings as it relates to asbestos and 24 were.

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     1 ovarian cancer, particularly the studies they               1    Q.     Do you recall looking at the
     2 looked at, none of those studies involved exposure          2 monograph and pulling the studies that it cites
     3 or alleged exposure to asbestos from talcum powder          3 and reading the actual studies themselves?
     4 products?                                                   4    A.      I did not pull underlying studies
     5              DR. THOMPSON: Same objection.                  5 from -- from this IARC report.    Whether there's
     6              THE WITNESS: I don't know                      6 some overlap between studies that I reviewed in
     7      that. I would have to go back and look.                7 detail and these I can't say without doing the
     8      They may have looked at actual or                      8 crosswalk.
     9      potential sources of asbestos.                         9     Q.     Are you aware of the concern with
    10 BY MR. HEGARTY:                                            10 regard to the studies looking at asbestos exposure
    11     Q.     And do you recall that the IARC's               11 and ovarian cancer risk of misclassification
    12 findings as it relates to asbestos and ovarian             12 between peritoneal mesothelioma and ovarian
    13 cancer were based primarily on five cohorts --             13 cancer?
    14 five heavy occupational cohort studies --                  14              DR. THOMPSON: Object to form.
    15              DR. THOMPSON: Objection.                      15              THE WITNESS: I cannot recall
    16 BY MR. HEGARTY:                                            16     an extensive discussion that -- of
    17     Q.     -- of workers exposed to raw                    17     potential confounders between peritoneal
    18 asbestos --                                                18     mesothelioma and ovarian cancer, and I
    19              DR. THOMPSON: Objection.                      19     invite you to show me something if you
    20 BY MR. HEGARTY:                                            20     have something to show me.
    21     Q.     -- in their employment?                         21              I have trouble seeing why that
    22              DR. THOMPSON: Objection.                      22     would change the overall views that have
    23              THE WITNESS: I have seen                      23     been expressed regarding from good
    24      discussions about occupational asbestos               24     studies and large -- large organizational


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     1      conclusions that there is a substantial           1    Q.     Did you read -- have you read all
     2      increased risk as a result of talcum              2 the associated documents in Johnson & Johnson
     3      powder exposure perineally.                       3 testimony with regard to the document referenced
     4 BY MR. HEGARTY:                                        4 in your paragraph 116?
     5      Q.    As a doctor, do you understand              5     A.     I doubt I have.
     6 whether there's any difficulties in diagnosing         6     Q.     Is it your testimony that Johnson &
     7 ovarian cancer from peritoneal mesothelioma?           7 Johnson intended to deceive by its testing and
     8              DR. THOMPSON: Object to form.             8 publicity as it relates to asbestos testing?
     9              THE WITNESS: As a -- as a                 9              DR. THOMPSON: Object to form.
    10      matter cellular pathology, I've never            10              THE WITNESS: As we've
    11      considered the question.                         11      discussed previously, my testimony does
    12 BY MR. HEGARTY:                                       12      not go to Johnson & Johnson's corporate
    13      Q.    You're not a pathologist, right?           13      motive or intent.
    14      A.    No.                                        14 BY MR. HEGARTY:
    15      Q.    If we look over at paragraph 121 of        15     Q.     Do all test methods for asbestos in
    16 your report, on what documents do you rely for        16 talcum powder products have limits of detection?
    17 your statement in paragraph 121 that "Johnson &       17              DR. THOMPSON: Object to form.
    18 Johnson manipulated asbestos testing"?                18              THE WITNESS: All practical
    19      A.    I was -- I was concerned by the            19      methods would. Conceptually, not
    20 back-and-forth regarding what the sensitivity         20      necessarily. If you look at everything,
    21 thresholds should be with -- with whatever FDA        21      in everything you presumably find it.
    22 regarded as the acceptable assay method.              22      Fibers are fibers, and they are
    23           So if we look, again, that 121 is as        23      conceptually detectable.
    24 it says in some paragraph and it derives from the     24 BY MR. HEGARTY:

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     1 paragraphs that precede it.                            1    Q.     Is there a test method that shows
     2           So if we go -- if we go back and             2 that no detection means none?
     3 review that, you see a proposed regulation in 1973     3              DR. THOMPSON: Object to form.
     4 calling for an amphibole 99.9 percent purity           4              THE WITNESS: Is there a test
     5 standard and 99.99 for chrysotile and using            5      method that means none detected means
     6 polarized microscopy, and then correspondence          6      none? In this context?
     7 subsequently involving Johnson & Johnson and FDA       7 BY MR. HEGARTY:
     8 and the Personal Care Products Council, which          8     Q.     Correct.
     9 including the statement in paragraph 116.              9     A.     There should be test methods that
    10           "We believe it is critical for the"         10 can be applied to small samples that will say that
    11 then predecessor -- the predecessor organization      11 none detected in the sample means none in the
    12 "to now recommend these methods to the FDA before     12 sample, but we're always in a sampling situation.
    13 the art advances to more sophisticated techniques     13           So, yes, there will always be
    14 with higher levels of sensitization."                 14 choices in terms of sensitivity and detection
    15           Which I think a fair reading of that        15 limits as a practical matter.
    16 is that Johnson & Johnson prefers to have no          16     Q.     So you acknowledge that with regard
    17 asbestos detectable in its products.                  17 to any testing method that humans are capable of
    18           And certainly if one combines that          18 here in 2021, there will be limits of detection,
    19 even with the current website, which I have to say    19 correct?
    20 really does concern me, these statements about        20              DR. THOMPSON: Object to form.
    21 purity and the absence of contamination, I think      21              THE WITNESS: I think there
    22 there is a historical story here that is a -- I       22      are different forms of limits, and here
    23 think it would be fair to characterize it as          23      -- here this ties back for me to -- to
    24 woeful ignorance.                                     24      disclosures of uncertainties as well as


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     1      to disclosures of -- of known risks. In           1      matter Johnson & Johnson has never
     2      the -- in the sense that there's no               2      accounted for that in the ways that the
     3      suggestion, for example, on the Johnson &         3      regulation requires.
     4      Johnson website that other than, you              4 BY MR. HEGARTY:
     5      know, one lot that in Johnson & Johnson's         5     Q.     You already told us that you don't
     6      retelling was mistakenly characterized as         6 know the testing methods that Johnson & Johnson
     7      containing asbestos by FDA's contract             7 has used over the last 50 years to test its talc
     8      labs, that there could ever be asbestos           8 for the presence of asbestos, correct?
     9      in Johnson & Johnson's talc.                      9     A.     I know the correspondence regarding
    10              I think that is, in some ways,           10 J4-1, regarding some of these other thresholds, I
    11      Johnson & Johnson is the one asserting           11 know are fairly significant; and these paragraphs
    12      the position you're ascribing to me in           12 documented disagreement between the company's
    13      that question. They're the ones who are          13 position on sensitivity and the FDA's proposed
    14      claiming that there are no -- there are          14 rule. A lot of harm can be caused by the
    15      no limits. That, in fact, they can               15 differences between those testing standards.
    16      simply say there is nothing because we           16     Q.     Not my question.
    17      didn't find it in the way we looked.             17          My question is: Do you agree that
    18 BY MR. HEGARTY:                                       18 you don't know what testing methods that Johnson &
    19     Q.      Do you have an opinion as to what         19 Johnson used over the last 50 years to test its
    20 testing methods of talc for asbestos are              20 talcum powder products for the presence of
    21 acceptable to substantiate the safety of the          21 asbestos --
    22 product as it relates to asbestos?                    22              DR. THOMPSON: Object to form.
    23              DR. THOMPSON: Object to form.            23 BY MR. HEGARTY:
    24              THE WITNESS: Again, that's               24     Q.     -- correct?
                                                  Page 343                                                Page 345
     1      not the -- that's not an expert opinion           1   A.     I could not map for you detection
     2      that I'm giving.                               2 methods    used  by Johnson & Johnson in each decade
     3               That said, I've seen the              3 over the last 50 years.
     4      descriptions of the last couple of years       4      Q.     And it's not your testimony in this
     5      of sort of FDA efforts to improve              5 case as far as what testing methods must be done
     6      asbestos detection, and I don't think any      6 as it relates to asbestos, looking for asbestos in
     7      of that has resulted in a definitive           7 talc, to substantiate the safety of that product
     8      statement, but perhaps one is                  8 as it relates to asbestos, correct?
     9      forthcoming.                                   9               DR. THOMPSON: Object to form.
    10 BY MR. HEGARTY:                                    10               THE WITNESS: So the -- so,
    11     Q.      If you don't have an opinion as to     11      again, forgive me. I'm really not trying
    12 what testing method is appropriate to substantiate 12      to be argumentative here.
    13 that there's no asbestos in talcum powder          13               Substantiation for safety is
    14 products, how do you know that that method is not 14       not a matter of detectable asbestos.
    15 being used today?                                  15               Substantiation for safety is:
    16               DR. THOMPSON: Object to form.        16      Does perineal use of baby powder -- of
    17               THE WITNESS: I have an               17      talc containing baby powder products
    18      opinion that over the relevant timeline       18      increase a woman's chance of contracting
    19      history of when the women plaintiffs          19      ovarian cancer?
    20      counsel represents have been exposed to       20               And that is a health hazard,
    21      Johnson's Baby Powder, the testing            21      which, if that has not been proven to be
    22      methods used were insufficient to rule        22      a zero risk or perhaps such a small risk
    23      out levels of asbestos that could cause       23      that we could not consider it clinically
    24      carcinogenesis, and that as a regulatory      24      significant, in that case, at a minimum,



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     1                                                       1
                                                            circumstances, it is Johnson & Johnson's
           disclosure of nonsubstantiation for
     2                                               2      obligation to have done a whole lot more
           safety has to be made under the
     3                                               3      study to this than they apparently have,
           regulation.
     4                                               4      and that would be my testimony.
                   I don't want to get -- I mean,
     5                                               5 BY MR. HEGARTY:
           the presence of asbestos to me is
     6
           compelling. The presence of asbestiform 6        Q.    But your -- and that testimony is,
     7                                               7 according to your standard, as of 2021, to meet
           talc is compelling.
     8                                               8 the obligations under your interpretation of the
                   Those components, in my expert
     9                                               9 cosmetic regulations, Johnson & Johnson must prove
           opinion, place regulatory obligations of
    10                                              10 a negative, that talcum powder is incapable of
           disclosure and warning and instruction,
    11                                              11 causing ovarian cancer, correct?
           some type of mitigation effort by the
    12                                              12              DR. THOMPSON: Object to form.
           company, but some sort of mitigation
    13                                              13              THE WITNESS: No, I did not
           obligation on the company, which I don't
    14                                              14      say that.
           think the company has ever complied with
    15                                              15 BY MR. HEGARTY:
           or even seriously attempted to consider
    16                                              16      Q.    So it's not your testimony that
           and -- but those are independent of this
    17                                              17 Johnson & Johnson's obligation of the regulation
           740.10 obligation regarding uncertainty.
    18                                              18 is to prove that talcum powder use cannot cause
                   And every time there's a new
    19                                              19 ovarian cancer, correct?
           study, every time there's a new report,
    20                                              20              DR. THOMPSON: Object to form.
           every time there's a regulatory finding
    21                                              21              THE WITNESS: Johnson &
           by a non-U.S. regulator, all of this in
    22
           the paragraph that you asked me about a 22       Johnson's obligation under 740.10 is
    23                                              23      either to prove that use of talcum powder
           few minutes ago constitutes new
    24                                              24      products does not cause ovarian cancer,
           information, of which the company is
                                                 Page 347                                                Page 349
     1     legally obligated to take account.                1     which today in 2021 it will be unable to
     2 BY MR. HEGARTY:                                       2     do, or to put in place, as it should have
     3    Q.    Under your standard, it's Johnson &          3     for many, many years, the required
     4 Johnson's obligation to prove that talcum powder      4     disclosure of "safety not determined," or
     5 use does not cause ovarian cancer, correct?           5     as it has done for whatever reason it
     6             MS. PARFITT: Objection.                   6     asserts to reformulate the product so
     7     Form.                                             7     it's not sold to the United States or
     8            DR. THOMPSON: Object to form.              8     Canada. And I wish it weren't sold
     9            THE WITNESS: If there were                 9     anywhere in the world.
    10     no studies suggesting that it did and no         10 BY MR. HEGARTY:
    11     reason to think that it would, it's not          11     Q.     But you would agree, at least on
    12     in my reading of cosmetic self-regulation        12 your medical background, as it relates to exposure
    13     incumbent to specifically disprove every         13 and disease, it's impossible for anybody to prove
    14     conceivable harm.                                14 a negative, correct?
    15            The obligation is to                      15             DR. THOMPSON: Objection.
    16     substantiate safety for the product as           16     Form.
    17     labeled and as reasonably and customarily        17             THE WITNESS: I can't really
    18     used. It's the same as the warning               18     answer that question.
    19     standard, in essence.                            19             There are negatives that can
    20            But in light of 1970s to                  20     be proved to high degrees of statistical
    21     today, roughly 40 years of sustained             21     probability. In the sense of conditions
    22     scientific interest in and controversy           22     that are extremely evident that have no
    23     regarding ovarian cancer risk from               23     other causes, you know, there are ways to
    24     perineal talcum powder, yes, under those         24     prove a negative.


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     1                                                             1 testimony referenced in your materials.
                    When there is, you know, a
     2                                                 2            Did you read his testimony?
           condition that is multifactorial, when
     3                                                 3      A.     If we can point me to it, I might
           there is a condition that has latency,
     4                                                 4 remember. I don't -- I don't -- just so you know,
           there's conditions that suit a lot of --
     5                                                 5 I remember things by substance generally, not by
           a lot of cancer development, then, yes,
     6                                                 6 title.
           it would be very, very hard to prove a
     7                                                 7      Q.     He was the head of the CIR during
           negative.
     8                                                 8 the time it reviewed talc.
                    And yet even there, we have
     9                                                 9            Do you recall that?
           epidemiological studies all the time that
    10                                                10      A.     I do recall reading -- reading some
           are done and, frankly, you know, drug and
    11                                                11 testimony about -- about the CIR -- the specifics
           device studies that are done -- well,
    12                                                12 of the CIR talc review. I don't recall reading
           drug studies that are done all the time
    13
           that in essence demonstrate to a level of 13 his testimony.
    14                                                14      Q.     Are you aware that he testified that
           statistical certainty that there's no
    15                                                15 the CIR properly reviewed talc?
           increased risk.
    16                                                16      A.     I'm not aware of that. It wouldn't
       BY MR. HEGARTY:
    17                                                17 surprise me.
           Q.     You comment in this part of your
    18
       report beginning at page 19 about CIR; is that 18      Q.     Are you aware he testified that the
    19                                                19 CIR review was independent of any industry or
       correct?
    20                                                20 other group?
           A.     Yes.
    21
           Q.     Are you an expert on the process by 21               DR. THOMPSON: Object to form.
    22                                                22               THE WITNESS: Again, I don't
       which CIR reviews cosmetic ingredients?
    23                                                23       think I read his testimony, or at least I
           A.     I've read a fair amount about it in
    24                                                24       can't recall it right now. The
       connection with this case.
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     1     Q.    Have you ever reviewed anything                   1       particular information you're sharing is
     2 about the CIR and its processes before being                2       not specific.
     3 contacted by plaintiffs' counsel in this case?               3 BY MR. HEGARTY:
     4     A.    No. I find it very interesting,                    4     Q.      Do you recall -- so you didn't read
     5 though.                                                      5 his testimony that he said -- where he said that
     6     Q.    Have you ever been involved in a CIR               6 CIR does not favor industry?
     7 review?                                                      7              DR. THOMPSON: Object to form.
     8     A.     No.                                               8              THE WITNESS: No, but there
     9     Q.     Have you ever studied a CIR review                9      is other evidence that CIR has both
    10 besides its review for talcum powder products?              10      perceived and actual conflicts of
    11     A.     In connection with this case and                 11      interest.
    12 reviewing cosmetics law and regulation and                  12 BY MR. HEGARTY:
    13 self-regulatory processes, yes, I have read about           13     Q.      Are you aware that he prepared an
    14 other CIR processes. And that 1998 internal                 14 expert report?
    15 study -- FDA study that we've discussed, and that           15              DR. THOMPSON: Object to form.
    16 you made a copy of, has a fairly extensive                  16              THE WITNESS: No, I'm not.
    17 discussion of both the advantages and the profound          17 BY MR. HEGARTY:
    18 disadvantages and questions around CIR.                     18     Q.      Have you reviewed his expert report
    19     Q.     Have you discussed with anyone at                19 in this litigation?
    20 CIR how it reviews cosmetic ingredient petitions?           20              DR. THOMPSON: Object to form.
    21     A.     No.                                              21              THE WITNESS: No, but I'd be
    22     Q.     Do you know who Alan Anderson is?                22      very happy to.
    23     A.     No.                                              23 BY MR. HEGARTY:
    24     Q.     Do you know -- you have his                      24     Q.      Would that be something you'd be


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     1 interested in seeing?                                1          I also did a little independent
     2     A.     Very much.                                2 investigation to see where Citizen's Petitions
     3     Q.     Because you do comment on the CIR in      3 were available online within the FDA, and they
     4 your report, correct?                                4 were not available.    I think they were available
     5     A.     Yes.                                      5 in the device area.   Though I can't exactly recall
     6     Q.     Don't you think it would be               6 now because I didn't take notes on that. But
     7 appropriate to read the testimony and the expert     7 there were none -- there was not data available
     8 report of the person who was overseeing the CIR      8 currently on the cosmetics side.
     9 when it looked at talcum powder?                     9     Q.      Do you cite the authorities you just
    10              MS. PARFITT: Object to form.           10 provided in your answer in your expert report?
    11              DR. THOMPSON: Object to form.          11     A.      The peer-review article is -- is
    12              THE WITNESS: I would be                12 cited right -- right here in the paragraph above
    13      delighted to look at any information your      13 the one that you cited, which was this Chen et al.
    14      client would like to offer that bears on       14 petitioning the FDA.
    15      my opinions.                                   15           The GAO or IG report is not cited in
    16 BY MR. HEGARTY:                                     16 the -- in the report but -- in my report, I don't
    17     Q.     Have you asked plaintiffs' counsel       17 believe, but was made available to me after it was
    18 for any testimony from -- from individuals about    18 submitted, and I think has been shared with and
    19 the CIR process?                                    19 disclosed to you.
    20              DR. THOMPSON: Object to form.          20     Q.      That's not referenced in your
    21              THE WITNESS: I asked                   21 report, is it?
    22      plaintiffs' counsel for documentation          22     A.      That particular, the G -- I think --
    23      regarding the origins and early history        23 we'll call it the GAO report for lack of having to
    24      and general continuing activities of CIR.      24 say both each time. It's not referenced in the

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     1               It didn't occur to me to ask           1 report, but it confirmed what I had learned about
     2      about current CIR operations testimony.       2 the Citizen's Petition process elsewhere.
     3      If I had known that was available, I          3     Q.      If you turn over to page -- to
     4      certainly would have asked for it.            4 paragraph 162 of your report.
     5 BY MR. HEGARTY:                                    5     A.      Yes.
     6      Q.     If you look over at page 143 of your   6     Q.      There you refer to FDA Congressional
     7 -- I'm sorry -- paragraph 143 of your report.      7 activity --
     8      A.     Uh-huh.                                8     A.      Yes.
     9      Q.     What is your authority for the         9     Q.      -- concerning the safety of cosmetic
    10 statement you make in that paragraph?             10 products?
    11            In other words, where did you get      11     A.      Yes.
    12 that information from?                            12     Q.      And there you detail -- in the
    13      A.     So there's a peer-review article on   13 section  detail  hearings that the House
    14 Citizen Petition processes, which is cited in the 14 subcommittee had in 2019 regarding the safety of
    15 report, which -- which I read. I think that -- I  15 cosmetic products?
    16 think the information either came directly out of 16     A.      Yes.
    17 that or was -- or was my back-of-the-envelope     17     Q.      Did you read the transcripts or
    18 calculation from what I was seeing in that        18 watch the video of those hearings?
    19 article.                                          19     A.      I -- I read all the transcripts at
    20            There's also either a -- either a      20 different levels of detail. There were a lot.
    21 GAO or an Inspector General report on the         21 There were, I think, several days of testimony.
    22 Citizen's Petition process that's about 20 years  22 Some I was able to read more thoroughly than
    23 old, but it sheds a lot of light on the delays    23 others, but I reviewed all -- all the people
    24 involved with the Citizen's Petition.             24 testifying in each day of hearings.




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     1     Q.    Are you aware that plaintiffs'              1     to me, nor would it have mattered to my
     2 experts testified before that House subcommittee?     2     interpretation of the testimony, to know
     3     A.     I think at the time I reviewed those     3       about people being disinterested in the
     4 transcripts, I wasn't aware of who might have been 4        sense that in a properly convened
     5 a plaintiffs' expert; but I think in reading some   5       Congressional hearing everyone is
     6 of the transcripts, it became apparent that at      6       interested.
     7 least a couple of them were.                        7 BY MR. HEGARTY:
     8     Q.     Do you know who Ann McTiernan is?        8      Q.     Is it your contention that
     9     A.     I read it at the time. I don't           9 Congressional hearings are motivated by --
    10 recall now.                                        10 Congressional hearings like this are motivated
    11     Q.     Are you aware that plaintiffs'          11 because of safety concerns in every instance?
    12 lawyers paid her way to attend that subcommittee 12                 DR. THOMPSON: Object to form.
    13 hearing?                                           13               THE WITNESS: Congressional
    14              DR. THOMPSON: Object to form.         14       hearings are motivated by many things,
    15              THE WITNESS: I am now aware           15       but safety concerns are one of the many
    16      of that.                                      16       things that elected representatives
    17 BY MR. HEGARTY:                                    17       receive political benefits from
    18     Q.     Are you aware that -- that she          18       addressing.
    19 checked with plaintiffs' lawyers before agreeing   19 BY MR. HEGARTY:
    20 to testify at that hearing?                        20      Q.     They can also be motivated by
    21              DR. THOMPSON: Object to form.         21 political concerns, correct?
    22              MS. PARFITT: Object to form.          22      A.     I would resist the characterization
    23              THE WITNESS: I did not know           23 of political because it's, I think, in my view,
    24      that. Again, really all I know about the      24 it's a much overused term that we really can't

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     1     testimony is the testimony.                       1 explain or even define these days.
     2 BY MR. HEGARTY:                                       2          So, again, I don't know if I want to
     3     Q.    Is it your position that -- let me          3 -- to try to lecture in this -- in this forum on
     4 look at that. Strike that.                      4 what I know about -- about designing Congressional
     5     A.    Again --                              5 hearings.
     6     Q.    Would you consider Dr. McTiernan to 6            But in general, the committee chair
     7 be an uninterested or disinterested scientist?  7 or subcommittee chair that controls the chamber
     8             DR. THOMPSON: Object to form.       8 controls the hearings and then takes, insofar as
     9             THE WITNESS: Thank you.             9 that person takes input from within her own party
    10     Thank you for using those words            10 or across the aisle, different people come to
    11     correctly. I do appreciate it.             11 testify. Different committees, different
    12             I don't have an opinion on         12 subcommittees have different levels of
    13     that. When I was reading the hearing       13 bipartisanship, different levels of comity, and
    14     testimony -- as I'm sure you know,         14 different hearings as a result.
    15     Congressional hearings are planned and     15     Q.     Is it your testimony that there were
    16     orchestrated and, hopefully, useful and    16 no political motivations behind the hearing you
    17     testimony is expert and accurate.          17 reference in your report?
    18             Those hearings, as I recall,       18              DR. THOMPSON: Object to form.
    19     were a combination of sort of expert       19              THE WITNESS: I don't know
    20     testimony and layperson testimony of the   20      what you mean by "political motivations."
    21     sort of compelling anecdote variety that   21 BY MR. HEGARTY:
    22     is highly representative of Congressional  22     Q.     Are you --
    23     hearings.                                  23     A.     I'm not being naive. I really don't
    24             So it would not have occurred      24 know what you mean by "political motivations."




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     1    Q.     Really? You don't know what                 1 Dr. Longo whose report you cited spoke at that
     2 political motivations are?                            2 hearing?
     3    A.     In this instance, a partisan                3     A.      I don't recall that, but I read the
     4 motivation? A particular electoral outcome? I         4 names of all of the participants as I read the
     5 don't know. What might you mean?                      5 hearing transcripts.   So I presumably was aware of
     6    Q.     Well, all of the above.                     6 it at the time.
     7          Do you know whether any of those             7     Q.      You made mention just a moment ago
     8 considerations went into the hearings?                8 to legislation introduced by Senator Feinstein.
     9    A.     In these instances --                       9            And have you read the press releases
    10             DR. THOMPSON: Object to form.            10 she issued with regard to that legislation?
    11             THE WITNESS: In these                    11     A.      I actually focused on reading the
    12     instances, I have to say, I'm very much          12 text of the bill.
    13     struck by the fact that there has been           13     Q.      And the text of the bill does not
    14     this Feinstein -- Feinstein-Collins              14 refer to talcum powder products, does it?
    15     proposal for now I think close to more           15     A.      The text of the bill does not. It's
    16     than five, perhaps closer to 10 years in         16 a -- it's a very interesting bill with a lot of
    17     some form.                                       17 provisions that I find attractive and with some
    18             There is bipartisan support              18 provisions that I find rather cryptic that reflect
    19     that, you know, the Trump's                      19 the attempt to secure bipartisanship.
    20     administration FDA was quite clear on the        20     Q.      Did you read -- so you did not read
    21     need for additional cosmetic regulation          21 with regard to her press release that
    22     and, for that matter, it appears that            22 organizations that support the Act include Johnson
    23     Johnson & Johnson is supportive.                 23 & Johnson?
    24             And I think my -- my struggle            24     A.      Oh, I did read that part if that was
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     1     -- my struggle answering these particular         1 the press release.   Yes, because I had mentioned
     2     questions is best captured by taking us           2 that to you earlier that I had seen some mention
     3     back to the bolded language that precedes         3 that Johnson & Johnson was supportive.            I said
     4     the paragraphs that we're discussing,             4 that several hours ago.
     5     which is just the "Cosmetics regulation           5     Q.      Did you make reference to that
     6     may be on the verge of significant reform         6 support anywhere in your report?
     7     and improvement because of unprevented            7              DR. THOMPSON: Object to form.
     8     harm to consumers" and I say "whether or          8              THE WITNESS: I actually did
     9     not manufacturers cooperate."                     9     not have the text of the most recent bill
    10             It doesn't mean manufacturers            10     at the time that I submitted the report.
    11     won't cooperate. It just means that it           11     It was something I wanted to make sure I
    12     appears to be a political moment where           12     was keeping track of as my expert service
    13     something might happen to finally improve        13     continues.
    14     cosmetics regulations and the funds that         14 BY MR. HEGARTY:
    15     support it.                                      15     Q.     If you look at paragraph 171 of your
    16 BY MR. HEGARTY:                                      16 report, please.
    17    Q.     If you look at paragraph 165 of your       17     A.     Sure.
    18 report, you again refer to a hearing on March 12,    18     Q.     You make reference there to
    19 2019, and then other hearings that followed in       19 O'Shaughnessy and Wille deposition.
    20 2019.                                                20          Who is O'Shaughnessy?
    21          Do you see that?                            21     A.     I have forgotten who O'Shaughnessy
    22    A.     Yes.                                       22 is. Wille was the deposition over a number of
    23    Q.     Are you aware that at those                23 days that outlined Johnson & Johnson's regulatory
    24 hearings, at least the December 2019 hearing, that   24 posture with respect to these products. It was a




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     1 difficult transcript to read.                             1     that's a badly written sentence.
     2     Q.     What testimony from them are you               2             So I -- I can't interpret
     3 relying on for purposes of any of your statements         3     exactly what the "respond to" words mean,
     4 in this paragraph?                                        4     but it -- it did not engage in the type
     5              DR. THOMPSON: Object to form.                5     of responsible corporate behavior in a
     6              THE WITNESS: So I point out                  6     voluntary system that I would like to see
     7      that this is a summary of opinions                   7     a company do when it has as much
     8      paragraph that also includes subsumed all            8     experience with event reporting and assay
     9      of the prior -- the prior paragraphs                 9     and ingredient reporting as Johnson &
    10      and -- and their references.                        10     Johnson does in its other lines of
    11              So, you know, in this case,                 11     business.
    12      this has -- this focuses primarily on               12 BY MR. HEGARTY:
    13      your -- your client's apparent                      13     Q.     We've already established, I
    14      uninterest, extensively discussed in the            14 think -- and you tell me if I'm wrong -- that
    15      Wille transcript, in supporting more                15 you've never published in the -- in the publicly
    16      detailed or definitive studies over the             16 available literature the standards for what it
    17      decades.                                            17 takes to be a responsible company as it relates to
    18 BY MR. HEGARTY:                                          18 a cosmetic, correct?
    19     Q.     What do you rely upon from                    19     A.     Correct.
    20 Mr. O'Shaughnessy's transcripts for purposes of          20     Q.     You've never lectured on what is
    21 this paragraph?                                          21 responsible corporate behavior with regard to a
    22     A.     I can't recall.                               22 cosmetic, correct?
    23     Q.     Did you read the entirety of his              23     A.     With regard to a cosmetic, correct.
    24 deposition transcript?                                   24     Q.     You've never lectured or taught
                                                     Page 367                                                  Page 369
     1     A.     I don't believe I read the entirety.           1 courses on the responsible corporate behavior of a
     2 I do believe I saw it.                                    2 manufacturer of a cosmetic, correct?
     3     Q.     Did you read the entirety of            3     A.      A cosmetic, correct.
     4 Ms. Wille's transcript?                            4     Q.      And prior to being contacted by
     5     A.     Yes.                                    5 plaintiffs' counsel in this case, you would not
     6     Q.     Are you aware that both testified --    6 have called yourself an expert on what is the
     7 Mr. O'Shaughnessy and Ms. Wille -- that -- Dr.     7 responsible corporate behavior of a manufacturer
     8 Wille -- that there's never been asbestos in       8 of a cosmetic, correct?
     9 Johnson & Johnson's talcum powder products?        9              DR. THOMPSON: Object to form.
    10           Do you recall that testimony?           10              THE WITNESS: I don't -- I
    11     A.     Again, it was a challenging            11      don't serve as an expert in litigation
    12 transcript to distill to draw clear conclusions   12      very often, as we've discussed. This is
    13 from, but I mainly recall Dr. Wille for all of    13      the first time in, roughly, a decade.
    14 these relying herself on other conclusions by     14              I would consider myself an
    15 other Johnson & Johnson employees and             15      expert on responsible corporate behavior
    16 representatives.                                  16      with respect to health and safety
    17           There was very little, as I recall,     17      generally.
    18 in that very long transcript that -- that really  18 BY MR. HEGARTY:
    19 was a matter of her personal knowledge.           19     Q.      You have never before this case
    20     Q.     If you look at paragraph 172 of your   20 analyzed the -- what you consider to be the
    21 report, what did Johnson & Johnson not respond to 21 corporate behavior of a manufacturer of a cosmetic
    22 with regard to FDA?                               22 product, correct?
    23              DR. THOMPSON: Object to form.        23              DR. THOMPSON: Object to form.
    24              THE WITNESS: That's --               24              THE WITNESS: Correct.



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     1 BY MR. HEGARTY:                                             1 BY MR. HEGARTY:
     2     Q.     And never analyzed before being                  2    Q.
                                                                         I'll be jumping around a little bit
     3 hired in this case with regard to what is a                 3 because I went back over.
                                                                                           Probably just hit
     4 responsible -- what is responsible corporate        4 things here or there that may not be a
     5 behavior compliance with the cosmetic regulations,  5 concentrated set of questions about any subject
     6 correct?                                            6 area.
     7               DR. THOMPSON: Object to form.         7     A.      Okay.
     8               THE WITNESS: I've never               8               MR. HEGARTY: We talked
     9       analyzed -- I've never compared a             9      earlier about whether you had contact
    10       corporation's conduct to the requirements    10      with any and communicated with any of the
    11       of the cosmetic regulations before           11      expert of plaintiffs in this case, and
    12       becoming involved in this matter.            12      I'm going to mark as Exhibit 19 a list of
    13 BY MR. HEGARTY:                                    13      the plaintiffs' experts that have been
    14      Q.     If we look at paragraph 175, you say   14      disclosed in these cases.
    15 "Johnson & Johnson did not register its cosmetics  15               (Document marked for
    16 accurately."                                       16      identification as Sage Exhibit 19.)
    17            Where did Johnson & Johnson not         17 BY MR. HEGARTY:
    18 register its cosmetics?                            18     Q.      Would you look at that list and tell
    19      A.     The registration requirements are      19 me whether you know any of those names. I should
    20 voluntary under the existing scheme and, you know, 20 say, know any of them personally.
    21 its registration of facilities, but then its       21     A.      (Reviews document.)
    22 products and ingredients that are associated with  22           I don't know any of them personally.
    23 each facility.                                     23     Q.      Okay. In talking about your
    24            Something that's very interesting is    24 methodology for your review of material, what was

                                                       Page 371                                                    Page 373
     1 under the proposed legislation, the                         1 your method yourself for ensuring that you had the
     2 Feinstein-Collins bill, not only would                      2 pertinent information that you needed to come to
     3 registration be mandatory, but it would be an               3 conclusions or opinions in this litigation?
     4 explicit certification in the process of                    4          In other words, what method did you
     5 registering a facility for safety of every product          5 apply to -- to ensure that you had the information
     6 and ingredient has been substantiated or that that          6 you needed to provide opinions in your report?
     7 warning we've long described discussed has been             7     A.    Yeah. I applied the same method I
     8 given.   So there's a clear understanding that              8 would be applying if I were writing an article.
     9 there's a relationship between registering one's            9 The same method I would be applying if I were
    10 facilities and substantiating the safety of one's          10 planning a series of classes on a topic.
    11 products and ingredients.                                  11           Identify the questions in a
    12           This, again, these are -- these are              12 regulatory context.   Go to the regulatory sources.
    13 conclusions that summarize and distill a lot of            13 Look at commentary that might be out there.
    14 the prior contents of -- of my report, and the             14 Things that are very relevant to me are historical
    15 notion of registering its cosmetics accurately is,         15 context, political context, economic context,
    16 in my expert opinion, as we discussed very close           16 industrial context.
    17 to the beginning of today, the ingredients listed          17           Here there was a heavy overlay of --
    18 are not the full contents of these products.               18 of scientific research and epidemiology. So I had
    19             MR. HEGARTY: Let's take a                      19 to sort of identify each of those areas and
    20      break. Let's go off the record.                       20 satisfy myself that I had asked the questions and
    21             (Recess: 4:01 p.m. -                           21 found the material that would -- that would
    22             4:28 p.m.)                                     22 provide the information I needed.
    23             MR. HEGARTY: All right.                        23     Q.     Have you ever published that
    24      We're back on the record, Dr. Sage.                   24 methodology in any article or any document?




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     1              DR. THOMPSON: Object to form.             1 the FDA letter.
     2              THE WITNESS: I have not                   2     A.     I believe it's right here. I can
     3      published it. One could infer it from a           3 grab it from the one you gave me.
     4      lot of my work. I have a -- particularly          4     Q.     If you look at the first page of
     5      in my longer work, I have a voice and a           5 that exhibit, Exhibit No. 7, you see the third
     6      style that is fairly recognizable among           6 line it refers to:   "Year 1994 petition requested
     7      my peer group.                                    7 all cosmetic talc bear labels with a warning such
     8 BY MR. HEGARTY:                                        8 as" and then lists the warning, correct?
     9      Q.     Can you cite for me anyone who has         9      A.     Yes.
    10 come to the same opinions as you set out in your      10      Q.     Then if you look a few lines down,
    11 expert report?                                        11 it says: "Additionally, year 2008 petition
    12              DR. THOMPSON: Object to form.            12 requested that cosmetic talcum powder products
    13              THE WITNESS: I can't cite                13 bear labels with a prominent warning such as" and
    14      anyone who's come to those opinions in           14 then it lists another suggested warning, correct?
    15      this matter.                                     15      A.     Yes.
    16 BY MR. HEGARTY:                                       16      Q.     So is it your contention that even
    17      Q.     And when I'm talking about anyone,        17 with that "such as" language that FDA would only
    18 I'm talking about in the litigation or outside the    18 or only based its conclusions with regard to this
    19 litigation.                                           19 letter as to the two samples of warnings in that
    20           Can you cite for me anyone that             20 first paragraph?
    21 you're aware of who's come to the same opinions       21              DR. THOMPSON: Object to form.
    22 that you have that you set out in your expert         22              THE WITNESS: I think the
    23 report?                                               23       "such as" is the writer of this letter's
    24              DR. THOMPSON: Object to form.            24       not fully clear way of expressing in all
                                                  Page 375                                                    Page 377
     1              THE WITNESS: I can't cite                 1   material respects "equivalent to." So
     2      anyone who has come to the opinions I          2      that a word or two might vary, but the
     3      have regarding this situation and these        3      thrust of it was identical.
     4      obligations.                                   4               I don't think that this
     5 BY MR. HEGARTY:                                     5      paragraph implies that the FDA is
     6     Q.      By citing it in your report, you        6      declining a request to pursue a warning
     7 certainly agree that FDA's April 2014 letter is     7      of any kind. I think this is quite
     8 relevant to the issues that you analyzed in this    8      specific to these -- to the requested
     9 case, correct?                                      9      language, and that is my understanding of
    10              MS. PARFITT: Objection.               10      the Citizen's Petition process.
    11      Form.                                         11 BY MR. HEGARTY:
    12              THE WITNESS: It is relevant.          12      Q.     That was what I was going to ask
    13      It is not directly relevant to                13 you.
    14      manufacturer's obligations to warn nor is     14           What do you base that opinion on
    15      it directly relevant to manufacturer's        15 that in particular that FDA was not saying in this
    16      obligations to disclose a                     16 letter that it's not -- that it doesn't believe
    17      nonsubstantiation of safety.                  17 any type of warning would be appropriate?
    18              It is certainly relevant to           18      A.     Because the position process, which,
    19      the relationship between the FDA and the      19 as we've discussed, has delays, gaps, and flaws
    20      other parties who might be involved in        20 that are well-recognized and that are immediately
    21      approving the safety of cosmetics.            21 evident in the letter that says "Your petitions
    22 BY MR. HEGARTY:                                    22 dated 1994 and 2008 are being addressed in 2014."
    23     Q.      Do you have that exhibit? It's         23 That already tells you something, you know, about
    24 Exhibit No. 7, or you can look in your notebook to 24 the Citizen's Petition process is, to put it




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     1 politely, suboptimal.                                 1   Q.     Had you ever reviewed any
     2           The Citizen's Petition process is         2 documents -- internal documents prior to being
     3 designed to make specific requests of FDA. It's     3 contacted to serve as an expert witness in this
     4 not a generic request to do something about a       4 case from PCPC or CTFA?
     5 potential problem, and so the response to the       5     A.     No.
     6 Citizen's Petition is exactly that. It is either    6     Q.     Had you ever heard of PCPC or CTFA
     7 agreeing or declining to do the action that's       7 prior to being contacted by plaintiffs' counsel in
     8 requested.                                          8 this case?
     9      Q.    Your authority for that is what?         9     A.     In passing, probably, but I haven't
    10      A.    What I understand from the text of      10 made a mental note of it. Trade groups,
    11 the regulations, what I've seen in Citizen's       11 particularly trade groups involving health-related
    12 Petitions, and what I've read about the Citizen's  12 consumer products, would be within what I would
    13 Petitions process including that, again, we're     13 read.
    14 just calling it the GAO report.                    14     Q.     Is there such a mineral as
    15      Q.    And prior to being hired to serve as    15 asbestos-free talc --
    16 an expert witness in this case, you had never seen 16              DR. THOMPSON: Object to form.
    17 any company documents of Johnson & Johnson,        17 BY MR. HEGARTY:
    18 correct?                                           18     Q.     -- in your opinion?
    19      A.    I certainly had seen no proprietary     19              DR. THOMPSON: Object to form.
    20 company documents of Johnson & Johnson. I'm sure 20                THE WITNESS: I don't have a
    21 I had seen various documents of Johnson & Johnson 21       scientific basis for giving an opinion on
    22 in, say, the drug and device domain in passing.    22      that. I have seen nothing in this matter
    23      Q.    Do you know who Imerys is?              23      to persuade me that -- that the majority
    24      A.    Yes.                                    24      or anything approximating all of talc
                                                  Page 379                                              Page 381
     1     Q.    Have you seen any documents by              1     products are truly asbestos-free.
     2 Imerys prior to being hired to serve as an expert     2 BY MR. HEGARTY:
     3 in this case?                                         3    Q.     Do you have an opinion one way or
     4      A.      No.                                      4 the other whether you can mine talc that's
     5      Q.      Had you done any work prior to being   5 asbestos-free?
     6 hired in this case for any type of mining company? 6      A.     I have no --
     7      A.      No.                                    7              DR. THOMPSON: Object to form.
     8      Q.      Do you have any expertise with         8              THE WITNESS: I have no
     9 regard to the obligations of a mining company as    9      opinion on that. I have seen assertions
    10 it relates to talcum powder products?              10      of that and I have seen contrary
    11      A.      With respect to --                    11      positions.
    12               DR. THOMPSON: Object to form.        12 BY MR. HEGARTY:
    13               THE WITNESS: -- talcum powder        13     Q.     Do you have an opinion as to the
    14       products, no. In my legal practice days,     14 amount of exposure -- the minimum amount of
    15       I wrote the brief in Supreme Court           15 exposure to asbestos that can cause ovarian
    16       litigation involving OSHA obligations,       16 cancer?
    17       which also touched on mine safety            17     A.     I have relied, as we've discussed,
    18       obligations, and so I have some passing      18 on positions and determinations by others that
    19       acquaintance with mining safety.             19 there is no safe level of asbestos exposure, and
    20 BY MR. HEGARTY:                                    20 insofar as there are paths by which asbestos can
    21      Q.      Prior to being contacted to serve as  21 reach the ovaries, I would apply that same zero
    22 an expert witness in this case, had you had any    22 threshold to ovarian cancer.
    23 dealings with PCPC, also known as CTFA?            23     Q.     So is it your opinion that a single
    24      A.      No.                                   24 fiber of asbestos is capable of causing ovarian




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     1 cancer?                                                          1             THE WITNESS: I would have --
     2      A.    I have no reason to think otherwise.                  2     I would have to go and reread the
     3      Q.    And with regard to the medical                        3     criteria for the classification, but I'll
     4 literature as it relates to migration of talc or                 4     accept that characterization.
     5 asbestos fibers from perineal use of -- of talcum                5 BY MR. HEGARTY:
     6 powder products, have you done an analysis                       6    Q.     Let me go ahead and show you the
     7 yourself of that medical literature?                             7 Volume 93 Monograph 2010, and I've only got two
     8      A.    I have read some of that literature,                  8 copies. I'm sorry.
     9 and my -- my medical view, which is not the expert               9    A.     Oh, I have one if it's easier. Do
    10 view that I'm, you know, here presenting in terms               10 you want --
    11 of regulatory design and regulatory obligation, my              11             MR. HEGARTY: You can give
    12 medical -- my medical view is that there are                    12     that to Margaret.
    13 demonstrated pathways by which perineal use of                  13             DR. THOMPSON: I have it.
    14 talc can reach the ovary.                                       14             MR. HEGARTY: We'll leave it
    15      Q.    And that's based on the medical                      15     there so I don't have to take it back.
    16 literature you reference in your expert report,                 16     You still have to mark it as an exhibit.
    17 correct?                                                        17             THE WITNESS: There you go.
    18      A.    Yes.                                                 18             (Document marked for
    19      Q.    And are you aware of any studies                     19     identification as Sage Exhibit 20.)
    20 that have showed that external application or                   20 BY MR. HEGARTY:
    21 perineal application of any powder or any particle              21    Q.     And have you reviewed that
    22 has migrated to the tubes and ovaries, in other                 22 monograph?
    23 words, where it's been tracked from external                    23    A.     Yes.
    24 application to the tubes and ovaries?                           24    Q.     And if you look at page 31 of that
                                                            Page 383                                                    Page 385
     1     A.     I would have to go back and review                    1 monograph, at the very bottom, is it your
     2 the studies to see if anything -- if any studies I               2 understanding that with regard to a 2B finding,
     3 reviewed were designed to illustrate that exactly.               3 that's a finding of limited notice of
     4     Q.     And you have not done any -- any of                   4 carcinogenicity?
     5 your own analysis as to whether any bottle of                    5     A.     I'm sorry. I'm looking for the
     6 Johnson's Baby Powder or Shower to Shower actually               6 correlation between the description and the -- and
     7 has -- has ever had asbestos in it, correct?                     7 the classification of the category.
     8     A.     My own analysis? No.                                  8     Q.     Well, do you understand one way or
     9     Q.     Going back to your expert report and                  9 another?
    10 we'll go back over a few paragraphs.                            10     A.     But I'm -- but if -- so, yes. "A
    11     A.     Sure.                                                11 positive association has been observed, but
    12     Q.     In paragraph 27, you make reference                  12 chance, bias, or confounding could not be ruled
    13 to IARC's monograph with regard to -- IARC's                    13 out."  Absolutely.
    14 monograph in 2010 where it classified the perineal              14           And I would -- and I would, again,
    15 use of talc-based body powder (non-asbestiform) as              15 point out that -- that a 2B finding alone -- and
    16 Group 2B.                                                       16 this is, you know, for platy talc -- would be
    17          Do you see that reference?                             17 exactly the sort of information that's
    18     A.     In paragraph 28?                                     18 contemplated by the regulation to support a
    19     Q.     28. I'm sorry. Yes, 28.                              19 revisiting of substantiation and trigger a "safety
    20          The 2B finding means that chance,                      20 not determined" notice.
    21 bias, and confounding cannot be ruled out with                  21           And I should have -- in what you
    22 reasonable certainty, correct?                                  22 pointed me to -- I'm sorry and I hope that's not a
    23             MS. PARFITT: Objection to                           23 problem.
    24      form.                                                      24     Q.     No, go ahead.


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     1    A.     "A positive association has been               1 referenced in that article?
     2 observed for which a causal interpretation is            2     A.      I can't -- I can't recall. Probably
     3 considered by the working group to be credible,"         3 not.
     4 and then it goes with the limitation language that       4     Q.      Do you know whether certain forms of
     5 you quoted.                                              5 asbestos come in asbestos and non-asbestos forms?
     6    Q.     Is it your opinion that a single               6     A.     I --
     7 epidemiologic study finding association between a        7              DR. THOMPSON: Object to form.
     8 cosmetic and an illness is enough to consider that       8              THE WITNESS: I know that to
     9 cosmetic not proved safe?                                9      be the case in some of the material that
    10             DR. THOMPSON: Object to form.               10      I have reviewed in terms of how the
    11             THE WITNESS: It would depend                11      fibers and crystals are structured.
    12     on the study, but conceptually, yes.                12 BY MR. HEGARTY:
    13 BY MR. HEGARTY:                                         13     Q.     If you look at paragraph 50 of your
    14     Q.    Can you cite for me any published             14 report, your footnote 15, you include footnote 15.
    15 standard for assessing the safety of a cosmetic?        15 You make a statement, though, in that paragraph
    16             DR. THOMPSON: Object to form.               16 that said:
    17             THE WITNESS: I have seen CIR                17           "Asbestos was known to cause lung
    18     material about their various                        18 cancer since the 1930s and was suspected to cause
    19     classifications. I have also seen Health            19 ovarian cancer since the 1960s."
    20     Canada report. I've also seen references            20           And my question is: What do you
    21     to other types of safety standards in               21 cite as your authority for saying that asbestos
    22     many of the materials that we've                    22 was suspected to cause ovarian cancer since the
    23     discussed today.                                    23 1960s?
    24 BY MR. HEGARTY:                                         24           And, again, you refer only there to
                                                    Page 387                                                        Page 389
     1     Q.    Okay. Other than the CIR and Health            1 footnote 15, which is the 30(b)(6) deposition and
     2 Canada, can you cite for me any published                2 exhibits of John Hopkins and Exhibit 28.
     3 standards on assessing the safety of a cosmetic?         3        A.   So I'm right now looking at the
     4     A.     No.                                           4 appendix in my report that was the summary of
     5     Q.     If you look over at paragraph 47 of           5 scientific evidence to see if one of those pieces
     6 your report --                                           6 specifically supports that statement.
     7     A.     Yes.                                          7           (Reviews document.)
     8     Q.     -- you cite in footnote 10 a number           8           None of these of the published
     9 of studies.                                              9 articles date to the 1960s, but the Henderson 1971
    10          Do you know whether any of those               10 article talks about the possibility of an
    11 studies tested Johnson's Baby Powder?                   11 association of talc and asbestos and the
    12     A.     I would have to go back and look. I          12 possibility of relationship between those and
    13 do not know.                                            13 carcinoma changes in the ovary.
    14          Oh, wait a second. In the -- in the            14           I think that is sufficient support
    15 "Blunt" or Blount reference here, the quote is          15 for concerns going back to the 1960s if it's a
    16 then enhanced with confirmed that the tested --         16 1971 publication.
    17 the tested sample was, in fact, Johnson's Baby          17      Q.     You have reviewed the epidemiologic
    18 Powder.                                                 18 literature -- some of the epidemiologic literature
    19     Q.     As to Dr. Blount, did you read her           19 looking at talcum powder use and ovarian cancer,
    20 deposition in this litigation?                          20 correct?
    21     A.     I -- I believe I received it.                21      A.     Correct.
    22 Again, it's not one that I read in -- in full.          22      Q.     That literature shows -- or strike
    23     Q.     Did you read what she had to say             23 that.
    24 about the particular sample that she tested as          24           Some of that literature reports the


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     1 relative risk in the range of 1.2 to 1.3; is that        1     A.       Well, just reading this paragraph, I
     2 right?                                                   2 published this book review one year into my
     3     A.      Yes.                                         3 teaching career in 1996 based on someone else's
     4     Q.      And such a relative risk in that             4 book about breast implant litigation.
     5 range is a weak relative risk, correct?                  5          I could quote other parts from this
     6              DR. THOMPSON: Object to form.               6 book review that I actually remember, which was
     7              THE WITNESS: No. No. It                     7 that the author of this book expected to think
     8      indicates for a serious disease that with           8 that the plaintiffs' lawyers were the villains in
     9      confidence intervals that fall between              9 this situation and actually found her villains
    10      1.2 and 1.3, a serious disease with a              10 elsewhere.
    11      substantial prevalence, even if not                11          But in terms of these particular
    12      incredibly common across the population,           12 statistics, all I can say is, as I reported them
    13      that's a serious risk.                             13 in the book review, I talked about wide confidence
    14 BY MR. HEGARTY:                                         14 intervals.   And I talked about one study where I
    15     Q.      Well, that's not exactly what you           15 talk about the upper bound of the confidence
    16 said before, and I'll show you the context.             16 interval, but don't give the lower bound.
    17           I marked as Exhibit No. 21 an                 17          So perhaps I said that then.
    18 article of yours entitled "Lessons From Breast          18 Perhaps I would still agree.  Perhaps I wouldn't.
    19 Implant Litigation."                                    19     Q.     Aren't you saying there, though,
    20              (Document marked for                       20 that your take is that with regard to the study
    21      identification as Sage Exhibit 21.)                21 described there that the link to the disease is
    22 BY MR. HEGARTY:                                         22 possible, but unlikely, and at any rate cannot be
    23     Q.      Do you recall this article?                 23 substantial?
    24     A.      That's a book review.                       24             DR. THOMPSON: Object to form.
                                                    Page 391                                                     Page 393
     1     Q.     Book review. Okay.                            1              THE WITNESS: Possible --
     2           If you look over at the second page            2     well, again, it's a -- it's a (laugh)
     3 of that document, that book review, the paragraph        3     book review of someone else's book where
     4 on the left-hand side where we say "What do we           4     my points in the book review are not
     5 know in 1996?" Do you see that paragraph?                5     predominantly epidemiologic.
     6      A.    Yes.                                          6              But I say what I say, and in
     7      Q.    You note in that paragraph towards            7     this instance, we know that at least two
     8 the bottom that:                                         8     studies that are -- that I refer to in
     9           "The most recent and largest study             9     this paragraph have wide confidence
    10 calculated a relative of risk of 1.24 for               10     intervals and the third is whatever I say
    11 self-reported disease and established with 95           11     it is.
    12 percent confidence an upper bound of 1.41. In           12              And I draw some inference,
    13 other words, a causal effect between breast             13     which, as I just said, if I were to go
    14 implants and connective tissue disease is               14     back and revisit the data and revisit
    15 possible, but unlikely, and at any rate cannot be       15     these studies, I might or might not write
    16 substantial."                                           16     it the same way today.
    17           Correct?                                      17 BY MR. HEGARTY:
    18      A.    That's what I say here, interpreting         18     Q.     But the words that I read to you are
    19 the information in Angell's book at the time.           19 your words. It's not quoted from the book you
    20      Q.    And you're saying there that a study         20 reviewed, right?
    21 that reports a relative risk of 1.24, while it          21     A.     Correct.
    22 indicates a disease is possible, you're saying          22     Q.     This is your take on the book that
    23 it's unlikely, at any rate cannot be substantial,       23 you reviewed, right?
    24 correct?                                                24     A.     It is a small piece of a book review


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     1 essay that is mainly about other topics.               1 stated.
     2              MR. HEGARTY: You mentioned or 2                   I just come back to the point we've
     3      we talked earlier in the deposition about     3 discussed at several junctures, though we're now
     4      the O'Brien study. I'll mark that study       4 sort of doing skip-around questioning, which is,
     5      as Exhibit No. 22.                            5 I'm not offering a scientific expert opinion on
     6              (Document marked for                  6 causation.
     7      identification as Sage Exhibit 22.)           7     Q.      Did you do any sort of analysis
     8 BY MR. HEGARTY:                                    8 weighing the strengths and weaknesses of the
     9      Q.    Do you in your report anywhere          9 O'Brien study?
    10 reference this study?                             10               DR. THOMPSON: Object. Form.
    11      A.    I don't reference it directly. It's    11               THE WITNESS: I read the
    12 an analysis of pooled data. I spent a fair amount 12      study. I mean, again, it's -- it's a
    13 of time reading this when I was evaluating the    13      pooled sample study to go back, you know,
    14 science and -- and the case.                      14      and it's based on cohort studies that
    15      Q.    You don't even cite this article in    15      have their own characteristics and have
    16 your reference materials, though, do you?         16      their own weaknesses.
    17      A.    I'd have to look. If I don't, I        17               It is a peer-reviewed article.
    18 don't.                                            18      It was worth my attention, and it should
    19      Q.    Do you want to look?                   19      have been noticed to you as among the
    20      A.    I did -- well.                         20      material I considered.
    21          (Reviews document.)                      21               Beyond that, you'd have to ask
    22          Apparently, I don't.                     22      other questions.
    23      Q.    You do cite --                         23 BY MR. HEGARTY:
    24      A.    I should have. My apologies.           24     Q.      If you look at paragraph 71 of your
                                                  Page 395                                                         Page 397
     1    Q.     I was going to say: You cite a               1 report, you make the statement in that paragraph
     2 number of other epidemiologic studies in your list     2 that "studies of cosmetics are infrequent and
     3 of materials, correct?                                 3 poorly funded compared to drugs."
     4     A.     Yes.                                        4           What's your authority for that
     5     Q.     Certainly an article from 2020 from         5 statement?
     6 JAMA is an article that should be referenced as        6     A.      It's consistent with everything I've
     7 you would reference other articles of an               7 read in reviews of cosmetic regulation and,
     8 epidemiologic nature that you included in your         8 frankly, it's derivative of extensive expertise
     9 materials, correct?                                    9 with the drug regulatory regime, which requires
    10              DR. THOMPSON: Object to form.            10 studies and the cost of which are constant matters
    11              THE WITNESS: I -- I agree                11 of public comment.
    12     this is an article that would be worth            12     Q.    Do you have an opinion as to -- wait
    13     referencing as material considered.               13 a minute.  Strike that.
    14 BY MR. HEGARTY:                                       14          Is it your opinion that Johnson's
    15     Q.     And why did you not reference it?          15 Baby Powder in 2019 should have carried a warning
    16              DR. THOMPSON: Object to form.            16 about the risk of ovarian cancer?
    17              THE WITNESS: I can't answer              17             MS. PARFITT: Objection.
    18     that. Might be an oversight. Might just           18             DR. THOMPSON: Object to form.
    19     be -- I don't have an answer for that. I          19             THE WITNESS: It is my
    20     do -- I do -- I do recall reading --              20     opinion that in 2019 and many years
    21     reading this but --                               21     before that Johnson & Johnson had a legal
    22 BY MR. HEGARTY:                                       22     obligation to disclose that safety had
    23     Q.     Do you -- I'm sorry.                       23     not been determined.
    24     A.     -- but the conclusions are as              24             It is my opinion that with



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     1      respect to warnings, instructions, or            1 things that Johnson & Johnson could have and --
     2      other mitigation options, such as                2 could have done, and I would have applauded any of
     3      reformulation or withdrawal, Johnson &           3 them.
     4      Johnson had to do something.                     4           I think it's worth pointing out that
     5 BY MR. HEGARTY:                                       5 seriously studying the problem in ways that they
     6     Q.     And do you have an opinion as to           6 did not study the problem would have been a good
     7 what information should have been included on the     7 start, but as for the rest of the mitigation
     8 package for consumers as it relates to the            8 measures ranging from disclosure to warning to
     9 analysis that you have done in this case?             9 instruction to reformulation to withdrawal, that
    10           In other words, do you have specific       10 was up to your client.
    11 language that you believe should have been           11     Q.     What are you relying on for saying
    12 included on Johnson & Johnson's packaging for its    12 that Johnson & Johnson did not seriously study its
    13 Johnson's Baby Powder and Shower to Shower           13 talcum powder products?
    14 products?                                            14     A.     A lot of this came out of the Wille
    15              MS. PARFITT: Object to form.            15 testimony, but a lot of it also came out of the
    16              THE WITNESS: I believe the              16 history of the different studies, and the fact
    17      740.10 language should have been                17 that beyond those early studies of surgical
    18      included. I think that was a direct             18 gloves, I was not made aware of any serious
    19      regulatory obligation.                          19 research contributions that Johnson & Johnson had
    20              I think other language should           20 made.
    21      have been offered by Johnson & Johnson to       21     Q.     When you say you were not made aware
    22      better inform consumers about -- about          22 of, that's -- you're referring to materials that
    23      possibilities of harm, in other words,          23 you have reviewed, correct?
    24      about risk, about ways to mitigate that         24     A.     Yes.
                                                 Page 399                                                         Page 401
     1      risk in terms of Instructions for Use or         1     Q.      If you look at paragraph 80 of your
     2      nonuse.                                          2 report -- I'm sorry.   Let's not -- let's not go
     3              But I wasn't asked to create             3 there yet. I think I skipped over a couple
     4      language for your client, and I think the        4 points.
     5      major lesson is that many things that            5            My methodology is to take the tabs
     6      your client could have done would satisfy        6 off the bottom of my notes.
     7      me, but doing nothing does not satisfy           7            (Laugh).
     8      me.                                              8               MR. TISI: Where was it
     9 BY MR. HEGARTY:                                       9      published?
    10     Q.     I was going to ask. My next               10               MR. HEGARTY: It's not been
    11 question is: Do you have an opinion as to what       11      published.
    12 specific language should have been included on       12               MR. TISI: Well, then strike
    13 Johnson's Baby Powder and Shower to Shower during    13      you.
    14 the time it was being sold in the United States      14               MR. HEGARTY: It's not
    15 and Canada?                                          15      reliable.
    16              MS. PARFITT: Objection.                 16               THE WITNESS: My methodology
    17              DR. THOMPSON: Object to form.           17      is, I need a little more Diet Coke.
    18              THE WITNESS: No.                        18               MR. HEGARTY: I realize at
    19 BY MR. HEGARTY:                                      19      times when I finish a deposition and I
    20     Q.     And do you have an opinion as to          20      figure out that I did miss things to ask.
    21 what specific mitigation activities Johnson &        21 BY MR. HEGARTY:
    22 Johnson should have initiated with regard to its     22     Q.      So if you look at paragraph 70 of
    23 talcum powder products?                              23 your expert report.
    24     A.     Again, there are a wide range of          24     A.      Yes.


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     1    Q.     I think we've established that you         1   A.     I do.
     2 have not read all of the expert reports provided     2   Q.     And are you in that paragraph
     3 by the Johnson & Johnson defendants in this        3 referencing the long latency between talcum powder
     4 litigation?                                        4 use and the development of ovarian cancer, or
     5      A.     Yes.                                   5 something else?
     6      Q.     And particularly you have not read     6     A.     Essentially -- essentially that, but
     7 the reports of Johnson & Johnson experts where     7 I've spent a fair amount of teaching time studying
     8 they say that talcum powder use is safe, correct?  8 and teaching occupational safety and health
     9              MS. PARFITT: Objection to             9 examples that distinguish between workplace
    10      form.                                        10 accidents and workplace diseases, and long
    11              THE WITNESS: I have read             11 latencies for studying those types of association
    12      some testimony regarding their assertions    12 are frequently an obstacle to defend epidemiology,
    13      that talcum powder is safe. I have seen      13 and many of those cases involve cancer.
    14      perhaps an expert report, but nothing        14     Q.     Do you have an opinion in this case
    15      immediately springs to mind.                 15 as far as the latency between talcum powder use
    16              It has been the company's            16 and ovarian cancer development?
    17      consistent position essentially since        17     A.     No.
    18      time immemorial, which is to me a big        18     Q.     Do you have any opinion as to the
    19      part of the problem here.                    19 minimum talcum powder use that is -- that is
    20 BY MR. HEGARTY:                                   20 required to increase -- that will increase the
    21      Q.     And with regard to Johnson &          21 risk of ovarian cancer?
    22 Johnson's experts who have -- who testified and 22       A.     No.
    23 prepared reports saying that talcum powder is     23              DR. THOMPSON: Object to form.
    24 safe, is it your contention that they are not     24 BY MR. HEGARTY:

                                                 Page 403                                                Page 405
     1 being truthful in making those statements?           1    Q.     In your opinion, though, based on
     2              DR. THOMPSON: Object to form.           2 this paragraph, it is impossible to substantiate
     3              THE WITNESS: Could you ask            3 the safety of talc, correct?
     4      that perhaps a slightly different way?        4              DR. THOMPSON: Object to form.
     5 BY MR. HEGARTY:                                    5              THE WITNESS: Could I ask you
     6     Q.     Sure.                                   6      to repeat that question?
     7           To the extent an expert for Johnson      7 BY MR. HEGARTY:
     8 & Johnson said in their report or their testimony  8     Q.      Sure.
     9 that talcum powder use is safe, is it your         9           Based on the statements you're
    10 contention that they're not being truthful in     10 making about the -- well, you actually say that
    11 making those statements?                          11 expeditious -- let me start over again.
    12              DR. THOMPSON: Object to form. 12            A.      Ah. Now I know.
    13 BY MR. HEGARTY:                                   13     Q.      "Expeditious and definitive studies
    14     Q.     In making that statement?              14 to determine safety are impossible given long
    15     A.     I simply view it as their expressed    15 latency for carcinogenesis and other research
    16 opinion.                                          16 challenges."
    17     Q.     Which you are doing here today         17           So aren't you saying there that it
    18 yourself, correct?                                18 is impossible to substantiate the safety of talc
    19     A.     Indeed.                                19 because of the latency period?
    20     Q.     Now we can turn over to paragraph 80 20                DR. THOMPSON: Object to form.
    21 of your report.                                   21              THE WITNESS: I'm not saying
    22           You reference in that paragraph what    22      that. From an ex ante position, all of
    23 you call "long latency for carcinogenesis."       23      this is possible, as it would be for any
    24           Do you see that?                        24      cosmetic ingredient or cosmetic product.


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     1              That paragraph that you                  1    Q.      You say in the first paragraph:
     2      referenced is the continuation of the            2           "As stated previously beginning in
     3      paragraph above, which is explaining why         3 the 1960s" -- I'm sorry. You state in the first
     4      this situation does not under any                4 sentence:
     5      circumstances fall within the exception          5           "As stated previously, beginning in
     6      of the regulation provides to the                6 the 1960s, the scientific literature presented
     7      obligation to provide the "safety not            7 evidence of talcum powder containing asbestos and
     8      determined" warning.                             8 fiber talc -- fibrous talc."
     9 BY MR. HEGARTY:                                       9           You go on to say:
    10     Q.     But you mention that you have taught      10           "Johnson & Johnson testing results
    11 with regard to latency in cancer.                    11 and internal discussions also demonstrate the
    12           Is it your testimony that with a           12 presence of and concern about the presence of
    13 possible -- well, let me back up.                    13 asbestos in talc fibers."
    14           You agree that latency as it relates       14           Did I read that correctly?
    15 to exposure and a disease assumes that the           15     A.     Yes.
    16 exposure causes the disease, correct?                16     Q.     What documents have you reviewed
    17     A.     Yes.                                      17 that show internal discussions within Johnson &
    18     Q.     And in your opinion, how do you           18 Johnson that demonstrate the presence of and
    19 substantiate the safety of a product with the        19 concern about the presence of asbestos and talc
    20 possibility of a long latency period?                20 fibers?
    21              DR. THOMPSON: Object to form.           21     A.     The presence of that exhibit that we
    22              THE WITNESS: There is always            22 discussed earlier that had the Hopkins assessments
    23      the possibility of a long latency period.       23 of the various prior testing that Johnson &
    24              We could pick any cosmetic,             24 Johnson had done. In terms of concern about the

                                                 Page 407                                                     Page 409
     1      call it X, and any latent disease, call          1 presence, I did early in my engagement review some
     2      it Y, and at the moment you begin to sell        2 internal corporate documents that I read as
     3      the product, you do what you can to              3 expressing concern.
     4      substantiate the safety of the product,          4    Q.     Do you cite any of those corporate
     5      and you do not observe the disease while         5 documents in the body of your report?
     6      occurring and you regard having done             6     A.     No.
     7      something to the product that                    7     Q.     If we turn over to paragraph 121 of
     8      substantiated safe.                              8 your report, you say in that paragraph:
     9               But as information surfaces,            9           "In sum, Johnson & Johnson
    10      as it has in abundance with respect to          10 manipulated asbestos testing and associated
    11      talcum powder exposure and ovarian              11 publicity so that 'none detectable' would be
    12      cancer, that calls into question your           12 interpreted as 'none.'"
    13      prior substantiation determination and          13           What associated publicity are you
    14      that's when you have the obligation to          14 referring to in that paragraph?
    15      disclose.                                       15     A.     I'm -- I'm referring to things that
    16 BY MR. HEGARTY:                                      16 such as the Facts About Talc website, admittedly
    17     Q.      So it's not your testimony then          17 not a comprehensive overview. But in addition the
    18 before a cosmetic manufacturer can sell a product,   18 Koberna deposition testimony regarding marketing
    19 they have to weigh -- they have to test it for 10,   19 activities, you know, included marketing efforts
    20 20, 30, 40 years?                                    20 that -- that certainly did not refer to the
    21     A.      Certainly not.                           21 possibility of adulteration of asbestos.
    22     Q.      If you could look at paragraph 112       22     Q.     And whose deposition did you just
    23 of your expert report.                               23 mention?
    24     A.      Yes.                                     24     A.     Koberna.



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     1       Q.    Can you show me that in your                     1 are you able to identify -- let me back up.
     2 reliance materials, the exhibit we've been looking           2          Have you received additional
     3 at?                                                          3 materials from plaintiffs' counsel since you
     4       A.    I believe the deposition was                     4 signed your report on July 2, 2021?
     5 subsequent to the submission of the report.                  5     A.       I said before that I had, and I
     6            So -- so perhaps I guess the more                 6 repeat that answer.
     7 accurate way to give my answer is, I didn't                  7     Q.
                                                                       You identified some of those.
     8 consider it in drafting the report, but it was               8 But do you know whether all of the
     9 subsequently made available to me.                  9 materials you received since July 2, 2021 are in
    10     Q.    And how do you spell the name that       10 this Exhibit 23?
    11 you're referring to?                               11     A.    I have worked with counsel as best
    12     A.    I think it's K-o-b-e-r-n-a. It was       12 we could to make sure that anything that I saw
    13 an uncompleted deposition and, frankly, I found it 13 subsequently was properly cataloged and properly
    14 incredibly interesting given my mom's career in    14 shared with your client.
    15 advertising.                                       15     Q.    But do you -- are you able to recall
    16             MR. HEGARTY: I'm going to              16 anything else that you have reviewed since you
    17     mark as Exhibit 23 a folder of                 17 signed your expert report on July 2, 2021, besides
    18     supplemental materials that we were            18 what you've already provided to us -- to me in
    19     provided by counsel for the plaintiffs in      19 this deposition?
    20     this case.                                     20     A.    Right now, no.
    21             (Document marked for                   21     Q.    Is there anything else that stands
    22     identification as Sage Exhibit 23.)            22 out to you?
    23 BY MR. HEGARTY:                                    23          You mentioned that -- you mentioned
    24     Q.    And it's just a printout of the page     24 some things. You mentioned the Koberna

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     1 in the matter that they provided to us in a                  1 deposition.
     2 Dropbox.    When you pull up the particular heading          2          Anything else you recall -- well,
     3 for the supplemental materials, this is what you             3 let me ask it this way.
     4 can print out.                                               4          Is there anything else you are
     5           Do you understand that?                            5 relying on or using as a resource material for
     6     A.      Yes.                                             6 purposes of what you testified here today that you
     7     Q.      And do you recall after the initial              7 have received since signing your July 2, 2021
     8 supplying of materials to you whether there were             8 expert report?
     9 supplemental materials provided to you at a later            9     A.       Everything that I have considered is
    10 date?                                                       10 something that I have discussed with plaintiffs'
    11     A.      As I said at some point earlier                 11 counsel in order so that that could be properly
    12 today, I've continued to -- to research the basis           12 listed and shared as required.    I don't know more
    13 for the opinions that I have given, and I've                13 than that.
    14 continued to ask questions again about both sides           14     Q.       Is there anything that you know of
    15 of the issue.                                               15 sitting here today that you rely upon or you
    16           And one of the areas that I do not                16 considered since your July 2, 2021 report was
    17 feel I had sufficiently explored for the original           17 signed that you know we have not talked about
    18 report were marketing activities because there was          18 today, that you have not referenced or I have not
    19 not a lot of content I could review for that, and           19 asked about?
    20 this was a subsequent deposition. And so when it            20     A.       Certainly -- certainly anything that
    21 came along, I was very pleased to receive it and            21 -- that I can think of and that was significant
    22 to read it in full.                                         22 enough that it matters to me sitting here is
    23           It should have been provided to you.              23 something that you've seen or received.
    24     Q.      What materials have you received or             24     Q.       We talked about the CIR and are you


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     1 aware that the -- or is it --                           1 similar underlying data and reached rather
     2           Do you have any opinion with regard           2 different conclusions.   And I set forth in that
     3 to the way that CIR is funded, that is, that you        3 comparison a number of areas of concern, but the
     4 find to be part of your opinions as it relates to       4 detail that exists in my Appendix 2 is not detail
     5 the CIR review for talc and ovarian cancer -- I'm       5 that I could reproduce for you right now.
     6 sorry -- talc and the safety of talc?                   6    Q.     And is it your -- did you read the
     7              MS. PARFITT: Objection.                    7 entirety of the CIR safety assessment of talc as
     8      Form.                                              8 used in cosmetics?
     9              THE WITNESS: I do not                      9    A.      I read as much of it as I was
    10      currently recall the details of the CIR           10 capable of reading at the time.  (Laugh).
    11      funding support. The generally close              11     Q.     And understand and understood.
    12      connection between the CIR, the trade             12          But my question is: Did you read
    13      association, and the trade association's          13 the entirety of it?
    14      members is concerning to me, as it was            14     A.     I made a point of reading it,
    15      concerning to FDA in that 1998 internal           15 seriously.
    16      review.                                           16     Q.     Oh, did you read every page, every
    17 BY MR. HEGARTY:                                        17 word on every page?
    18     Q.     You looked at the -- the document           18     A.     No.
    19 setting out the CIR analysis by Fiume, correct?        19     Q.     Did you read every word of every
    20     A.     If you could provide it, I would            20 page of the Health Canada safety assessment?
    21 appreciate it.                                         21     A.     No, but both of these are -- are
    22              MR. HEGARTY: I do have it.                22 materials that I considered highly relevant and
    23              I'll mark as Exhibit No. 24               23 important to my assessment and opinions, and I
    24      the Fiume article.                                24 engaged seriously with both of them.

                                                   Page 415                                                     Page 417
     1              (Document marked for                       1 Q.     And if you look over Appendix 1 of
     2      identification as Sage Exhibit 24.)            2 your report, which is "Summary of scientific
     3 BY MR. HEGARTY:                                     3 evidence relating to talcum powder and its
     4     Q.     Do you recall reading that article?      4 association with ovarian cancer"?
     5     A.     (Reviews document.)                      5     A.     Yes.
     6          Yes.                                       6     Q.     There's a section there where you
     7     Q.     Do you know any of the individuals       7 talk about some studies dealing with migration of
     8 whose names are listed at the top of that exhibit?  8 particles from the vagina to the ovaries.
     9     A.     No.                                      9          Do you see that section paragraph 7?
    10     Q.     Do you have any criticism of the        10     A.     Yes.
    11 capabilities of any of the individuals listed at   11     Q.     Before this, before being hired to
    12 the top of that article?                           12 serve as an expert witness in this case, had you
    13              MS. PARFITT: Objection to             13 ever in any of your work looked at articles
    14      form.                                         14 regarding the migration of particles within
    15              THE WITNESS: I wouldn't have          15 tissue?
    16      a basis for criticism.                        16     A.     Certainly, but I couldn't specify
    17 BY MR. HEGARTY:                                    17 which. My father back in the 1950s did studies of
    18     Q.     Is it your opinion that the CIR         18 lymphatic spread using colloidal gold particles.
    19 panel did not do a proper analysis as reflected or 19     Q.     Well, I wasn't asking about what
    20 as set out in this -- this document?               20 your father did.
    21     A.     So the way I would answer that          21          I asked you if you had any
    22 question would be to reference Appendix 2 in my    22 experience in looking at the migration of
    23 report, which is a specific comparison of the CIR  23 particles within the body prior to being hired as
    24 and Health Canada assessments, because they took 24 an expert in this case.




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     1    A.     In connection with my -- my medical          1     A.    Sure. This is without the loose
     2 education and my medical interests, from time to       2 materials, right?
     3 time.  I'm sorry.                                      3     Q.     Correct.
     4     Q.      And had you reviewed any of the            4          (Reviews documents.)
     5 studies that you cite in this part of your report      5          The underlining in the notes that
     6 prior to being -- that is, in paragraph 7 -- prior     6 are in your report, are those or those are from
     7 to being contacted to serve as an expert witness       7 you, correct?
     8 in this case?                                          8     A.     In the report, in the tab containing
     9     A.      No.                                        9 the report, yes. The dots on the CV are also from
    10     Q.      You had -- we had designated as           10 me.
    11 Exhibit No. 11 the notebook of materials that you     11     Q.     And when did you make these notes
    12 have in front of you?                                 12 and these underlining in relation to the
    13     A.      Yes.                                      13 deposition?
    14     Q.      Do you recall that?                       14     A.     Roughly -- well, since we
    15           I want to go ahead and designate as         15 rescheduled, it would have been, roughly, a week
    16 Exhibit No. 25 the loose materials that you have      16 before the original scheduled date.
    17 brought with you.                                     17     Q.     And I'm almost finished.
    18     A.      Okay.                                     18          (Reviews document.)
    19               (Document marked for                    19          I'll give that back to you.
    20      identification as Sage Exhibit 25.)              20          And can you hand me the loose
    21 BY MR. HEGARTY:                                       21 materials that we designated as Exhibit No. 25?
    22     Q.      So would you keep that together --        22     A.     Yes. Here. My report is in --
    23     A.      Yes.                                      23     Q.     Yeah.
    24     Q.      -- as a separate set of documents?        24     A.     -- a couple of these.
                                                  Page 419                                                  Page 421
     1                                                        1
                                                             Q.     A couple of exhibits are there.
            A.    Yes. I'm trying -- I'm trying to
     2                                                  2    A.     I think this --
       keep it separate from.
     3                                                  3    Q.     Looks like more than a couple.
            Q.    Keep it separate from the exhibits
     4                                                  4    A.     Yeah, I think it's that.
       that --
     5                                                  5    Q.     And with regard to the FDA's
            A.    Yeah. I think we're okay on that.
     6                                                  6 cosmetic program that you've been talking about,
       I'll do my -- I do my -- I don't think anything
     7                                                  7 was this a document that plaintiffs' counsel
       has got mixed up yet but...
     8                                                  8 provided to you?
            Q.    Well, anything that you have over
     9
       there should be marked as an exhibit sticker. I 9     A.     Yes.
    10                                                 10    Q.     This is actually an exhibit, too.
       want to make sure that you have anything --
    11                                                 11    A.     Oh, sorry.
            A.    Right.
    12                                                 12    Q.     So is that. And that.
            Q.    -- that you brought with you loose
    13                                                 13    A.     Yeah, this was an exhibit, also.
       that was not marked as an exhibit --
    14                                                 14    Q.     And I believe those are all the
            A.    Correct.
    15                                                 15 questions I have. Thank you, Doctor.
            Q.    -- we'll designate as Exhibit
    16                                                 16    A.     My pleasure.
       No. 25.
    17                                                 17             (Discussion off the record)
            A.    Certainly.
    18                                                 18             DR. THOMPSON: I have a few
            Q.    And with regard to the loose
    19                                                 19     questions, but before that a
       materials and the notebook, are those all the
    20                                                 20     housekeeping. I believe you have the
       materials that you brought with you to the
    21                                                 21     supplemental reliance list.
       deposition?
    22                                                 22             MR. HEGARTY: You thought you
            A.    Yes.
    23                                                 23     had sent us a list?
            Q.    And can I look just for a second at
    24                                                 24             MS. PARFITT: Right because
       your notebook?


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     1    the NCI article that you talked about         1     Q.       And I'm going to show you this
     2    earlier, the Koberna, all of that, that's     2 exhibit, Dr. Sage, and would you look at that and
     3    all on there. That, hopefully, will           3 whether you've ever seen that exhibit before right
     4    clarify. That may have happened when,         4 now?
     5    you know, the first deposition was            5     A.       The actual -- this actual exhibit I
     6    scheduled and then maybe...                   6 don't -- I don't recall, but it may be in my
     7            MR. HEGARTY: I did get last           7 materials.
     8    night a couple of articles by e-mail.         8     Q.       Would you look at those listing of
     9            MR. TISI: That was different.         9 materials and tell me whether you reviewed all of
    10    That was different.                          10 them, some of them, none of them?
    11            MR. HEGARTY: That was                11     A.     (Reviews document.)
    12    different.                                   12           Several of them look familiar.
    13            DR. THOMPSON: No. This was           13 Several of them are things that I have read all or
    14    done -- this was done --                     14 parts of. Certainly these deposition transcripts
    15            MR. TISI: This was done              15 were made available to me. The Koberna one was
    16    before.                                      16 the one I spent the most time with, and then a lot
    17            DR. THOMPSON: -- prior to the        17 of the ones regarding more recent reform proposals
    18    first scheduled deposition.                  18 and the like I've engaged with extensively.
    19            MR. HEGARTY: I don't remember        19     Q.     Do you recall when it was in
    20    seeing it. I'm not saying that you did       20 relation to your expert report when you received
    21    not send it.                                 21 these additional materials?
    22            MS. PARFITT: Yeah.                   22     A.     It was sporadically after that. It
    23            MR. HEGARTY: But I don't             23 wasn't as a batch.
    24    remember seeing it.                          24     Q.     Have you received any additional
                                            Page 423                                                         Page 425
     1            Is it okay I mark it as an            1 materials from plaintiffs' counsel since or in the
     2    exhibit?                                      2 last two weeks?
     3            DR. THOMPSON: Yes.                    3     A.     Not that I recall.
     4            MR. HEGARTY: Is it okay if I          4              MR. TISI: Although we did
     5    ask the doctor a couple questions about       5      send you stuff last night, right?
     6    it when you're done? Or I can do it           6 BY MR. HEGARTY:
     7    right now.                                    7      Q.    You mentioned that you had read some
     8            DR. THOMPSON: No. You can go          8 of the transcript of Koberna.
     9    ahead do it.                                  9           Did you read the trial transcripts
    10            MR. HEGARTY: I can do it             10 of the Cadagin case that are referenced here?
    11    right now.                                   11      A.    They were sent to me. I don't
    12            DR. THOMPSON: That was in his        12 believe I read them.
    13    notebook also but that's a separate copy.    13      Q.    And did you ask for any of these
    14            MR. HEGARTY: Okay. Yeah. It          14 materials?
    15    would be helpful if I could just clean       15      A.    I asked for a lot of these
    16    that and make a record of it.                16 materials, not by name, but I asked for -- I asked
    17            (Discussion off the record).         17 for the Koberna materials and anything else
    18            MR. HEGARTY: So I'm marking          18 related to marketing. I asked for a lot of the
    19    as Exhibit No. 26 the list of materials      19 reform efforts. And I asked for, you know,
    20    that Dr. Thompson provided to me that she    20 updated scientific literature. This was, I'm
    21    indicated had been provided to us before.    21 sure, provided in due course because of that
    22            (Document marked for                 22 request.
    23    identification as Sage Exhibit 26.)          23      Q.    Did you read all the scientific
    24 BY MR. HEGARTY:                                 24 literature that's referenced in this exhibit?




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     1     A.     Not -- not all of it.                      1
                                                         becomes available?
     2     Q.     In looking at these articles, can    2
                                                             A.    I do reserve that right.
     3 you tell me which of these you did read?        3
                                                             Q.    Would that include any review of
     4     A.     (Reviews document.)                  4
                                                         defense expert reports in the regulatory area?
     5           Sitting here right now, I can't.      5
                                                             A.    Yes, certainly.
     6              MR. HEGARTY: Okay. All             6
                                                                     DR. THOMPSON: No further
     7      right. Thank you.                          7
                                                             questions.
     8                EXAMINATION                      8
                                                                     MR. HEGARTY: No further
     9              DR. THOMPSON: Let me go ahead 9          questions.
    10      and mark one of the documents that you    10
    11      brought with you that was loose,          11
                                                                  (Time noted: 5:33 p.m.)
    12      Dr. Sage, and this is the "FDA Cosmetics  12
    13      Program: Current Projects and Resources 13                 * * *
    14      and a Discussion of the 'Model' Program,  14
    15      FDA Cosmetics Mission Statement."         15
    16              (Document marked for              16
    17      identification as Sage Exhibit 28.)       17
    18 BY DR. THOMPSON:                               18
    19     Q.     Did you consider this document in   19
    20 forming -- relating the opinions that you gave 20
    21 today?                                         21
    22     A.     Yes.                                22
    23     Q.     Is it confirmatory of the opinions  23
    24 that you provided in your report?              24

                                                 Page 427                                                    Page 429
     1     A.    Yes, it is.                                 1            ERRATA SHEET
     2     Q.    And is it confirmatory of the               2
     3 opinions that you've offered here today as well?      3   Page No._____Line No._____Change to:_____________
     4     A.    Yes.                                        4   _________________________________________________
     5     Q.    You mentioned earlier that you              5   Page No._____Line No._____Change to:_____________
     6 looked at the Johnson & Johnson website that was      6   _________________________________________________
     7 Facts About Talc.                                     7   Page No._____Line No._____Change to:_____________
     8          And did that website include                 8   _________________________________________________
     9 corporate documents?                                  9   Page No._____Line No._____Change to:_____________
    10     A.    Yes.                                       10   _________________________________________________
    11     Q.    And were those documents selected by       11   Page No._____Line No._____Change to:_____________
    12 Johnson & Johnson to include on the website?         12   _________________________________________________
    13     A.    Yes.                                       13   Page No._____Line No._____Change to:_____________
    14     Q.    Did you review the documents from          14   _________________________________________________
    15 that website?                                        15   Page No._____Line No._____Change to:_____________
    16     A.    Yes, some of them. I don't recall          16   _________________________________________________
    17 how many there were but, yes.                        17   Page No._____Line No._____Change to:_____________
    18     Q.    And, Dr. Sage, were the opinions in        18   _________________________________________________
    19 your report and the opinions that you gave today     19   Page No._____Line No._____Change to:_____________
    20 given to a reasonable degree of scientific and       20   _________________________________________________
    21 professional certainty?                              21   Page No._____Line No._____Change to:_____________
    22     A.    Yes, they were.                            22   _________________________________________________
    23     Q.    And do you reserve the right to            23   Page No._____Line No._____Change to:_____________
    24 amend or supplement your report if new information   24   _________________________________________________



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     1           DECLARATION UNDER PENALTY OF PERJURY
     2
     3
     4              I declare under penalty of
     5   perjury that I have read the entire transcript of
     6   my Deposition taken in the captioned matter
     7   or the same has been read to me, and
     8   the same is true and accurate, save and
     9   except for changes and/or corrections, if
    10   any, as indicated by me on the DEPOSITION
    11   ERRATA SHEET hereof, with the understanding
    12   that I offer these changes as if still under
    13   oath.
    14
    15            Signed on the ______ day of
    16   ____________, 2021.
    17
    18   ___________________________________
    19      WILLIAM M. SAGE, MD, JD
    20
    21
    22
    23
    24

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     1               CERTIFICATE OF REPORTER
     2   DISTRICT OF COLUMBIA )
     3           I, DENISE DOBNER VICKERY, CRR/RMR and
     4   Notary Public, hereby certify the witness was by
     5   me first duly sworn to testify to the truth; that
     6   the said deposition was recorded stenographically
     7   by me and thereafter reduced to printing under my
     8   direction; and that said deposition is a true
     9   record of the testimony given by said witness.
    10           I certify the inspection, reading and
    11   signing of said deposition were NOT waived by
    12   counsel for the respective parties and by the
    13   witness; and that I am not a relative or employee
    14   of any of the parties, or a relative or employee
    15   of either counsel, and I am in no way interested
    16   directly or indirectly in this action.
    17
    18
    19
    20
    21               Denise Dobner Vickery, CRR/RMR
                     Notary Public in and for the
    22               District of Columbia
    23
    24   My Commission expires: February 28, 2023



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